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                     THOSE IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No.

  PITKIN COUNTY,

            Plaintiff,

  v.

  JUUL LABS, INC. F/K/A PAX LABS, INC.;
  EONSMOKE LLC;
  ALTRIA GROUP, INC.;
  ALTRIA CLIENT SERVICES LLC.;
  ALTRIA GROUP DISTRIBUTION COMPANY;
  NU MARK LLC; AND
  NU MARK INNOVATIONS, LTD.;

            Defendants.



                                    COMPLAINT
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                                     I.      INTRODUCTION

         1.      One of the great public health success stories over the past nearly two decades has

  been a reduction in youth tobacco use and nicotine addiction. Youth smoking rates plummeted

  from 28% in 2000 to 7.6% in 2017.1 This success has been the result of years of litigation and

  strict regulation. It is also due to a powerful public health message that Big Tobacco can no

  longer dispute or contradict: smoking kills.

         2.      This incredible progress towards eliminating youth use of tobacco products has

  now largely been reversed due to e-cigarettes and vaping. Between 2017 and 2018, e-cigarette

  use increased 78% among high school students nationwide, from 11.7% of high school students

  in 2017 to 20.8% of high schoolers in 2018. 2 Among middle school students, e-cigarette use

  increased 48% between 2017 and 2018.3 The increase in youth nicotine vaping from 2017 to

  2018 was the largest for any substance tracked by the national Monitoring the Future surveys

  over the past forty-four years.4

         3.      Youth vaping rates continued to climb from 2018 to 2019, such that vaping

  prevalence more than doubled among each grade level surveyed—eighth, tenth, and twelfth



  1
    Meredith Berkman, Testimony of Meredith Berkman, Parents Against Vaping E-cigarettes,
    U.S. House Committee on Oversight & Reform (July 24, 2019),
    https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019.07.24%20Berkman-
    PAVe%20Testimony.pdf.
  2
    Jerome Adams, Surgeon General’s Advisory on E-cigarette Use Among Youth, CDC (Dec.
    2018), https://e-cigarettes.surgeongeneral.gov/documents/surgeon-generals-advisory-on-e-
    cigarette-use-among-youth-2018.pdf.
  3
    2018 NYTS Data: A startling rise in youth e-cigarette use, FDA (Feb. 2, 2019),
    https://www.fda.gov/tobacco-products/youth-and-tobacco/2018-nyts-data-startling-rise-youth-
    e-cigarette-use.
  4
    Richard Miech, Ph.D. et al., Trends in Adolescent Vaping, 2017-2019, 381 New Eng. J. Med.
    1490-91 (Oct. 10, 2019), https://www.nejm.org/doi/full/10.1056/NEJMc1910739.


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  graders—in the past two years.5 In 2019, more than five million middle and high school students

  reported current use of e-cigarettes, including more than one in every four high schoolers.6

         4.      Consistent with these national numbers, youth in Pitkin County (“Pitkin” or

  “Plaintiff”) are vaping at high rates—rates which continue to climb. In 2013, only 20% of high

  school students in Colorado Region 12, which encompasses Plaintiff’s community, had ever tried

  e-cigarettes.7 By 2017, that number had jumped to 54% of high school students.8 Colorado has

  the highest rate of youth vaping in the nation.9

         5.      According to the Centers for Disease Control and Prevention (“CDC”) Director

  Robert Redfield, “The skyrocketing growth of young people’s e-cigarette use over the past year

  threatens to erase progress made in reducing tobacco use. It’s putting a new generation at risk for

  nicotine addiction.”10 Former U.S. Food and Drug Administration (“FDA”) Commissioner Scott

  Gottlieb described the federal statistics as “astonishing,” and both the FDA and the United States




  5
    Id.
  6
    Youth Tobacco Use: Results from the National Youth Tobacco Survey, FDA (Nov. 6, 2019),
    https://www.fda.gov/tobacco-products/youth-and-tobacco/youth-tobacco-use-results-national-
    youth-tobacco-survey#1.
  7
    2013 Healthy Kids Colorado Survey: Region 12 High School Summary Tables at 52, Colo.
    Dep’t of Pub. Health & Env’t (2013),
    https://drive.google.com/file/d/0B_NVoyuCwHvoSDMyeEpUSVY0OFE/view.
  8
    2017 Healthy Kids Colorado Survey: Region 12 High School Summary Tables at 74, Colo.
    Dep’t of Pub. Health & Env’t (2017), https://drive.google.com/file/d/1-MNMKKaWcbJuAo-
    qRDGQBDP5sfYjA_iB/view.
  9
    Sawyer D’Argonne, CDC Study: Colorado youth use vaping products, e-cigarettes at twice the
    national average, Aspen Times (July 31, 2018), https://www.aspentimes.com/news/cdc-study-
    colorado-youth-use-e-cigarettes-vaping-nicotine-products-at-twice-the-national-average/.
  10
     Amir Vera, Texas governor signs law increasing the age to buy tobacco products to 21, CNN
    (June 8, 2019), https://www-m.cnn.com/2019/06/08/health/texas-new-tobacco-
    law/index.html#:~:targetText=Supporters%20say%20increasing%20the%20minimum,go%20in
    to%20effect%20September%201.?r=https%3A%2F%2Fwww.google.com%2F.


                                                     2
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  Surgeon General (“Surgeon General”) have characterized youth vaping as an “epidemic.”11 The

  Secretary of the U.S. Department of Health and Human Services (“HHS”) declared that “[w]e

  have never seen use of any substance by America’s young people rise as rapidly as e-cigarette

  use [is rising].”12

          6.      A major cause of this epidemic is Defendant JUUL Labs, Inc. (“JLI”), the maker

  of the JUUL e-cigarette. JLI entered the e-cigarette market in 2015 and, by 2019, controlled over

  70% of it.13 Over one million JUUL e-cigarettes were sold between 2015 and 2017.14 In 2017,

  JLI’s e-cigarette products had generated over $224 million in retail sales, a 621% year-over-year

  increase.15 By June 2018, sales had skyrocketed another 783%, reaching $942.6 million.16 The

  e-cigarette category as a whole grew 97% to $1.96 billion in the same period, largely based on




  11
     Angelica LaVito, FDA chief Gottlieb threatens to pull e-cigarettes off market if ‘astonishing’
    surge in teen use doesn’t slow, CNBC (Nov. 16, 2018), https://www.cnbc.com/2018/11/16/fda-
    chief-gottlieb-threatens-to-pull-e-cigarettes-off-market.html; Jayne O’Donnell, FDA declares
    youth vaping an epidemic, announces investigation, new enforcement, USA Today (Sept. 12,
    2018), https://www.usatoday.com/story/news/politics/2018/09/12/fda-scott-gottlieb-youth-
    vaping-e-cigarettes-epidemic-enforcement/1266923002/.
  12
     Jan Hoffman, Study Shows Big Rise in Teen Vaping This Year, N.Y. Times (Dec. 17, 2018),
    https://www.nytimes.com/2018/12/17/health/ecigarettes-teens-nicotine-.html; Rajiv Bahl, Teen
    Use of Flavored Tobacco was Down, But E-Cigarettes Are Bringing It Back Up, Healthline
    (Jan. 9, 2019), https://www.healthline.com/health-news/flavored-tobacco-use-rising-again-
    among-teens#An-unhealthy-habit.
  13
     Richard Craver, Juul ends 2018 with 76 percent market share, Winston-Salem J. (Jan. 8,
    2019), https://www.journalnow.com/business/juul-ends-with-percent-market-
    share/article_6f50f427-19ec-50be-8b0c-d3df18d08759.html.
  14
     Melia Robinson, How a startup behind the ‘iPhone of vaporizers’ reinvented the e-cigarette
    and generated $224 million in sales in a year, Bus. Insider (Nov. 21, 2017),
    https://www.businessinsider.com/juul-e-cigarette-one-million-units-sold-2017-11/.
  15
     Id.
  16
     Angelica LaVito, Popular e-cigarette Juul’s sales have surged almost 800 percent over the
    past year, CNBC Health & Sci. (Sept. 11, 2018), https://www.cnbc.com/2018/07/02/juul-e-
    cigarette-sales-have-surged-over-the-past-year.html.


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  JUUL’s market success.17 The JUUL e-cigarette’s rise to become the dominant product on the e-

  cigarette market was so rapid, and so complete, that the act of vaping is now often referred to as

  “juuling.”

         7.      As JUUL’s popularity skyrocketed, Defendant Eonsmoke, LLC (“Eonsmoke”)

  explicitly traded on JUUL’s market share, promoting its own products as “JUUL compatible,”

  initiating a successful “Doit4juul” social media campaign, and offering its JUUL-compatible

  pods in flavors including “Sour Gummy,” “Pineapple Crush,” and “Pink Lemonade.”18 Other

  copycats also hurried to mimic JUUL’s potent nicotine formulation and youth-oriented design—

  building on the illicit youth e-cigarette market JLI created.

         8.      By September 2018, youth vaping rates were spiraling out of control, and the

  FDA sent warning letters to Defendants JLI19 and Altria Client Services20 regarding the

  alarmingly high rates of youth using their products. In October 2018, the FDA raided JLI’s

  headquarters and seized more than one thousand documents relating to JLI’s sales and marketing

  practices.21 By the end of 2019, the FDA, the Federal Trade Commission, and the U.S. House of



  17
     Id.
  18
     Letter from Ann Simoneau, J.D., Director FDA Center for Tobacco Products’ Office of
    Compliance and Enforcement, to Kelly L. Zeller, General Manager, Eonsmoke, LLC
    (“Eonsmoke, LLC Warning Letter”) (Oct. 24, 2019), https://www.fda.gov/inspections-
    compliance-enforcement-and-criminal-investigations/warning-letters/eonsmoke-llc-592097-
    10242019.
  19
     Letter from Scott Gottlieb, M.D., FDA Commissioner, to Kevin Burns, JUUL Labs, Inc. (Sept.
    12, 2018), https://www.fda.gov/media/119669/download.
  20
     Letter from Scott Gottlieb, M.D., FDA Commissioner, to Howard A. Willard III, Altria Group,
    Inc. (Sept. 12, 2018), https://www.fda.gov/media/119666/download.
  21
     Laurie McGinley, FDA seizes Juul e-cigarette documents in surprise inspection of
    headquarters, Wash. Post (Oct. 2, 2018),
    https://www.washingtonpost.com/health/2018/10/02/fda-seizes-juul-e-cigarette-documents-
    surprise-inspection-headquarters/.


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  Representatives Committee on Oversight and Reform had all commenced investigations into

  JLI’s role in the youth vaping epidemic and whether JLI’s marketing practices purposefully

  targeted youth. Multiple state attorneys general have now also opened investigations into or filed

  suit against JLI.

          9.      As the pressure on JLI intensified, Altria22—maker of Marlboro cigarettes, parent

  company of Philip Morris USA, and one of the largest tobacco companies in the world—stepped

  in to publicly support JLI. While Altria first began having “confidential discussions” beginning

  in the spring of 2017,23 Altria did not make its relationship with JLI public until December 20,

  2018, when Altria announced a $12.8 billion equity investment in JLI, giving it a 35% stake in

  JLI. Just several weeks prior to this announcement, Altria had seemingly criticized JLI’s

  marketing practices in a letter to the FDA and declared that “pod-based products significantly

  contribute to the rise in youth use of e-vapor products.” Altria removed its own pod-based

  products, the MarkTen Elite and Apex by MarkTen, from the market—only to commit its

  substantial resources, regulatory knowledge, and lobbying muscle to protecting and expanding

  JUUL’s market share, which, as Altria and JLI both know, relies heavily on youth.

          10.     Attempting to revise history and cover-up JLI’s misconduct, JLI and Altria are

  now describing their collaboration as a “harm reduction opportunity,” and insist JLI never

  marketed to youth. These assertions fall flat against the facts, as detailed below. Altria has



  22
     Altria Group, Inc. and its subsidiaries Altria Client Services LLC, Altria Group Distribution
    Company, and Nu Mark, LLC, and Nu Mark Innovations, Ltd (collectively “Altria” or “Altria
    Defendants”).
  23
     Letter from Howard A. Willard III, Altria Group, Inc. to Senator Richard J. Durbin at 3 (Oct.
    14, 2019), https://www.altria.com/-/media/Project/Altria/Altria/about-altria/federal-regulation-
    of-tobacco/regulatory-filings/documents/Altria-Response-to-October-1-2019-Senate-Letter.pdf.


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   described the JUUL e-cigarette as “compelling” and “a terrific product.” In fact, Defendant JLI’s

   JUUL e-cigarette has compelled a generation of youth, who were never cigarette smokers, into

   nicotine addiction and forced local governments to spend significant amounts of time and

   resources combatting the youth vaping crisis sweeping their communities. JLI and Altria are now

   working together and denying that JLI’s products are marketed to and designed for youth and

   nonsmokers while maintaining JUUL’s market dominance—which would not be possible if the

   customer base were in fact only adult smokers seeking to quit.

          11.     Plaintiff Pitkin County brings this action against Defendants JUUL Labs, Inc.;

   Eonsmoke, LLC; Altria Group, Inc. and its subsidiaries Altria Client Services LLC, Altria Group

   Distribution Company, and Nu Mark, LLC, and Nu Mark Innovations, Ltd (collectively, “Altria”

   or “Altria Defendants”), for damages and injunctive relief, including abatement of the public

   health crisis caused by Defendants’ wrongful conduct.

                                II.     JURISDICTION AND VENUE

          12.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

   1331 because Plaintiff’s racketeering claim arises under the laws of the United States, 18 U.S.C.

   § 1961 et seq., and pursuant to 28 U.S.C. § 1332(a) because: (i) the amount in controversy

   exceeds $75,000, exclusive of interests and costs, and (ii) the plaintiff and defendants are citizens

   of different states. This Court has supplemental jurisdiction over the state law claims pursuant to

   28 U.S.C. § 1367.

          13.     The Court has personal jurisdiction over Defendants because they do business in

   the District of Colorado and have sufficient minimum contacts with this District. Defendants

   intentionally avail themselves of the markets in this State through the promotion, marketing, and



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   sale of the products at issue in this lawsuit in Colorado, and by retaining the profits and proceeds

   from these activities, to render the exercise of jurisdiction by this Court permissible under

   Colorado law and the U.S. Constitution.

           14.     Venue is proper in the District of Colorado pursuant to 28 U.S.C. § 1391 (b)(2)

   and (3) because a substantial part of the events or omissions giving rise to the claims at issue in

   this Complaint arose in this District and Defendants are subject to the Court’s personal

   jurisdiction with respect to this action.

                                               III.   PARTIES

   Plaintiff

           15.     Plaintiff Pitkin County (“Plaintiff” or “Pitkin”) is a Colorado County organized

   and existing under the laws of the State of Colorado.

   JUUL Labs, Inc.

           16.     Defendant JUUL Labs, Inc. (“JLI”) is a Delaware corporation, having its principal

   place of business in San Francisco, California. JLI was incorporated in Delaware on March 12,

   2007 (file no. 4315504) under the name Ploom, Inc. (“Ploom”). In February 2015, Ploom

   changed its name to PAX Labs, Inc. In April 2017, PAX Labs, Inc. formed a new corporation

   under the name PAX Labs (Deux), Inc., incorporated in Delaware on April 21, 2017 (file no.

   6387684). On June 30, 2017, PAX Labs, Inc. was renamed JUUL Labs, Inc., and PAX Labs

   (Deux), Inc. was given the name PAX Labs, Inc.

           17.     JLI manufactures, designs, sells, markets, promotes and distributes JUUL

   e-cigarettes, JUULpods and accessories (collectively, “JUUL products”). From JUUL’s launch




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   in 2015 until June 2017, JLI manufactured, designed, sold, marketed, promoted, and distributed

   JUUL products under the name PAX Labs, Inc.

           18.     JUUL Labs, Inc., formerly known as PAX Labs, Inc., formerly known as Ploom,

   Inc., is referred to herein as “JLI.”

   Eonsmoke

           19.     Defendant Eonsmoke, LLC (“Eonsmoke”) is a New Jersey limited liability

   company with its principal place of business in Clifton, New Jersey. Eonsmoke markets and sells

   “Juul Compatible” Eonsmoke and Eonsmoke v2.0 electronic vapor devices and flavor pods, as

   well as 4X pods and disposable vape products such as Eon St!Ks.

   Altria Defendants

           20.     Defendant Altria Group, Inc. is a Virginia corporation, having its principal place

   of business in Richmond, Virginia. Altria is one of the world’s largest producers and marketers

   of tobacco products. On December 20, 2018, Altria purchased a 35% stake in JLI.

           21.     Defendant Altria Client Services LLC (“Altria Client Services”) is a New York

   corporation and wholly owned subsidiary of Altria Group, Inc. with its principal place of

   business in Henrico County, Virginia. Altria Client Services provides Altria Group, Inc. and its

   companies with services in many areas including digital marketing, packaging design &

   innovation, product development, and safety, health, and environmental affairs. Pursuant to

   Altria’s Relationship Agreement with JLI, Altria Client Services assists JLI in the sale,

   marketing, promotion and distribution of JUUL products.24 Such services include database



   24
     Altria Group, Inc., Relationship Agreement by and among JUUL Labs, Inc., Altria Group,
    Inc., and Altria Enterprises LLC (“Relationship Agreement”) (Form 8-K), Ex. 2.2 (Dec. 20,


                                                    8
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   support, direct marketing support, and premarket product application support.25 On September

   25, 2019, the former senior vice president and chief growth officer of Altria Client Services.,

   K.C. Crosthwaite, became the new chief executive officer of JLI.

          22.     Defendant Altria Group Distribution Company is a Virginia corporation and

   wholly owned subsidiary of Altria Group, Inc. with its principal place of business in Henrico

   County, Virginia. Altria Group Distribution Company provides sales, distribution and consumer

   engagement services to Altria’s tobacco companies. Altria Group Distribution Company




      Altria Group Distribution Company




          23.     Defendant Nu Mark LLC is a Virginia corporation and wholly owned subsidiary

   of Altria Group, Inc., with its principal place of business in Richmond, Virginia. Nu Mark LLC

   was engaged in the manufacture and sale of Altria’s electronic vapor products. Shortly before

   Altria purchased a 35% stake in JLI in December 2018, Altria Group, Inc. announced that Nu

   Mark would be discontinuing the production and sale of all e-vapor products.

          24.     Defendant Nu Mark Innovations, Ltd. is a subsidiary of Nu Mark LLC located in

   Beit Shemesh, Israel. Nu Mark Innovations, Ltd. provides digital marketing and customer care




     2018),
     https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex22.htm.
   25
      Id.


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   services for Nu Mark LLC and Altria’s e-vapor brands, as well as product and technology

   development services.

          25.     Collectively, Altria Group, Inc. and its subsidiaries named above will be referred

   to herein as “Altria” or “Altria Defendants.”

                                 IV.     ALLEGATIONS OF FACT

   A.     JUUL: Runaway Commercial Success and Public Health Disaster

          1.      Redesigning “the most successful consumer product of all time”

          26.     JLI was founded by Defendants Adam Bowen and James Monsees. JLI’s

   beginnings can be traced to the pair’s collaboration on a product design master’s thesis when

   they were graduate students at Stanford University in 2004—Monsees completing a Master of

   Fine Arts in Product Design, and Bowen a Master of Science in Mechanical Engineering in

   Product Design.26 Their proposed product? A better cigarette.




   26
     Allison Keeley, Vice Made Nice?, Stan. Mag. (Aug. 2012),
    https://stanfordmag.org/contents/vice-made-nice.


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          27.     Monsees has described the cigarette as “the most successful consumer product of

   all time . . . an amazing product.”27 But years of anti-smoking campaigns, including work by

   local government public health departments and school-based anti-tobacco programs, have

   successfully de-normalized cigarette smoking. As part of their thesis research, Monsees and

   Bowen interviewed smokers who talked about feeling self-conscious of the signs of smoking, for

   example, coming back into a room after a smoke break and smelling like smoke, or having their

   hands smell like cigarettes even after washing them multiple times.28 When Monsees and Bowen

   presented their thesis and product design to their classmates, they included a clip from a South

   Park episode showing the characters assembled at the Museum of Tolerance and shaming a

   smoker.29 Their goal was to design a cigarette without the stigma and self-consciousness smokers

   experienced—as Monsees described it, to “deliver[] solutions that refresh the magic and luxury

   of the tobacco category” and recreate the lost “ritual and elegance that smoking once

   exemplified.”30

          28.     Essentially, Monsees and Bowen saw a market opportunity in a generation of

   consumers brought up on anti-smoking norms. In Monsees’ words, they wanted to redesign the

   cigarette “to meet the needs of people who want to enjoy tobacco but don’t self-identify with—



   27
      Gabriel Montoya, Pax Labs: Origins with James Monsees, Soc. Underground (Jan. 2015),
     https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/.
   28
      Jordan Crook, This is the Stanford thesis presentation that launched Juul, Tech Crunch (Feb.
     27, 2019), https://techcrunch.com/2019/02/27/this-is-the-stanford-thesis-presentation-that-
     launched-juul/.
   29
      Id.; Adam and James’ Thesis Presentation at 4:04, JUUL (Feb. 27, 2019),
     https://www.youtube.com/watch?v=ZBDLqWCjsMM&has_verified=1.
   30
      Start Your Own Revolution: An Interview with James Monsees, onboardly (Apr. 30, 2014),
     https://web.archive.org/web/20161108110231/http://onboardly.com/entrepreneur-
     interviews/an-interview-with-james-monsees/ (last visited Mar. 27, 2020).


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   or don’t necessarily want to be associated with—cigarettes.”31 Monsees saw “a huge opportunity

   for products that speak directly to those consumers who aren’t perfectly aligned with traditional

   tobacco products.”32

            29.   At one point during their thesis presentation, Monsees states, “The cigarette is

   actually a carefully engineered product for nicotine delivery and addiction.”33 This description

   applies just as well to the product he and Bowen would launch a decade later—JUUL.

            30.   The outcome of Monsees and Bowen’s thesis project was a “heat-not-burn”

   e-cigarette, which uses loose-leaf tobacco. The device heated tobacco contained in pods to a

   constant temperature, vaporizing nicotine and flavor without burning the materials or producing

   smoke.

            31.   After graduation, Bowen and Monsees worked on bringing their thesis project to

   the market, incorporating under the name Ploom in 2007. In those early years, they spent a lot of

   time talking about what Bowen called “the kind of typical thoughts of evil Big Tobacco

   companies like coming down and squashing you.”34 But ultimately, that “was not really an

   issue.”35 In fact, not only did Big Tobacco not squash them, but the opposite occurred. Although

   Bowen and Monsees characterized their products as aimed toward consumers not aligned with

   traditional tobacco products, they themselves have aligned with Big Tobacco on at least two

   occasions: first, with Japan Tobacco International (“JTI”) and then with Altria.




   31
      Id.
   32
      Id.
   33
      See Crook, supra note 28.
   34
      Keeley, supra note 26.
   35
      Id.


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          32.        In 2010, JLI (then called Ploom) launched its e-cigarette as the ModelOne, using

   pods of loose-leaf tobacco heated by butane. It did not catch on. JLI only sold a few thousand of

   them. By then a company with a dozen employees, JLI was faltering, in need of money,

   technological expertise, and marketing savvy.36

          33.        Help came from JTI, a division of Japan Tobacco Inc., the fourth-largest tobacco

   company in the world. In December 2011, JTI and JLI entered into a strategic agreement, which

   gave JTI a minority stake in JLI and made it a strategic partner. According to internal documents,



                37
                     In a statement regarding the agreement, Monsees said, “We are very pleased to

   partner with JTI as their deep expertise, global distribution networks and capital resources will

   enable us to enter our next phase of growth and capitalize on global expansion opportunities.”38

   As Bowen explained in an interview, “We were still doing a lot of our own internal product

   development, but now we had access to floors of scientists at JTI.”39

          34.        In 2012, JLI (still known as Ploom) unveiled the PAX, a loose-leaf vaporizer that

   did not use pods, but which was much more successful. The following year, JLI combined

   elements of the PAX with the pod system as the ModelTwo. Although consumers were

   enthusiastic about both the PAX and the ModelTwo, the products were limited to a small,


   36
      David H. Freedman, How Do You Sell a Product When You Can't Really Say What It Does?,
     Inc.com (May 2014), https://www.inc.com/magazine/201405/david-freedman/james-monsees-
     ploom-ecigarette-company-marketing-dilemma.html.
   37
      INREJUUL_00371423 (                                               ).
   38
      Innovative Partnership for Ploom and Japan Tobacco International JTI to Take Minority
     Share in Ploom, Japan Tobacco Int’l (Dec. 8, 2011),
     https://www.jti.com/sites/default/files/press-releases/documents/2011/innovative-partnership-
     for-ploom-and-japan-tobacco-international.pdf.
   39
      D. Freedman, supra note 36.


                                                     13
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   high-end market. The PAX, for example, retailed for $250 when it was first marketed. But, as

   one of JLI’s investors remarked in 2014, “The company is going to invade the bigger, lower-end

   market now dominated by e-cigarettes.”40 He explained that JLI had “lots of products in the

   works” and that “[w]e know we need something cheaper than Pax to go after the mass market.

   There are still huge opportunities out there.”41

          35.     In February 2015, JLI and JTI ended their relationship, with JLI buying back

   JTI’s minority stake in the business. JTI acquired the ModelTwo and pods product line, as well

   as the Ploom name, while JLI kept its open-system PAX vaporizer and changed its name to PAX

   Labs Inc. Monsees characterized the partnership as having “afforded both parties many mutual

   benefits,” but said that the new arrangement would “fuel continued growth” and that JLI

   intended “rapid rollouts of new products.”42

          36.     JLI made good on its promise of new products and invading the bigger, lower-end

   market in e-cigarettes. As discussed further below, JLI launched JUUL products in June 2015

   with a well-publicized launch party in New York City and a viral social media marketing

   campaign.

          37.     In 2017, as JUUL became more and more popular, JLI changed its name from

   PAX to JUUL Labs, Inc.




   40
      D. Freedman, supra note 36.
   41
      Id.
   42
      JTI to Acquire Ploom Product Line, Convenience Store News (Feb. 16, 2015),
     https://csnews.com/jti-acquire-ploom-product-line#close-olyticsmodal.


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          38.     By the close of 2017, according to Nielsen data, JLI had surpassed its competitors

   in capturing 32.9% of the e-cigarette market, with British American Tobacco at 27.4% and Altria

   at 15.2%.43 The total e-cigarette market expanded 40% to $1.16 billion. 44

          39.     In 2018, JLI’s gross profit margins were 70%45 and it represented 76.1% of the

   national e-cigarette market.46 In a complaint it filed in November 2018 against 24 vape

   companies for alleged patent infringement, JLI asserted that it was “now responsible for over

   95% of the growth in the ENDS pod refill market in the United States” and included the

   following chart:47




   43
      Ari Levy, E-cigarette maker Juul is raising $150 million after spinning out of vaping
     company, CNBC (Dec. 20, 2017), https://www.cnbc.com/2017/12/19/juul-labs-raising-150-
     million-in-debt-after-spinning-out-of-pax.html.
   44
      Id.
   45
      Dan Primack, Scoop: The Numbers Behind Juul’s Investor Appeal, Axios (July 2, 2018),
     https://www.axios.com/numbers-juul-investor-appeal-vaping-22c0a2f9-beb1-4a48-acee-
     5da64e3e2f82.html.
   46
      Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market at 2, Stan.
     Res. into the Impact of Tobacco Advert. (2019),
     http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
   47
      Verified Complaint Under Section 337 of the Tariff Act of 1930 at 6, In the Matter of Certain
     Cartridges for Elec. Nicotine Delivery Sys. & Components Thereof, Investigation No. 337-TA-
     1141 (USITC Nov. 19, 2018).


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          40.     JLI shattered previous records for reaching decacorn status, reaching valuation of

   over $10 billion in a matter of months—four times faster than Facebook.48 This all came just

   three years after its product launch.

          2.      Following Big Tobacco’s footsteps: Nicotine Salts

          41.     JLI’s staggering commercial success did not come from a blank slate. Under the

   Master Settlement Agreement between Big Tobacco and the States, the public has access to

   hundreds of thousands of Big Tobacco’s internal documents. In creating JUUL, Monsees and

   Bowen carefully studied the marketing strategies, advertisements, and product design of Big

   Tobacco. As Monsees candidly acknowledged, the internal tobacco documents “became a very

   intriguing space for us to investigate because we had so much information that you wouldn’t

   normally be able to get in most industries. And we were able to catch-up, right, to a huge, huge

   industry in no time. And then we started building prototypes.”49 JLI researched how Big Tobacco

   companies engineered their products and chemically manipulated nicotine to maximize delivery:

   “We started looking at patent literature. We are pretty fluent in ‘Patentese.’ And we were able to

   deduce what had happened historically in the tobacco industry.”50

          42.     JLI built on Big Tobacco’s research to formulate its nicotine solution in a manner

   that would be appealing to youth and nonsmokers. JLI was well aware from the historical

   cigarette industry documents that the future of any nicotine-delivery business depends on

   ensnaring customers before they age beyond the window of opportunity. Big Tobacco designed


   48
      Zack Guzman, Juul Surpasses Facebook As Fastest Startup to Reach Decacorn Status, Yahoo!
     Fin. (Oct. 9, 2018), https://finance.yahoo.com/news/juul-surpasses-facebook-fastest-startup-
     reach-decacorn-status-153728892.html.
   49
      Montoya, supra note 27.
   50
      Crook, supra note 28.


                                                   16
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   products specifically to make it easier for teens to initiate smoking. In a 1973 internal memo Dr.

   Claude Teague of R.J. Reynolds Tobacco Company (“R.J. Reynolds”) observed, “Realistically,

   if our Company is to survive and prosper, over the long term, we must get our share of the youth

   market. In my opinion this will require new brands tailored to the youth market.”51 Dr. Teague

   noted that “‘learning’ smokers” have a low tolerance for throat irritation so the smoke should be

   “as bland as possible,” i.e., not harsh; and he specifically recommended an acidic smoke “by

   holding pH down, probably below 6.”52 As described below, JLI heeded Dr. Teague’s advice.

          43.     Monsees, Bowen, and JLI’s employees reviewed documents in the Big Tobacco

   archive that included information on how to manipulate nicotine pH to maximize nicotine

   delivery in a vapor while minimizing the throat irritation or “throat hit” that may potentially

   deter new smokers. Chenyue Xing, a chemist who worked for JLI (then called PAX Labs) and

   helped patent its liquid-nicotine formula, told Reuters that she recalled reviewing tobacco

   company records and research. “We had consultants who were veterans of the big tobacco

   companies,” she said, “We learned all the history.”53

          44.     As Monsees noted in 2015 during an interview with WIRED magazine, “The

   people who understood the science and were listed on previous patents from tobacco companies




   51
      Claude E. Teague, Jr., Research Planning Memorandum on Some Thoughts About New Brands
     of Cigarettes for the Youth Market at 1, U.C.S.F. Truth Tobacco Indus. Documents (Feb. 2,
     1973), https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=lhvl0146.
   52
      Id. at 4.
   53
      Chris Kirkham, Juul disregarded early evidence it was hooking teens, Reuters (Nov. 5, 2019),
     https://www.reuters.com/investigates/special-report/juul-ecigarette/.


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   aren’t at those companies anymore. If you go to Altria’s R&D facility, it’s empty.”54 Instead,

   some of those people were advising JLI and helping to develop JUUL.

          45.     As Dr. Teague’s memo described, the solution that R.J. Reynolds scientists

   devised in the 1970s for reducing nicotine’s harshness to make it easier for “‘learning’ smokers”

   to start and continue smoking was to combine the high-pH nicotine with a low-pH acid. The

   result was a neutralized compound referred to as nicotine salt. In a 1973 R.J. Reynolds

   memorandum, R.J. Reynolds highlighted that this chemical manipulation of the nicotine content

   was expected to give its cigarettes an “additional nicotine ‘kick’” that would be more appealing

   and addictive.55 A young R.J. Reynolds chemist, Thomas Perfetti, synthesized thirty different

   nicotine salt combinations, tested the salts’ ability to dissolve into a liquid, and heated them in

   pursuit of the “maximum release of nicotine.”56 Perfetti published his results in a 1979 memo

   stamped “CONFIDENTIAL,” which was found among the documents that the FDA obtained

   from JLI in 2018. Relying on cigarette industry research like this,

          , JLI developed a cartridge-based e-cigarette using nicotine salts. As described herein,

   JLI’s use of nicotine salts, pioneered by major combustible Big Tobacco companies, was a

   critical tool for addicting non-smokers, including youth.




   54
      David Pierce, This Might Just Be the First Great E-Cig, WIRED (Apr. 21, 2015),
     www.wired.com/2015/04/pax-juul-ecig/.
   55
      Frank G. Colby, Cigarette Concept to Assure RJR a Larger Segment of the Youth Market at 1,
     U.C.S.F. Truth Tobacco Industry Indus. Documents (Dec. 4, 1973),
     https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=mzfx0091.
   56
      Thomas A. Perfetti, Smoking Satisfaction and Tar/Nicotine Control (Dec. 7, 1978), https://ca-
     times.brightspotcdn.com/3a/12/a5ec27874843a56e26b4ecdfd221/nicotine-salts-
     investigation.pdf.


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          46.     The “nicotine salt” formulation that JLI popularized follows this same approach.

   JLI added benzoic acid to its nicotine liquid, creating a nicotine salt called nicotine benzoate.

   This both reduced the nicotine’s harshness and delivered it more directly to the user’s lungs and

   brain. 57 The freebase nicotine in earlier e-cigarettes was partly absorbed in the user’s mouth and

   throat, resulting in a much slower absorption by the body.

          47.     JLI’s use of nicotine benzoate affects the palatability of nicotine inhalation by

   reducing the “throat hit” that users experience when vaping. According to Ari Atkins, one of the

   inventors of JUUL, “[i]n the tobacco plant, there are these organic acids that naturally occur.

   And they help stabilize the nicotine in such a way that makes it . . . I’ve got to choose my words

   carefully here: Appropriate for inhalation.”58

          48.     Because cigarette smokers are already accustomed to a certain level of harshness

   and throat hit, developing a product with reduced harshness and minimal “throat hit” is only a

   critical concern if the goal is to appeal to first-time smokers. The tobacco industry has long

   recognized this; a published study of industry documents concluded that “product design changes

   which make cigarettes more palatable, easier to smoke, or more addictive are also likely to

   encourage greater uptake of smoking.”59 In the vaping context, reducing the harshness of

   nicotine also allows more frequent vaping, for longer periods of time, and masks the amount of

   nicotine being delivered.




   57
      Kirkham, supra note 53.
   58
      Pierce, supra note 54.
   59
      David A. Kessler, Juul Says It Doesn’t Target Kids, But Its E-Cigarettes Pull Them In, N.Y.
     Times (July 31, 2019), https://www.nytimes.com/2019/07/31/opinion/juul-kids.html.


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           49.        Building on Big Tobacco’s research, JLI intentionally designed its product to

   minimize “throat hit” and maximize “buzz.”




           50.



                                 60



                                   “Employees tested new liquid-nicotine formulations on themselves

   or on strangers taking smoke breaks on the street. Sometimes, the mix packed too much punch –

   enough nicotine to make some testers’ hands shake or send them to the bathroom to

   vomit . . . .”61

           51.




                           62




   60
      INREJUUL_00002903.
   61
      Kirkham, supra note 53.
   62
      INREJUUL_00002903.


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          52.




          53.     A later study by Anna K. Duell et al., explains why JUUL delivered a strong

   “buzz” but so little throat hit. The Duell Study determined that the fraction of free-base nicotine

   in JLI’s “Fruit Medley” flavor was 0.05 and was 0.07 in the “Crème Brulee” flavor.63 For

   comparison, “Zen” brand e-liquid has a free-base fraction of 0.84.64 The Duell Study’s authors

   found that the low free-base fraction in JUUL aerosols resulted in a “decrease in the perceived

   harshness of the aerosol to the user and thus a greater abuse liability.”65

          54.     Dramatically reducing the throat hit is not necessary for a product that is aimed at

   smokers, who are accustomed to the harshness of cigarette smoke, but it very effectively appeals



   63
      87 U.S. Patent No. 9,215, 895; Anna K. Duell et al., Free-Base Nicotine Determination in
     Electronic Cigarette Liquids by H NMR Spectroscopy (“Duell Study”), 31 Chem. Res. Toxicol.
     431, 432 (Fig. 3) (May 18, 2018),
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC6008736/pdf/tx8b00097.pdf.
   64
      Id. at 432.
   65
      Id. at 431–34.


                                                    21
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   to nonsmokers, especially youth. The Duell Study concluded that JLI’s use of nicotine salts “may

   well contribute to the current use prevalence of JUUL products among youth.”66

          55.     Reducing the harshness of nicotine also allows more frequent use of e-cigarettes,

   for longer periods of time, and masks the amount of nicotine being delivered. By removing the

   physiological drawbacks of inhaling traditional free-base nicotine, JLI’s technology removes the

   principal barrier to nicotine consumption and addiction. The Duell Study further concluded that

   JLI’s creation of a non-irritating vapor that delivers unprecedented amounts of nicotine is

   “particularly problematic for public health.”67

          56.     JLI contemplated features that would automatically disable the device after

   nicotine delivery exceeded a certain threshold; according to Xing, one idea was to disable the

   device for thirty minutes or more following a certain number of puffs. 68 But in the end JLI

   launched its product without any such features.

                         JLI designed JUUL products to contain and deliver as much nicotine
                  as possible

          57.     JLI claims that each JUULpod is the equivalent of a pack of cigarettes and

   contains up to fifty-nine mg per ml of nicotine—an alarming amount that is roughly three times

   the concentration of nicotine that can be sold to consumers in the European Union. Compared to

   the average e-cigarette, JUULpods deliver roughly twice as much nicotine at nearly three times




   66
      Id. at 433 (citing J.G. Willett et al., Recognition, use and perceptions of JUUL among youth
     and young adults, 28 Tobacco Control 115-16 (2018)).
   67
      Id. at 431.
   68
      Kirkham, supra note 53.


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   the speed.69




                  70
                       And, while only approximately 10% of the nicotine in a cigarette is delivered to

   the user,71 JUUL e-cigarettes, on the other hand, have been found to deliver at least 82% of the

   nicotine contained in a JUULpod to the user.72
                                                73



          58.      JLI knew that it had designed a highly addictive product that would appeal to

   youth much more than adult smokers.




                                                                                          74




   69
      How Much Nicotine is In Juul?, Truth Initiative (Feb. 26, 2019),
     https://truthinitiative.org/research-resources/emerging-tobacco-products/how-much-nicotine-
     juul.
   70
      INREJUUL_00279931 (emphasis added).
   71
      Lynn T. Kozlowski & Janine L. Pilliteri, Compensation for Nicotine by Smokers of Lower
     Yield Cigarettes, 7 Smoking and Tobacco Control Monograph 161, 164
     (1983), https://cancercontrol.cancer.gov/brp/tcrb/monographs/7/m7_12.pdf.
   72
      Samantha M. Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by JUUL
     Electronic Cigarettes, 21 Nicotine Tobacco Research 1274 (Aug. 19, 2019),
     https://www.ncbi.nlm.nih.gov/pubmed/30346584 (about 82%, for averages of 164 μg per puff).
   73
      See, e.g., INREJUUL_00023597 (
              ).
   74
      JLI00365905.


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         59.




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         60.
                                            77




                       78


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         61.
                                      80


          81



         62.




   75
      Id. (emphasis added).
   76
      JLI00365709.
   77
      JLI00365176.
   78
      INREJUUL_00058345.
   79
      Id.
   80
      JLI00364678.
   81
      JLI00364487.


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                                         83



           63.

                                              JLI took no steps to offer U.S. consumers its products in

   a lower nicotine formulation until August 2018, when it began marketing certain flavors in 3%

   nicotine strength. (JLI markets 1.7% nicotine JUULpods in countries such as the UK and Israel.)

   Instead, JLI’s sales force emphasized the addictiveness of its formulation to persuade retailers to

   give the new product shelf space. Vincent Latronica, head of East Coast sales and distribution for

   JLI (then called PAX Labs) from 2014 until early 2016, told Reuters that he used a chart

   showing JUUL’s rapid delivery of nicotine to the bloodstream as a way to convince store owners

   that they would have repeat business and not be left with unsold inventory, and this became a

   central selling point for the new JLI product.84 JLI’s sales team was, in Latronica’s words,

   “relentless.”85

           64.                                                                                  For

   example,

                                        He wrote:




   82
      INREJUUL_00260068.
   83
      INREJUUL_00260065.
   84
      Kirkham, supra note 53.
   85
      Id.


                                                     25
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                            86


           65.   Another example came just days later. On




   86
        INREJUUL_00264888-890.


                                               26
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          66.        Instead of taking steps to reduce the addictive nature of its products and to stop its

   advertising to youth, JLI doubled down.



                                                      88



          B.    Following Big Tobacco’s Playbook, JLI Launched JUUL with a Blatantly
          Youth-Oriented Campaign

                            JLI learned from Big Tobacco the importance of hooking kids.

          67.        JLI also looked to Big Tobacco for other marketing strategies, including

   advertisements designed to lure non-smoking youth.

          68.



                89
                     In addition,




                                                                                                    90



          69.        As discussed above, Monsees and Bowen were also able to take advantage of an

   extensive online tobacco advertising research database maintained by the Stanford Research into

   the Impact of Tobacco Advertising (“SRITA”), an inter-disciplinary research group devoted to


   87
      INREJUUL_00230416.
   88
      INREJUUL_00228928-930.
   89
      INREJUUL_00371447.
   90
      INREJUUL_00371458-459.


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   researching the promotional activities of the tobacco industry. SRITA’s database contains

   approximately 50,000 original tobacco advertisements. According to Monsees, JLI’s advertising

   was informed by traditional tobacco advertisements, and SRITA in particular had been very

   useful to JLI.91

           70.        It is no secret that a good portion of the Big Tobacco playbook involved targeting

   youth. Beginning in the 1950s, Philip Morris—now JLI’s corporate affiliate—intentionally

   marketed cigarettes to young people under the age of twenty-one to recruit “replacement

   smokers” to ensure the economic future of the tobacco industry.92 Philip Morris knew that youth

   smoking was essential to the tobacco industry’s success and longevity, as one of its internal

   documents makes clear: “It is important to know as much as possible about teenage smoking

   patterns and attitudes. Today’s teenager is tomorrow’s potential regular customer, and the

   overwhelming majority of smokers first begin to smoke while still in their teens.”93 In August

   1953, Elmo Roper & Associates on Philip Morris’ behalf, conducted a study that examined the

   smoking habits of a “cross section of men and women 15 years of age and over.”94 The study

   noted that Philip Morris had “very great strength among young people-particularly under 20.”95

   In 1975, Philip Morris recognized that “Marlboro’s phenomenal growth rate in the past has been

   attributable in large part to our high market penetration among young smokers . . .15 to 19 years

   old . . . my own data, which includes younger teenagers, shows even higher Marlboro market


   91
      Jackler et al., supra note 46 at 27.
   92
      U.S. v. Philip Morris USA, Inc. (“Philip Morris”), 449 F. Supp. 2d 1, 618-622 (D.D.C. 2006).
   93
      Tobacco Company Quotes on Marketing to Kids, Campaign for Tobacco-Free Kids (May 14,
     2001), https://www.tobaccofreekids.org/assets/factsheets/0114.pdf.
   94
      Philip Morris, 449 F. Supp. 2d at 580 (citing Burns W. Roper, A Study of People’s Cigarette
     Smoking Habits and Attitudes, N.Y Roper (1953)).
   95
      Id.


                                                      28
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   penetration among 15-17-year-olds.”96 Similarly, an internal Philip Morris document reported

   that “[t]he success of Marlboro Red during its most rapid growth period was because it became

   the brand of choice among teenagers who then stuck with it as they grew older.”97 This was no

   accident. Philip Morris designed its marketing campaigns to appeal to youth because they

   recognized that “[t]oday’s teenager is tomorrow’s potential regular customer, and the

   overwhelming majority of smokers first begin to smoke while still in their teens.”98 This

   marketing worked, and Marlboro cigarettes became the most popular brand with youth. In 2016,

   48.7% of high school current cigarette smokers and 38.3% of middle school current cigarette

   smokers reported using Marlboro cigarettes.99

          71.     Tobacco companies have focused on the fourteen to twenty-four-year-old age

   group because young smokers have been the critical factor in the growth of their business. As the

   Vice-President of Marketing at R.J. Reynolds explained in 1974, the “young adult . . . market . . .

   represent[s] tomorrow’s cigarette business. As this 14-24 age group matures, they will account

   for a key share of the total cigarette volume—for at least the next 25 years.”100 In 1978,




   96
      Philip Morris and Targeting Kids, Campaign for Tobacco-Free Kids (Oct. 8, 1999),
     https://www.tobaccofreekids.org/assets/content/what_we_do/industry_watch/doubletalk/philip
     morris.pdf.
   97
      Id.
   98
      Tobacco Company Quotes on Marketing to Kids, supra note 93.
   99
      Siobhan N. Perks et al., Cigarette Brand Preference and Pro-Tobacco Advertising Among
     Middle and High School Students⸺United States, 2012- 2016, CDC Morbidity & Mortality
     Wkly. Rep. [MMWR] (Feb. 2, 2018),
     https://www.cdc.gov/mmwr/volumes/67/wr/mm6704a3.htm?s_cid=mm6704a3_w.
   100
       C.A. Tucker, Marketing Plans Presentation to RJRI B of D at 2, U.C.S.F. Truth Tobacco
     Indus. Documents (Sept. 30, 1974),
     https://www.industrydocumentslibrary.ucsf.edu/tobacco/docs/#id=ypmw0091.


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   Lorillard’s Director of Sales in the Midwest told the president of the company that “the base of

   our business is the high school student.”101

          72.     According to the Surgeon General, “[n]early 9 out of 10 smokers start smoking by

   age 18, and more than 80% of underage smokers choose brands from among the top three most

   heavily advertised.”102 The overwhelming consensus from public health authorities, independent

   studies, and credible expert witnesses is that “marketing is a substantial contributing factor to

   youth smoking initiation.”103

          73.     For decades, cigarette companies spun smoking as signifier of adulthood. This

   turned smoking into a way for teenagers to project independence and enhance their image among

   their peers.104 R.J. Reynolds’s now-infamous Joe Camel “ambassador of Cool” advertising

   campaign, which ran from 1988 through 1997, exemplifies the importance the tobacco industry

   placed on hooking young smokers early:105




   101
       Internal Memo from T.L. Achey (Lorillard Tobacco Company) to Curtis Judge, Product
     Information (Aug. 1978); see also Philip Morris, 449 F. Supp. 2d at 596.
   102
       Preventing Tobacco Use Among Youths, Surgeon General Fact Sheet, U.S. Dep’t Health &
     Human Servs. (June 6, 2017), https://www.hhs.gov/surgeongeneral/reports-and-
     publications/tobacco/preventing-youth-tobacco-use-factsheet/index.html.
   103
       Philip Morris, 449 F. Supp. 2d at 570.
   104
       Id. at 576 (“the ubiquity of Defendants’ marketing increases young peoples’ perceptions of
     the prevalence of smoking (‘everyone is doing it’), normalizes smoking, and connects positive
     imagery (sex appeal, popularity, peer approval, success, and independence) with smoking, all
     of which work together to encourage youth smoking initiation and continued consumption”);
     see also id. at 617-19.
   105
       Joe Camel: Character of the Year Advertisement, Stan. U. Res. into the Impact of Tobacco
     Advert. (1990),
     http://tobacco.stanford.edu/tobacco_main/images.php?token2=fm_st138.php&token1=fm_img
     4072.php&theme_file=fm_mt015.php&theme_name=Targeting%20Teens&subtheme_name=J
     oe%20Camel.


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          74.     Big Tobacco, of course, is now prohibited from employing youth-oriented

   marketing strategies to sell traditional cigarettes by virtue of the Master Settlement Agreement

   and subsequent regulations. For example, combustible cigarette companies may not:

                  A.     use outdoor advertising such as billboards;

                  B.     sponsor events;

                  C.     give free samples;

                D.     pay any person to “use, display, make reference to or use as a prop any
          Tobacco Product, Tobacco Product package . . . in any “Media;”

                E.      pay any third party to conduct any activity which the tobacco
          manufacturer is prohibited from doing; or

                  F.     sell “flavored” cigarettes.




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          75.     All of these above activities were prohibited precisely because of their

   effectiveness at appealing to youth. But nothing prevented JLI from using these same strategies

   to market e-cigarettes.

          76.     As described below, all of these activities figured prominently in the marketing

   campaign for JUUL products.

                        JLI’s advertising strategy was                                       to capture
                  young nonsmokers, not adult smokers.

          77.     Contrary to JLI’s and Altria’s recent statements that JUUL was only ever

   marketed to adult smokers, JLI’s internal documents show that, from the outset, JLI’s target

   demographic was nonsmoking

          78.     Consistent with Monsees’ position that he has no “qualms” with marketing to

   people that were not yet addicted to nicotine,106



                                  107
                                        In




                                                                                                     108




   106
       D. Freedman, supra note 36.
   107
       INREJUUL_00441209.
   108
       INREJUUL_00057291 et seq. (emphasis added).


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          79.     JLI’s strategy to cultivate an aura of “cool” around its nicotine-delivery device is,

   of course, not new. Decades before, Dr. Teague from R.J. Reynolds observed that “pre-smokers”

   face “psychological pressure” to smoke if their peers are doing so, “a new brand aimed at a

   young smoker must somehow be the ‘in’ brand and its promotion should emphasize

   togetherness, belonging and group acceptance, while at the same time emphasizing ‘doing one’s

   own thing.’”109 Struggling to define their own identities, teenagers are particularly vulnerable to

   image-heavy advertisements that psychologically cue them on the “right” way to look and

   behave amongst peers.110 Advertisements that map onto adolescent aspirations and

   vulnerabilities drive adolescent tobacco product initiation.111

          80.     JLI followed this playbook to the letter.




            112


                                                                       113



                                                   fairly describes most adolescents—but has little

   relevance to existing smokers wishing to quit their cigarette habit.




   109
       Teague, supra note 51.
   110
       Philip Morris, 449 F. Supp. 2d at 578.
   111
       Id. at 570, 590.
   112
       INREJUUL_00057298-487.
   113
       Id.


                                                    33
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         81.
                                          114


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         82.   Other internal documents emphasize the theme of making JUUL trendy and cool.

   I



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                                                                  117


                                                       118
                                                             For example,



                                                119


                                    120


                                                                        121



         83.   This focus on              continued up to and after launch.




   114
       Id.
   115
       INREJUUL_00277080-104.
   116
       INREJUUL_00057289.
   117
       INREJUUL_00057293.
   118
       Id.
   119
       Id.
   120
       Id.
   121
       INREJUUL 00441325-326.


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                                       .126



           84.     In addition, JLI identified



                                                                             127



                          JLI’s “Vaporized” campaign was intentionally youth-focused.

           85.     As noted above, JLI’s first major marketing hire was Cult Collective. JLI engaged

   the Calgary-based advertising agency in 2014 to complete a “diagnostic” evaluation of the JLI

   brand and to make recommendations regarding the best advertising strategy to market the JUUL

   e-cigarette.

           86.     Cult Collective recommended that JLI position its e-cigarette technology as the

   focus of its advertisements, emphasizing JUUL as an alternative option for existing smokers.



   122
       JLI00218598.
   123
       JLI00206206.
   124
       JLI00222528.
   125
       JLI00461564.
   126
       JLI00235965.
   127
       INREJUUL_00161703-715.


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   Cult Collective presented JLI with exemplar advertisements that used images of a boom box and

   a joy stick, juxtaposed against the JUUL e-cigarette, with the tag line: “Everything changes,

   eventually. JUUL | The evoluution of smoking | Finally, a truly satisfying alternative.”128




          87.     This campaign expressly invokes combustible cigarettes and positions JUUL as a

   technological upgrade for the modern smoker.

          88.     But JLI rejected Cult Collective’s suggestion, instead choosing to run a campaign

   that experts would later describe as “patently youth oriented.”129




   128
       Complaint ¶ 41, Commonwealth of Massachusetts v. JUUL Labs, Inc., No. 2084CV00402
     (Mass. Super. Ct. Feb. 12, 2020), https://www.mass.gov/doc/juul-complaint/download
     (emphasis added).
   129
       Robert K. Jackler, The Role of the Company in the Juul Teen Epidemic, Testimony of Robert
     Jackler before the House Subcommittee on Economic and Consumer Policy (“Jackler
     Testimony”) at 2 (July 24, 2019),
     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019.07.24%20Jackler%2
     0Testimony.pdf.


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           89.     JLI’s 2015 ad campaign, called “Vaporized,” was designed to create a “cult-like

   following” for JUUL products.130 The Vaporized campaign’s imagery featured a vivid color

   scheme and models in their twenties in poses that researchers noted are evocative of behaviors

   more characteristic of underage teens than mature adults.131 Researchers from the SRITA found

   it “clear” that this imagery resonated with underage teens who aspire to emulate trendsetting

   young adults.132




   130
       Id. at 4.
   131
       Jackler et al., supra note 46 at 1.
   132
       Id. at 7.


                                                   37
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          90.    JLI recognized that the models in these advertisements looked young and were

   likely to appeal to youth, but it launched the campaign anyway.



                       133


                             134




                                                                                   135
                                                                                         “Monsees,

   who was CEO at the time, personally reviewed images from the billboard photo shoot while it

   was in session.”136 A senior manager later told The New York Times that “he and others in the




   133
       INREJUUL_00371285.
   134
       INREJUUL_00371314.
   135
       INREJUUL_00174387.
   136
       Ainsley Harris, How Juul, founded on a life-saving mission, became the most embattled
     startup of 2018: E-cigarette startup Juul Labs is valued at more than $16 billion. It’s also
     hooking teens on nicotine and drawing scrutiny from the FDA. Can the company innovate its
     way out of a crisis it helped create?, Fast Co. (Nov. 19, 2018),
     https://www.fastcompany.com/90262821/how-juul-founded-on-a-life-saving-mission-became-
     the-most-embattled-startup-of-2018.


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   company were well aware” that the marketing campaign “could appeal to” teenagers.137

            91.   JLI knew these images would be successful with a youth market because it

   intentionally crafted them to mimic specific ads that Big Tobacco had used to target teens. In

   fact, many JUUL ads were nearly identical to old cigarette ads that were designed to get teens to

   smoke.




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   137
       Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y.
     Times (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
     marketing.html.
   138
       Virginia Slims vs Juul Advertisement, Stan. U. Res. into the Impact of Tobacco Advert.
     (2015), http://tobacco.stanford.edu/tobacco_main/images-
     comp.php?token2=fm_tn_st328.php&token1=fm_tn_img10799.php&theme_file=fm_tn_mt035
     .php&theme_name=Cigs%20vs.%20eCigs&subtheme_name=Cigs%20vs%20eCigs%20JUUL.
   139
       Julia Belluz, The Vape Company Juul Said It Doesn’t Target Teens. Its Early Ads Tell a
     Different Story, Vox (Jan. 25, 2019), https://www.vox.com/2019/1/25/18194953/vape-juul-e-
     cigarette-marketing.


                                                   39
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          92.     JLI’s officers and directors were well aware that JLI’s branding of JUUL products

   was oriented toward youth and duplicated earlier efforts by the cigarette industry to hook

   children on nicotine. JLI’s officers and directors directed and approved JLI’s branding of JUUL

   products to be oriented toward youth. JLI’s officers and directors




                                                 140




          93.     JLI’s officers and directors




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   140
       Examining JLI’s Role in the Youth Nicotine Epidemic: Part II: Hearing Before the
     Subcommittee on Economic and Consumer Policy of the Committee on Oversight and Reform,
     House of Representatives, 116th Cong. 70 (2019) (statement of Monsees, CPO, JLI).
   141
       JLI00206239.
   142
       JLI00214617.
   143
       Id.


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                     144




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          94.     This recognition notwithstanding, JLI’s officers and directors pressed on with

   JLI’s youth-oriented campaign. Some of JLI’s leaders, such as Board member Hoyoung Huh,

   opposed any actions to curb youth sales. Youth sales were a large potential source of revenue.147

   As one manager explained, perhaps “people internally had an issue” with sales of JUUL to

   teenagers, “[b]ut a lot of people had no problem with 500 percent year-over-year growth.”148

   And JLI’s leaders understood that the youth who were hooked on nicotine were the most likely

   to become lifelong customers and thus were the most profitable segment to target.149




   144
       Id.
   145
       Id.
   146
       Id. (emphasis added).
   147
       Kirkham, supra note 53.
   148
       Id.
   149
       Id.


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          95.     So in June 2015, JLI launched the “Vaporized” advertising campaign,150 with
                                                                       151
                                                                             JLI aggressively sought

   high-visibility spaces with youth appeal. For example, Vaporized ads occupied the front spread

   of the July 2015 issue of VICE Magazine, which bills itself as the “#1 youth media brand” in the

   world, and a twelve-unit billboard display in New York City’s Times Square.152




                                                                        153



          96.     JLI’s advertisements were also placed on websites attractive to children,

   adolescents in middle school and high school, and underage college students. These

   advertisements, which included the images of models from the Vaporized campaign, began


   150
       Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’, AdAge
     (June 23, 2015), https://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-ads-
     campaign/299142.
   151
       INREJUUL_00057291-295.
   152
       Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes
     (Nov. 16, 2018), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-
     focus-of-juuls-early-marketing-campaigns/#3da1e11b14f9; see also Harty, supra note 151.
   153
       http://tobacco.stanford.edu/tobacco_web/images/pod/juul/timesquare/large/times_17.gif; see
     also Erin Brodwin, Silicon Valley e-cig startup Juul ‘threw a really great party’ to launch its
     devices, which experts say deliberately targeted youth, Bus. Insider (Sept. 4, 2018),
     https://www.businessinsider.com/juul-e-cig-startup-marketing-appealed-to-teens-2018-7.


                                                  42
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   appearing on websites as early as June 2015. The websites included: nickjr.com (the website for

   a children’s television network run by Nickelodeon Group); cartoonnetwork.com (Cartoon

   Network’s website); allfreekidscrafts.com; hellokids.com; and kidsgameheroes.com. In addition,

   JLI purchased banner advertisements on websites providing games targeted to younger girls, 154

   educational websites for middle school and high school students,155 and other teen-targeted

   websites.156

          97.      JLI knew these websites targeted children.




                                  157
                                        Nevertheless, JLI continued to push its campaign on websites

   with young demographics.

          98.      As discussed further below, JLI also promoted the Vaporized campaign on

   Facebook, Instagram, and Twitter. JLI could have employed age-gating on its social media

   accounts to prevent underage consumers from viewing its Vaporized advertisements, but chose

   not to do so.




   154
       The sites included dailydressupgames.com, didigames.com, forhergames.com,
     games2girls.com, girlgames.com, and girlsgogames.com.
   155
       E.g., coolmath-games.com. JLI also purchased advertisements on basic-mathematics.com,
     coolmath.com, math-aids.com, mathplayground.com, mathway.com, onlinemathlearning.com,
     and purplemath.com.
   156
       E.g., teen.com, seventeen.com, justjaredjr.com, and hireteen.com. JLI purchased
     advertisements on websites for high school students hoping to attend college such as
     collegeconfidential.com and collegeview.com.
   157
       INREJUUL_00082179-185 (emphasis added).


                                                     43
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           99.     The Vaporized campaign included the largest e-cigarette smartphone campaign of

   2015, which accounted for 74% of all such smartphone advertising that year.158

           100.
                         159



                         JLI hosted parties and pop-up “JUUL Lounges” to create a youthful
                   brand and gave away free samples to get youth hooked.

           101.    In addition to print media, JLI utilized events, promotional models, and free

   samples to market JUUL products. Over the first year after JLI launched its ad campaign in June

   2015, it held a series of at least twenty-five highly stylized parties, typically with rock music

   entertainment, in cities across the United States.160




           102.    Photographs from these events confirm that they drew a youthful crowd.




   158
       Jackler et al., supra note 46. at 19.
   159
       INREJUUL_00093933-934.
   160
       Jackler et al., supra note 46 at 4.


                                                    44
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          103.    At these launch parties, thousands of young people were given free JUUL devices

   and nicotine-filled JUULpods (appropriately named “JUUL starter kits”), and JLI posted photos

   of various young people enthusiastically puffing on JUULs across JLI’s social media

   channels.161

          104.    In addition, JLI gave away samples at music events without age restrictions,

   including Outside Lands in San Francisco’s Golden Gate Park, and other events aimed a youthful

   audience, such as the annual Cinespia “Movies All Night Slumber Party” in Los Angeles. These

   events, in addition to providing youthful crowds for handing out samples, were opportunities for

   JLI to cultivate its brand image as youthful, hip, and trendy—but had nothing to do with smoking

   cessation. For example, on August 7, 2015, JLI tweeted, “Need tix for @cinespia 8/15? We got

   you. Follow us and tweet #JUULallnight and our faves will get a pair of tix!”162

          105.    As part of the Vaporized campaign, JLI also emulated trendy pop-up restaurants

   and stores by using a shipping container “pop-up JUUL bar” at festivals and events in the Los

   Angeles and New York City metro areas. The firm BeCore designed and created the container



   161
      Jackler et al., supra note 46 at 4; Chaykowski, supra note 152.
   162
      JUUL Labs, Inc. (@JUULvapor), Twitter (Aug. 7, 2015),
    http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_18.jpg.


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   for JLI, and managed it as a mobile JUUL product sampling lounge. BeCore reported that, on

   average, it “exceeded the sampling goals set by JUUL for each location (average number of

   samples/event distributed equals 5,000+.”163




                                                                                   164



          106.   JLI also held sampling events of JUUL products in stores.



         165



          107.   Documents obtained by the New York Attorney General show that JLI recruited

   young “brand ambassadors” to staff its events and required a dress code that included skinny

   jeans, high-top sneakers or booties, and an iPhone in a JUUL-branded case.166




   163
       Jackler et al., supra note 46 at 9.
   164
       Harty, supra note 150.
   165
       INREJUUL_00160394.
   166
       Jake Offenhartz, Juul Hooked Teens Through Sick Parties and Hip Ambassadors, NY AG
     Says, Gothamist (Nov. 19, 2019), https://gothamist.com/news/juul-hooked-teens-through-sick-
     parties-and-hip-ambassadors-ny-ag-says; Chaykowski, supra note 152.


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          108.    JLI engaged PUSH Agency, LLC (“PUSH”), a promotional model and event

   staffing agency, to provide models and brand ambassadors to hand out coupons in trendy areas of

   New York City popular with young people.




                                           167



          109.    Though JLI publicly acknowledged in October 2017 that it is unlawful to

   distribute free samples of its products at live events,168 it continued to reach out to new users by

   offering samples, sometimes at $1 “demo events.” Like so many of JLI’s initiatives, promotions

   of this kind are prohibited for cigarette companies by the Master Settlement Agreement.




   167
      INREJUUL_00158794-803.
   168
      See Nik Davis (@bigbabynik), Twitter (Nov. 17, 2017 1:11 PM),
    https://twitter.com/JLIvapor/status/931630885887266816; see also Jackler Testimony, supra
    note 135.


                                                    47
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             110.    The effect—and purpose—of JLI’s Vaporized giveaways was to flood major

   cities with JUUL products that would hook thousands of new users, and to generate buzz for the

   brand among urban trendsetters who would then spread JLI’s message to their friends via word

   of mouth and social media.

                           By using viral advertising, JLI ensured that Its advertising campaigns
                     would reach youth and outlast JLI’s own efforts.

             111.    JLI not only used Big Tobacco’s advertising imagery and giveaways in a manner

   that reached youth, but also coupled traditional advertisements with an aggressive social media

   marketing campaign. Through the use of social media, JLI has been able to operate an even more

   pervasive, insidious, and successful viral marketing campaign than its predecessors in the

   tobacco industry.
                                169




             112.    JLI was particularly active on Instagram, which is the most popular social media

   site among teens.170 JLI cultivated hashtags, allowing it to blend JUUL products’ ads in with a

   wide range of user content, increasing exposure while concealing the commercial nature of the




   169
         INREJUUL_00349541.
   170
         Jackler et al., supra note 46.


                                                     48
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   content.171 JLI then used hashtags to reinforce the themes it crafted in the JUUL products’

   design, like #style, #technology, #smart, and #gadget.




                                                                           172



          113.    JLI’s hashtags attracted an enormous community of youthful posts on a wide

   array of subjects. According to Dr. Jackler, #Juul contains literally thousands of juvenile

   postings, and numerous Instagram hashtags contain the JUUL brand name.173

          114.    A key feature of JLI’s viral marketing campaign was inviting user-generated

   content. This strategy revolves around prompting social media followers to provide their own

   JUUL-related content—posting selfies in their favorite places to use JUUL products, for

   example. The response provided by a user is then typically distributed by the social media

   platform employed into the user’s personal network. In this way, brands can infiltrate online

   communities with personalized content that promotes their products, such as a picture of a friend

   using a JUUL e-cigarette at the beach.




   171
       Id. at 23.
   172
       INREJUUL_00093294.
   173
       Jackler Testimony, supra note 129 at 10.


                                                   49
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             115.   Just as JLI intended, JUUL users began taking photos of themselves using JUUL

   devices and putting them on social media with the hashtag #juul. They were creating JLI content

   that looked and felt like real JLI ads: featuring young people having fun and using JUUL. JLI’s

   flavor-based hashtag campaigns #MangoMonday and #coolmint generated hundreds of

   thousands of user-generated posts. Within a few months of JLI’s commercial release of JUUL in

   June 2015, a former JLI executive reportedly told The New York Times that JLI “quickly realized

   that teenagers were, in fact, using [JUULs] because they posted images of themselves vaping

   JUULs on social media.”174 Some JLI executives sought to take advantage of this to build the

   JUUL brand. For example,




   174
         Richtel & Kaplan, supra note 137.


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                                           175


                                                 176



          116.    JLI also sought to work with high profile “influencers” that appeal to youth. JLI

   used these



                           177
                                 Influencers are prized sources of brand promotion on social media

   networks.

          117.    Documents obtained pursuant to a Congressional investigation show that in July

   2015, JLI’s contract with Grit was for services that including “Influencer Relations,” in which

   Grit agreed to provide two “Social Buzzmakers” for six events within a four-week period, with

   each Social Buzzmaker having a minimum of 30,000 followers and be active on at least two

   social media channels, such as Instagram, Twitter, or Facebook. The contract provided that JLI

   would determine or approve the timing of the Buzzmakers’ posts. In addition, JLI engaged Grit

   to “develop influencer engagement efforts to establish a network of creatives to leverage as

   loyalists for Juul/Pax brand activations.”178




   175
       JLI00382271.
   176
       Id.
   177
       See INREJUUL_00091138 (


               ).
   178
      Kenrick Cai, Juul Funded High Schools, Recruited Social Media Influencers To Reach Youth,
    House Panel Charges, Forbes (July 25, 2019),
    https://www.forbes.com/sites/kenrickcai/2019/07/25/juul-high-schools-influencers-reach-
    youth-house-investigation/#57735a4a33e2. See JLI-HOR-00042050.


                                                       51
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          118.    Like its Vaporized campaign,



                       179
                             In keeping with this strategy, JLI targeted influencers that were young

   and popular with adolescents. One influencer JLI targeted was Tavi Gevinson, who was nineteen

   years old in the summer of 2015. The year before, Rolling Stone magazine described Gevinson

   as “possibly the most influential 18-year-old in America.”180

          119.    JLI contracted with Grit to enlist influencers by sending them free JUUL

   e-cigarettes. Grit provided free JUUL products to Luka Sabbat, known as the “the Internet’s

   Coolest Teenager,”181 who was seventeen years old during the summer of 2015.

          120.



                                                   182



          121.    JLI paid these social media influencers to post photos of themselves with JUUL

   devices and to use the hashtags that it was cultivating.183 One such influencer was Christina

   Zayas, whom JLI paid $1,000 for just one blog post and one Instagram post in the fall of 2017.




   179
       INREJUUL_00057293.
   180
       Alex Morris, Tavi Gevinson: A Power Teen’s New Direction, Rolling Stone (Aug. 14, 2014),
     https://www.rollingstone.com/culture/culture-features/tavi-gevinson-a-power-teens-new-
     direction-232286/.
   181
       Alexis Barnett, Who Is Luka Sabbat? Meet the Internet’s Coolest Teenager, Complex (Aug.
     17, 2015), https://www.complex.com/style/luka-sabbat-interview-on-youth-kanye-west-and-
     fashion.
   182
       See INREJUUL_00091141 (
                                                                      ).
   183
       Jackler et al., supra note 46 at 19-21.


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                                                                                         184



          122.    JLI encouraged its distributors, wholesalers, and other resellers—either explicitly

   or implicitly—to hire affiliates and influencers to promote JLI’s brand and JUUL products. Even

   if not paid directly by JLI, these influencers profited from the promotion of JUUL products either

   because they were paid by JUUL resellers, JUUL accessory sellers, or sellers of JUUL-

   compatible products.

          123.    For example, one YouTube user Donnysmokes (Donny Karle, age twenty-one)

   created a JUUL products promotional video in 2017 that garnered roughly 52,000 views, many

   of which were from users under the age of eighteen.185 Since that time, Karle has made a series

   of videos, including videos: How to hide your JUUL from your parents; and How to HIDE &

   HIT Your JUUL at SCHOOL WITHOUT Getting CAUGHT.186 Karle has admitted to earning




   184
       Michael Nedelman et al., #Juul: How social media hyped nicotine for a new generation, CNN
     Health (Dec. 19, 2018), https://www.cnn.com/2018/12/17/health/juul-social-media-
     influencers/index.html.
   185
       Jackler Testimony, supra note 129.
   186
       Id.


                                                   53
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   approximately $1,200 a month from unspecified sources simply from posting videos of himself

   consuming e-cigarettes, especially of JUUL products online.187




          124.    Karle also created a YouTube sensation called the “JUUL Challenge,” which is a

   play on the viral “Ice Bucket Challenge.” In the JUUL Challenge, the goal is to suck down as

   much nicotine as possible within a predetermined amount of time. The JUUL Challenge, which

   promotes nicotine abuse and adolescent use of JUUL products, went viral like the Ice Bucket

   Challenge it mimicked. Soon, youth across the country were posting their own JUUL Challenge

   videos, a practice that continues to this day on YouTube, Instagram, Snapchat and other social

   media platforms. In one recent JUUL Challenge on YouTube, which has received nearly 500,000

   views, the two individuals in the video, who appear to be teenagers, discuss the hundreds of

   thousands of views their prior JUUL Challenge received and comment upon the “virality” of

   their JUUL Challenge content.188


   187
       Allie Conti, This 21-year-old is Making Thousands a Month Vaping on YouTube, VICE (Feb.
     5, 2018), https://www.vice.com/en_us/article/8xvjmk/this-21-year-old-is-making-thousands-a-
     month¬vaping-on-youtube.
   188
       Nate420, JUUL Challenge (Apr. 22, 2018), https://youtu.be/gnM8hqW_2oo (last visited Mar.
     30, 2020).


                                                  54
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            125.   JLI was aware of Karle’s videos and his young followers.
                                189
                                      And                                                it did not attempt to

   remove his JUUL-related content until 2018, and by then JLI’s efforts were too little, too late.
                                                                          190
                                                                                JLI knowingly sought and

   accepted the benefits of viral marketing and user-generated content.



                                              191



            126.   JLI recruited “affiliates” to help its viral marketing campaign.




                                            192
                                                  JLI’s affiliates promoted JUUL products on social media

   platforms including YouTube, Instagram, Facebook, Snapchat, and Twitter and routinely failed

   to disclose that they were being paid to promote JUUL products. JLI’s “affiliate program”

   recruited those who authored favorable reviews of its products by providing such reviewers with

   a 20% discount of purchases of JUUL products.193 It even recruited JUUL users to act as part of

   their marketing team by asking users to “refer a friend and get a discount.”194




   189
         INREJUUL_00199348
   190
       INREJUUL_00349541.
   191
       Karle000009                                                    .
   192
       INREJUUL_00113437-441.
   193
       Jackler Testimony, supra note 129 at 9-10.
   194
       Id. at 9.


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          127.    Between 2015 and 2017, JUUL-related posts on Twitter increased quadratically,

   which is the exact result to be expected from an effective viral marketing campaign.195 JLI’s

   growth on Instagram was likely even more rapid.

          128.    A 2018 study of JLI’s sales and presence on social media platforms found that JLI

   grew nearly 700%, yet spent “no recorded money” in the first half of 2017 on major advertising

   channels, and spent only $20,000 on business-to-business advertising.196 Despite JLI’s

   apparently minimal advertising spend in 2017, the study found a significant increase in JUUL-

   related tweets in 2017.197

          129.    On Instagram, the study found seven JUUL-related accounts, including

   @doit4juul and @JUULgirls, which accounted for 4,230 total JUUL-related posts and had more

   than 270,000 followers.198

          130.    The lead author of the study concluded that JLI was “taking advantage” of the

   reach and accessibility of multiple social media platforms to “target the youth and young

   adults . . . because there are no restrictions” on social media advertising. 199

          131.    A large number of JLI’s social media posts reached youth. The Surgeon General

   found that JLI’s Twitter account was being followed by adolescents, and that 25% of those re-


   195
       See Brittany Emelle et al., Mobile Marketing of Electronic Cigarettes in the U.S., Truth
     Initiative (May 22, 2017), https://www.slideshare.net/YTHorg/mobile-marketing-of-electronic-
     cigarettes.
   196
       Jidong Huang et al., Vaping versus JUULing: how the extraordinary growth and marketing of
     JUUL transformed the US retail e-cigarette market, 28 Tobacco Control 146-52 (May 31,
     2018), https://tobaccocontrol.bmj.com/content/tobaccocontrol/28/2/146.full.pdf.
   197
        Id.
   198
        Id.
   199
        Laura Kelley, JUUL Sales Among Young People Fueled by Social Media, Says Study, Wash.
     Times (June 4, 2018), https://www.washingtontimes.com/news/2018/jun/4/juul-sales-among-
     young-people-fueled-by-social-med/.


                                                     56
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   tweeting official JLI tweets were under eighteen years old.200 Another study found that as many

   as half of JLI’s Twitter followers were thirteen to seventeen years old.201

          132.    A study characterizing JLI’s JUUL-related Instagram posts between March and

   May 2018 found that among nearly 15,000 relevant posts from over 5,000 unique Instagram

   accounts, more than half were related to youth or youth lifestyle.202

          133.    By April 2018, searching “JUUL” on YouTube yielded 137,000 videos with

   forty-three videos having over 100,000 views.203 Of these, a huge number were plainly related to

   underage use, including: 1,730 videos on “hiding JUUL in school,” 789 on “JUUL in school

   bathroom,” 992 on “hiding JUUL at home,” and 241 on “hiding JUUL in Sharpie.”204

          134.    In 2018, JLI was internally collecting hundreds of social media posts—directed at

   JLI—informing it of JUUL’s wild popularity with young people and in many cases requesting

   that JLI do something to stop it.205

          135.    But even after JLI halted its own social media posts in November 2018, viral

   peer-to-peer promotion among teens insured continued corporate and product visibility among



   200
       Adams, supra note 2.
   201
       Steven Reinberg, Study: Half of Juul's Twitter followers are teens, young adults, United Press
     Int’l (May 20, 2019), https://www.upi.com/Health_News/2019/05/20/Study-Half-of-Juuls-
     Twitter-followers-are-teens-young-adults/1981558384957/.
   202
       Lauren Czaplicki et al., Characterizing JUUL-related posts on Instagram, Tobacco Control
     054824 (Aug. 1, 2019),
     https://tobaccocontrol.bmj.com/content/early/2019/07/30/tobaccocontrol-2018-054824.
   203
       Divya Ramamurthi et al., JUUL and Other Stealth Vaporizers: Hiding the Habit from Parents
     and Teachers, 28 Tobacco Control 610-16 (Sept. 15, 2018),
     https://tobaccocontrol.bmj.com/content/tobaccocontrol/28/6/610.full.pdf.
   204
       Id.
   205
       Complaint for Permanent Injunction, Abatement, Civil Penalties, and Other Equitable Relief,
     People v. JUUL Labs, Inc. (“CA AG JUUL Complaint”), No. RG19043543 (Super. Ct. of Cal.
     Nov. 18, 2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.


                                                   57
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   youth.206 In fact, community posts about JUUL products increased after JLI itself quit social

   media in the fall of 2018. Prior to November 2018, over a quarter of a million posts appeared. In

   the eight months after JLI halted its promotional postings, the rate of community postings

   increased significantly, resulting in the number of posts doubling to over half a million.207

          136.    If JLI was concerned that other social media accounts were using its trademark in

   posts directed to underage audiences, JLI could have stepped in and attempted to stop the use of

   the word “JUUL,” including the use of all the hashtags that contain the word “JUUL.” JLI could

   have sought to shut down infringing accounts such as @doit4juul and @JUULgirls. JLI did not

   act promptly to do so. Instead, JLI repeatedly thanked and encouraged the owner of the

   @JUULnation Instagram account for his posting of youth-oriented JUUL content on Instagram.

          C.    JLI and Its Officers and Directors Knew JLI’s Aggressively Youth-Oriented
          Advertising Was Hooking Kids But Continued It Anyway

          137.    JLI was well aware from the beginning that its products would appeal to youth.



                                                                                            208




          138.    But JLI’s officers and directors at this point were taking actions that went beyond

   the regular and legitimate business operations of JLI in order to market JUUL products to youth.



   206
       Id.
   207
       Id.
   208
       INREJUUL_00056077 [Confidential].


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   At the same time




                                   209



           139.   Within weeks of JUUL’s launch, on June 23, 2015, an article in AdAge regarding

   the Vaporized campaign highlighted the concerns about the youth focus of the campaign: “John

   Schachter, director of state communications for Campaign for Tobacco-Free Kids, expressed

   concern about the Juul campaign because of the youth of the men and women depicted in the

   campaign, especially when adjoined with the design.”210 Reacting to the article that evening, JLI

   Marketing Manager Sarah Richardson commented,
                                                                                         211



           140.   A former JLI manager, who spoke to The New York Times on the condition that

   his name not be used, said that within months of JUUL’s 2015 introduction, it became evident

   that teenagers were either buying JUUL products online or finding other individuals who made

   the purchases for them. Some people bought more JUUL kits on JLI’s website than they could

   individually use—sometimes ten or more devices at a time. “First, they just knew it was being

   bought for resale,” said the former senior manager, who was briefed on JLI’s business strategy.

   “Then, when they saw the social media, in fall and winter of 2015, they suspected it was

   teens.”212



   209
       Id.
   210
       Harty, supra note 150.
   211
       INREJUUL00278533 (emphasis added).
   212
       Richtel & Kaplan, supra note 137.


                                                  59
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           141.




                                         213



           142.




                                                                214
                                                                      But JLI did not run this campaign

   then and in fact did not begin focusing its advertising on switching from combustible cigarettes

   until 2018. 215

           143.      JLI’s officers and directors, and in particular Huh, wanted to continue their

   fraudulent marketing, knowing that these ads were also targeted to youth, “argu[ing] that the

   company couldn’t be blamed for youth nicotine addiction.”216

           144.      JLI’s officers and directors had the authority to direct the marketing to JLI and

   approved JLI’s youth marketing strategy despite their knowledge that the marketing campaigns

   appealed to youth.

           145.      In October 2015, Monsees stepped down from his role as CEO of JLI (to become

   Chief Product Officer) and, in his stead, Pritzker, Huh, and Valani formed an Executive

   Committee of the JLI Board of Directors that would take charge of fraudulently marketing JUUL



   213
       INREJUUL_00339938 (emphasis added).
   214
       JLI00214617.
   215
       Jackler, supra note 129.
   216
       Kirkham, supra note 53.


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   products, including to youth. Prior to the installation of Tyler Goldman as JLI’s new CEO in

   August 2016, Pritzker, Huh, and Valani used their newly formed Executive Committee to expand

   the number of addicted e-cigarette users through fraudulent advertising and representations to the

   public. They cleaned house at JLI by “dismiss[ing] other senior leaders and effectively tak[ing]

   over the company.”217
                                                                          218
          146.
                                                                219
                                                                      Also,




                                                                                220
                                                                                      Additionally,



              221




          147.      Similarly,




   217
       Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. Times
     (Nov. 24, 2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.
   218
       See INREJUUL_00278406 et seq. (              ); INREJUUL_00278410 et seq. (
           ).
   219
       See INREJUUL_00278404 et seq. (                ); INREJUUL_00278402 et seq. (
           ).
   220
       INREJUUL_00278405 (                 ).
   221
       Id.


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                                                         222



          148.
                                             223



          149.   By March 2016, however, JLI employees internally recognized that JLI’s efforts

   to market to children were too obvious.



                               224




          225


                                                                                    226




                        227




                                                   228
                                                         Around this time, JLI reoriented its JUUL

   products advertising from the explicitly youth-oriented Vaporized campaign to a more subtle

   approach to appeal to youth. The advertising’s key themes continued to include


   222
       INREJUUL_00061856.
   223
       INREJUUL_00278359.
   224
       INREJUUL_00178377.
   225
       INREJUUL_00061469.
   226
       INREJUUL_00178379.
   227
       INREJUUL_00178384.
   228
       INREJUUL_00061274.


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   pleasure/relaxation, socialization/romance, and flavors229—all of which still appeal to youth, as

   was made clear in the Big Tobacco litigation.

          150.    It is clear that JLI, like Philip Morris and other Big Tobacco companies before it,

   targeted youth as a key business demographic. Unsurprisingly, JLI’s efforts to follow these pages

   of Big Tobacco’s playbook has yielded results: a recent study found that 15 to 17-year-olds are

   sixteen times more likely to use JUUL products than 25 to 34-year-olds.230

          D.     JLI’s Early Labeling and Advertising for JUUL Products Omitted the Fact
          that JUUL Products Contain Nicotine.

          151.    As part of its strategy to market to youth and nonsmokers, JLI also did not

   effectively inform users that JUUL products contain nicotine. Despite making numerous

   revisions to JUUL products’ packaging since 2015, JLI did not add nicotine warnings until

   forced to do so in August 2018. The original JUUL product labels had a California Proposition

   65 warning indicating that the product contains a substance known to cause cancer, and a

   warning to keep JUULpods away from children and pets, but contained no warnings specifically

   about the known effects, or unknown long-term effects, of nicotine or consuming

   e-cigarettes/inhaling nicotine salts.

          152.    Moreover, many of JUUL’s advertisements, particularly prior to November 2017,

   also did not mention that JUUL contained nicotine. In the first year after its launch, not one of

   JLI’s 171 promotional emails said anything about the nicotine content in JUUL products.231 For



   229
       Jackler et al., supra note 46 at 9.
   230
       D.M. Vallone et al., Prevalence and correlates of Juul use among a national sample of youth
     and young adults, 28 Tobacco Control 603-09 (Oct. 29, 2018),
     http://dx.doi.org/10.1136/tobaccocontrol-2018-054693.
   231
       Jackler et al., supra note 46 at 25.


                                                   63
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   example, in a July 11, 2015 email, JLI advertised its promotional events with the text, “Music,

   Art, & JUUL. What could be better? Stop by and be gifted a free starter kit.”232 This email did

   not mention that JUULpods contain nicotine, nor did it say that JUUL or the free starter kits were

   only for adults.

           153.    Compounding these omissions, JLI’s marketing strategy for JUUL products was

   so successful in embedding its products into pop culture that it entered the vernacular as a verb.

   The term “juuling” also erases the connection to terms like “smoking” or “e-cigarette,” which

   could alert users to the true nature of the activity.

           154.    As a result of these omissions, many youth were unaware that JUUL products

   contained nicotine at all, let alone a high dose of it. One recent survey of youth and young adults

   ages fifteen to twenty-four found that 63% of JUUL users did not know that JUULpods always

   contain nicotine.233

           E.   In Another Page from Big Tobacco’s Playbook, JLI Used Flavors to Hook
           Kids

           155.    JUULpods sold in fruity or sweet flavors made the product even more attractive

   to adolescents. Tobacco companies have known for decades that flavored products are key to

   nicotine adoption by youth. A 1972 Brown & Williamson memorandum: Youth Cigarette – New

   Concepts, specifically noted the “well known fact that teenagers like sweet products.”234 A 1979

   Lorillard memorandum concluded that younger customers would be “attracted to products with


   232
       Check out our JUUL events this Summer, JUUL (hello@juulvapor.com) (July 11, 2015),
     http://tobacco.stanford.edu/tobacco_web/images/pod/juul/email/large/email_2.jpg.
   233
       Willett, supra note 66.
   234
       Marketing Innovations, Inc., Brown & Williamson Tobacco Corp. Project Report: Youth
     Cigarette—New Concepts, U.C.S.F. Truth Tobacco Indus. Documents (Sept. 1972),
     https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=hzpd0040.


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   ‘less tobacco taste,” and even proposed borrowing data from the “Life Savers” candy company

   to determine which flavors enjoyed the widest appeal among youth.235

          156.    Altria’s subsidiary U.S. Smokeless Tobacco Company (formerly called United

   States Tobacco Company) described the initiation of new customers through flavored products as

   “the graduation theory”:

          New users of smokeless tobacco—attracted to the product for a variety of
          reasons—are most likely to begin with products that are milder tasting, more
          flavored, and/or easier to control in the mouth. After a period of time, there is a
          natural progression of product switching to brands that are more full-bodied, less
          flavored, have more concentrated ‘tobacco taste’ than the entry brand.”236

          157.    A sales manager who worked at U.S. Tobacco in the 1980s told the Wall Street

   Journal that “They talked about graduation all the time—in sales meetings, memos and manuals

   for the college program. It was a mantra.237

          158.    According to 2004 data, seventeen-year-old smokers were more than three times

   as likely as those over the age of twenty-five to smoke flavored cigarettes and viewed flavored

   cigarettes as safer.238 For this reason, in 2009 the FDA banned flavored cigarettes pursuant to its

   new authority under the Family Smoking Prevention and Tobacco Control Act of 2009. In

   announcing the ban, former FDA Commissioner Dr. Margaret Hamburg declared that “flavored


   235
       Flavored Tobacco FAQs, Students Working Against Tobacco,
     http://swatflorida.com/uploads/fightresource/Flavored%20Tobacco%20Industry%20Quotes%2
     0and%20Facts.pdf (citing Sedgefield Idea Sessions 790606-790607 (June 8, 1979), Bates No.
     81513681/3691) (last visited Mar. 27. 2020).
   236
       G.N. Connolly, The marketing of nicotine addiction by one oral snuff manufacturer, 4
     Tobacco Control 73-79 (1995),
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1759392/pdf/v004p00073.pdf.
   237
       Alix Freedman, Juiced Up: How a Tobacco Giant Doctors Snuff Brands to Boost Their
     ‘Kick,’ Wall St. J. (Oct. 26, 1994).
   238
       Gardiner Harris, Flavors Banned From Cigarettes to Deter Youth, N.Y. Times (Sept. 22,
     2009), https://www.nytimes.com/2009/09/23/health/policy/23fda.html.


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   cigarettes are a gateway for many children and young adults to become regular smokers.”239 A

   2017 study of the cigarette flavor ban found that the ban was effective in lowering both the

   number of smokers and the amount smoked by smokers, though it was associated with an

   increased use of menthol cigarettes (the only flavor still available).240

          159.    The use of flavors is just as problematic with e-cigarettes. According to the

   Surgeon General, 85% of adolescents who use e-cigarettes use flavored varieties. 241 Studies also

   show that flavors motivate e-cigarette initiation among youth,242 and that youth are much more

   likely to use flavored tobacco products than adults are.243 Flavored e-cigarettes play a large role

   in the youth vaping epidemic. As mentioned above, flavors motivate e-cigarette initiation among

   youth and youth are much more likely to use flavored tobacco products than adults.244 According

   to the FDA, 96% of twelve to seventeen-year-olds who recently begun using e-cigarettes




   239
       Id.
   240
       Charles J. Courtemanche et al., Influence of the Flavored Cigarette Ban on Adolescent
     Tobacco Use, Am. J. of Preventive Med. 52(5):e139 - e146 (May 2017),
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5401634/pdf/nihms842675.pdf; M.B. Harrell
     et al., Flavored e-cigarette use: Characterizing youth, young adult, and adult users, 5 Prev.
     Med Rep. 33–40 (Nov. 11, 2016),
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5121224/pdf/main.pdf.
   241
       E-Cigarette Use Among Youth and Young Adults, U.S. Dep’t of Health & Human Servs.
     (2016), https://www.ctclearinghouse.org/Customer-Content/www/topics/2444-E-Cigarette-
     Use-Among-Youth-And-Young-Adults.pdf (last visited Mar. 27, 2020).
   242
       Karl Paul, Flavored Vapes Lure Teens Into Smoking and Nicotine Addiction, Study Shows,
     MarketWatch (Feb. 26, 2019), https://www.marketwatch.com/story/flavored-vapes-lure-teens-
     into-smoking-and-nicotine-addiction-study-shows-2019-02-25.
   243
       A.C. Villanti et al., Flavored Tobacco Product Use in Youth and Adults: Findings From the
     First Wave of the PATH Study, 53 Am. J. of Preventative Med. 139 (2017),
     https://www.ncbi.nlm.nih.gov/pubmed/28318902.
   244
       See E-Cigarette Use Among Youth and Young Adults, supra note 241; Paul, supra note 242;
     Villanti, supra note 243.


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   reported using a flavored e-cigarette the first time they tried the product.245 Flavors work to

   attract youth. A survey of teenagers between the ages of thirteen to seventeen from 2014-2015

   showed that this age group was six times more interested in trying e-cigarettes in fruity flavors

   than they were in trying e-cigarettes with only tobacco flavor.246

          160.    Research confirms that flavored products—no matter what the tobacco product—

   appeal to youth and young adults. According to the 2012 Surgeon General Report, “Much of the

   growing popularity of small cigars and smokeless tobacco is among younger adult consumers

   (aged <30 years) and appears to be linked to the marketing of flavored tobacco products that, like

   cigarettes, might be expected to be attractive to youth.”247 A study published in JAMA in 2015

   found that approximately 80% of those between the ages of twelve and seventeen who had ever

   used a tobacco product initiated tobacco use with a flavored product, and that for each tobacco

   product, at least two-thirds of youth reported using these products “because they come in flavors

   I like.”248 Research also shows that when youth see advertisements for flavored e-cigarettes, they




   245
       Modifications to Compliance Policy for Certain Deemed Tobacco Products, FDA (Mar.
     2019), https://www.fda.gov/media/121384/download.
   246
       J.K. Pepper et al., Adolescents’ interest in trying flavored e-cigarettes, 25 Tobacco Control
     ii62 (Sept. 15, 2016), https://tobaccocontrol.bmj.com/content/25/Suppl_2/ii62.
   247
       Preventing Tobacco Use Among Youth and Adults, A Report of the Surgeon General (“2012
     Surgeon General Report”) at 539, U.S. Dep’t Health & Human Servs. (2012),
     https://www.ncbi.nlm.nih.gov/books/NBK99237/pdf/Bookshelf_NBK99237.pdf.
   248
       Bridget K. Ambrose et al., Flavored Tobacco Product Use Among US Youth Aged 12-17
     Years, 2013-2014, 314 JAMA 1871 at 1872, 1873 (2015),
     https://jamanetwork.com/journals/jama/fullarticle/2464690.


                                                    67
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   believe the advertisements and products are intended for them.249 A significant majority of

   under-age users choose flavored e-cigarette products.250

          161.    Both mint and menthol flavors have been successfully used to make tobacco

   products more palatable to youth. Among youth smokeless tobacco users, for example, mint and

   menthol are the most popular flavors.251 And a recent study found that among high school JUUL

   users, mint is the most popular flavor.252

          162.    The role of mint and menthol flavors in facilitating youth tobacco use is well

   documented, as Dr. Jonathan Winickoff, a professor of pediatrics at Harvard Medical School and

   the Director of Pediatric Research in the Tobacco Research and Treatment Center, testified

   before Congress:

          [It is] completely false to suggest that mint is not an attractive flavor to children.
          From candy canes to toothpaste, children are introduced to mint flavor from a
          young age. Not only do children enjoy mint, but it has special properties that
          make it an especially dangerous flavor for tobacco. Menthol’s anesthetic
          properties cool the throat, mask the harshness of nicotine, and make it easier for




   249
       D.C. Petrescu et al., What is the Impact of E-Cigarette Adverts on Children’s Perceptions of
     Tobacco Smoking? An Experimental Study, 26 Tobacco Control 421 (2016); Julia C. Chen-
     Sankey et al., Perceived Ease of Flavored E-Cigarette Use and E-Cigarette Use Progression
     Among Youth Never Tobacco Users, 14 PLOS ONE 1 (2019),
     https://journals.plos.org/plosone/article?id=10.1371/journal.pone.0212353.
   250
       Karen A. Cullen et al., E-cigarette Use Among Youth in the United States, 2019, 322 JAMA,
     2095 (2019), https://tinyurl.com/y3g75gmg (“Among current exclusive e-cigarette users, an
     estimated 72.2% . . . of high school students and 59.2% . . . of middle school students used
     flavored e-cigarettes[.].”).
   251
       Shyanika W. Rose et al., Flavour types used by youth and adult tobacco users in wave 2 of
     the Population Assessment of Tobacco and Health (PATH) Study 2014–2015, Tobacco Control
     (Sept. 21, 2019).
   252
       Adam M. Leventhal et al., Flavors of e-Cigarettes Used by Youths in the United States, 322
     JAMA 2132-34 (2019).


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          children to start using and continue using tobacco products. The impact of mint
          and menthol flavors on increasing youth tobacco addiction is well documented.253

          163.    Robin Koval, CEO and president of Truth Initiative, echoed Dr. Winickoff’s

   testimony, stating that mint and menthol are among the most popular flavors for youth and that

   “[w]e also know, as does the tobacco industry, that menthol has been and continues to be the

   starter flavor of choice for young cigarette users.”254 According to the FDA, “younger

   populations have the highest rate of smoking menthol cigarettes” and “menthol in cigarettes is

   likely associated with increased initiation and progression to regular [] cigarette smoking.”255

   Menthol cigarettes are also more addictive than regular cigarettes.256

          164.    In June 2015, JUUL came to market in four flavors including Tabaac (later

   renamed Tobacco), Fruut (later renamed Fruit Medley), Bruulé (later renamed Crème Brulee),

   and Miint (later renamed Mint).




   253
       Jonathan Winickoff, Testimony of Jonathan Winickoff before the U.S. House of
     Representatives Committee on Oversight and Reform Subcommittee on Economic and
     Consumer Policy (“Winickoff Testimony”) at 3, U.S. House Committee on Oversight &
     Reform (July 24, 2019),
     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019.07.24%20Winickoff
     %20AAP%20Testimony.pdf.
   254
       Id.
   255
       Preliminary Scientific Evaluation of the Possible Public Health Effects of Menthol Versus
     Nonmenthol Cigarettes at 5, FDA, https://www.fda.gov/media/86497/download (last visited
     Mar. 28, 2020).
   256
       Id. at 6.


                                                   69
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             165.   JUUL later offered other kid-friendly flavors, including Cool Cucumber and

   Mango.




             166.   JUUL also offered limited edition flavors, including Coco Miint, a mint chocolate

   flavor.


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            167.
                          257
                                Instead of taking corrective action or withdrawing the kid-friendly

   flavors, JLI capitalized on their popularity with kids and continued to promote JUUL’s flavors.

   In a social media post from August 2017, for example, JLI tweeted “Beat The August Heat with

   Cool Mint” and “Crisp peppermint flavor with a pleasant aftertaste.”258 In another August 2017

   tweet, JLI compared JUUL to dessert: “Do you brulée? RT [re-tweet] if you enjoy dessert

   without the spoon with our Creme Brulee #JUULpods.” 259




   257
         See INREJLI_00265068 (



              ).
   258
       JUUL Labs, Inc. (@JUULvapor), Twitter (Aug. 4, 2017),
     http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_39.jpg.
   259
       Chaykowski, supra note 152.


                                                     71
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          168.    The flavors pose dangers beyond luring young people into trying nicotine. Studies

   now show these sweet and fruity flavors present distinct additional health hazards. Researchers

   have found that some of the chemicals JLI uses for flavor and perfume—particularly in the

   Crème Brulee flavor—contain relatively high levels of acetals.260 Acetals are airway-irritating

   chemicals that may cause lung damage.261 Dr. Robert Jackler reported that test results have

   shown that JLI’s sweet and fruity flavors “contribute[] to the increasing body of evidence

   documenting toxicological effects of e-cig vapor.”262

          169.    JLI also engaged market research consultants to study youth flavor preferences,

   and this research provided additional confirmation that JLI’s flavors appealed to youth.


   260
       Susie Neilson, Irritating Compounds Can Show Up in ‘Vape Juice’, NPR (July 30, 2019),
     https://www.npr.org/sections/health-shots/2019/07/30/746238009/irritating-compounds-
     discovered-in-vape-juice.
   261
       Id.
   262
       Id.


                                                  72
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                                                         263



         170.    Under the
                                                        264




                                                                       265




           266



         171.



                                 267                            268



         172.



                                                                 269




   263
       INREJUUL_00053206.
   264
       INREJUUL_00121627 (             ); INREJUUL_00124965 (   ).
   265
       Id.
   266
       INREJUUL_00035325.
   267
       INREJUUL_00124965.
   268
       Id.
   269
       INREJUUL_00035325.


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          173.



          174.    A 2018 survey of adolescents and young adults in California found that 74% of

   those surveyed indicated that their first use of a JUUL was of a flavored JUULpod.270

          175.    In January 2020, the FDA banned flavored e-cigarette pods, other than “Tobacco”

   and “Menthol” flavors, in response to “epidemic levels of youth use of e-cigarettes” because

   these products are “so appealing” to children.”271 But the damage to Plaintiff and Plaintiff’s

   community had already been done, and as discussed below, copycat companies exploited

   loopholes in the ban to continue supplying flavored nicotine products to youth.

          F.    JLI also used JUUL’s Discreet and Tech-Inspired Design to Attract a New
          Generation of Youth to Nicotine

          176.    The design of JUUL is also acutely attractive to youth. Unlike most of its

   predecessors, JUUL looks nothing like a cigarette. Instead of mimicking a cigarette, the product

   that adult smokers are used to using, JUUL is sleek and linear and seems like the latest tech

   invention. JLI co-founder Bowen drew on his experience as a design engineer at Apple Inc.

   (“Apple”) to make JUUL’s design mimic technology children were already familiar with, like

   Apple’s iPhone.272 This made JUUL look “more like a cool gadget and less like a drug delivery



   270
       Karma McKelvey et al., Adolescents and Young Adults Use in Perceptions of Pod-based
     Electronic Cigarettes, 1 JAMA Network Open e183535 (2018), https://
     doi:10.1001/jamanetworkopen.2018.3535.
   271
       FDA News Release: FDA finalizes enforcement policy on unauthorized flavored cartridge-
     based e-cigarettes that appeal to children, including fruit and mint, FDA (Jan. 2, 2020),
     https://www.fda.gov/news-events/press-announcements/fda-finalizes-enforcement-policy-
     unauthorized-flavored-cartridge-based-e-cigarettes-appeal-children.
   272
       How JUUL made nicotine go viral, Vox – By Design (Aug. 10, 2018),
     https://www.youtube.com/watch?v=AFOpoKBUyok.


                                                   74
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   device. This wasn’t smoking or vaping, this was juuling.”273 The evocation of technology makes

   JUUL familiar and desirable to the younger tech-savvy generation, particularly teenagers.

   According to a nineteen-year-old interviewed for the Vox series By Design, “our grandmas have

   iPhones now, normal kids have JUULs now. Because it looks so modern, we kind of trust

   modern stuff a little bit more so we’re like, we can use it, we’re not going to have any trouble

   with it because you can trust it.”274 A sixteen-year-old agreed, explaining that “the tech aspect

   definitely helps people get introduced to it and then once they’re introduced to it, they’re staying,

   because they are conditioned to like all these different products. And then this is another product.

   And it’s just another product. Until you’re addicted to nicotine.”275

           177.    JUUL is small and discrete. Fully assembled, the device is just over 9.5 cm in

   length and 1.5 cm wide. JUUL resembles a memory stick and can be charged in a computer’s

   USB drive. This design allows the device to be concealed in plain sight, camouflaged as a

   thumb-drive, for use in public spaces, like schools and even charged in school computers. JLI

   has been so successful in emulating technology that its small, rectangular devices are often

   mistaken for—or passed off as—flash drives. According to one high school senior, “that’s what

   people tell the teachers a lot, too, if you charge it in class, they’ll just say it’s my flash drive.”276

   And unlike the distinct smell and odor emitted from combustible cigarettes, JUUL emits a

   reduced aerosol with a nearly undetectable scent. Unlike other e-cigarettes, JUUL does not

   produce large plumes of smoke. Instead, the vapor cloud is very small and dissipates very


   273
       Id.
   274
       Id.
   275
       Id.
   276
       Juuling at School, KOMO News (2019),
     https://komonews.com/news/healthworks/dangerous-teen-trend-juuling-at-school.


                                                      75
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   quickly, allowing for concealed use. As a result, young users can, and do, use JUUL—in class or

   at home—without detection.




          178.    The ability to conceal a JUUL is part of the appeal for adolescents. The devices

   are small and slim, so they fit easily in a closed hand or a pocket. The ease and simplicity of

   use—there is nothing to light or unwrap, not even an on-off switch—also make it possible to

   covertly use a JUUL behind a turned back, which has become a trend in many schools. As a

   police officer told reporters, JUUL use is “incredibly prevalent in schools,” including both high

   schools and middle schools, and that it is hard to catch kids in the act of vaping because JUUL

   does not produce a big vapor cloud. As the officer explained, students will “just take a little hit or


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   puff off them and then can hold the vapor in their mouth for a little while . . . There’s minimal

   vapor. They’ll also just blow into their sleeve or into their hoodie.”277 Finding new ways to hide

   the ever-concealable JUUL has spawned products designed just for that purpose, such as apparel

   that allows the wearer to use the device while it is concealed in the drawstring of a hoodie or the

   strap of a backpack. 278

          179.    JLI also designed JUUL with features reminiscent of youth-oriented tech culture

   and gaming, like “secret” features users can unlock, such as making the indicator light flash

   rainbow colors in “party mode.” “Party mode” is activated by the user waving the JUUL device

   back and forth until the white LED light starts flashing multiple colors, so that the rainbow

   colors are visible while the person inhales from the JUUL device. “Party mode” can also be

   permanently activated by the user quickly and firmly slapping a JUUL against the palm of the

   hand, until the LED light starts flashing multiple colors permanently. JUUL party mode is

   described by users to be “like an Easter egg in a video game” and allows for “some cool tricks

   that are going to drive [] friends crazy.” 279 This feature made it even more appealing and “cool”

   to young users.




   277
       Id.
   278
       Evie Blad, ‘Juuling’ and Teenagers: 3 Things Principals and Teachers Need to Know, Educ.
     Wk. (July 18, 2018), https://www.edweek.org/ew/articles/2018/07/18/juuling-and-teenagers-3-
     things-principals-and.html.
   279
       Jon Hos, Getting Your Juul Into Party Mode, Vape Drive (July 12, 2018),
     https://vapedrive.com/getting-your-juul-into-party-mode.


                                                   77
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          180.    According to Dr. David Kessler, a former Commissioner of the FDA and current

   Professor of pediatrics at the University of California, San Francisco, JUUL’s “fundamental

   design appears to ease young people into using these e-cigarettes and ultimately, addiction.”280

   Dr. Kessler emphasized the reduced harshness of JUUL’s nicotine salt formulation, the high

   nicotine content, discreet vapor cloud, and use of flavors as design features that appeal to

   youth.281 On April 24, 2018, the FDA sent JLI a letter, based on the FDA’s concern “about the

   popularity of JUUL products among youth” and stated that this popularity may be related to “the

   product design.”282 As a result, the FDA requested documents related to product design,

   including its “shape or form,” “nicotine salt formulation” and “nicotine concentration/content,”




   280
       Kessler, supra note 59.
   281
       Id.
   282
       Letter from Matthew R. Holman, Director of the Office of Science at the Center for Tobacco
     Products, to Ziad Rouag, Vice President of Regulatory & Clinical Affairs, JUUL Labs, Inc.
     (Apr. 24, 2018), https://www.fda.gov/media/112339/download.


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   “flavors,” and “features such as: appearance, or lack thereof, or plume . . . [and] USB port

   rechargeability.”

          G.   Eonsmoke, Riding on JLI’s Coattails, Promoted JUUL and Its Own “JUUL-
          Compatible” Products

          181.    Defendant Eonsmoke took notice of JLI’s successful marketing to youth and saw

   it as an opportunity to profit, directly using the JUUL name to reach JLI’s young customers.

          182.    Eonsmoke designs, markets, and distributes e-cigarettes and accessories.

   Eonsmoke makes its own electronic vaping device that resembles JUUL. Eonsmoke also makes

   both closed-system pods, like those sold by JLI, and open-system pods that can be filled by the

   user. Both Eonsmoke’s device and its pods are advertised as JUUL-compatible, meaning that

   users can use Eonsmoke’s device to vape JUULpods and they can also use a JUUL to vape

   Eonsmoke’s pods.283




   283
      Eonsmoke Vapes, Tumblr (June 4, 2018),
    https://eonsmoke.tumblr.com/post/174567212961/mango-pods-6-tastes-like-a-sweet-and-crisp
    (showing Eonsmoke mango pods compatible with JUUL, captioned by Eonsmoke as “Mango
    Pods 6%. Tastes like a sweet and crisp Mango! Follow @Eonsmoke); Eonsmoke Vapes,
    Tumblr (June 18th, 2018), https://eonsmoke.tumblr.com/post/175012943246/blueberry-6-
    restocked-on-the-sites-grab-yours (showing Eonsmoke blueberry pods compatible with JUUL;
    captioned by Eonsmoke as “Blueberry 6% restocked on the sites! Grab yours today while
    supplies last! Follow @Eonsmoke”).


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             183.   Below is an image of the Eonsmoke device:284




             184.   Eonsmoke’s devices, like JUUL, are designed to resemble flash drives. Eonsmoke

   explicitly capitalized on this confusing design by advertising that users of its products could lie

   to their parents and pretend the product was a flash drive. In the post pictured below, posted on

   Eonsmoke’s Instagram page, the company shared a photograph of its device with the caption




   284
         Post by Instagram user “eonsmoke” on August 11, 2018.


                                                    80
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   “Mom! It’s a USB drive!! #eonsmoke.”285 On this post, one user comments “I told my dad that

   about my old juul and he actually fell for it lol.”286




           185.    Although the official “eonsmoke” Instagram account is now deleted, on Tumblr,

   another social media platform, an account called “Eonsmoke Vapes” contains links and images

   of Instagram posts that appear to have been originally posted by Eonsmoke. Each linked

   Instagram post is now-deleted. This Tumblr user holds itself out as Eonsmoke’s official page. 287

   These posts show Eonsmoke frequently used, as a marketing tool, the tendency to confuse its

   product with a flash drive:288


   285
       Post by Instagram user “eonsmoke” on January 15, 2018.
   286
       Id.
   287
       The “Eonsmoke Vapes” Tumblr page uses Eonsmoke’s logo and the page’s bio says “Buy
     Eonsmoke e juices at an incredibly [sic] price. Also check out our Juul compatible e-cig pods in
     six flavors available now! Visit https://www.enosmoke.com”. Eonsmoke Vapes, Tumblr,
     https://eonsmoke.tumblr.com/ (last visited Mar. 29, 2020).
   288
       Eonsmoke Vapes, Tumblr (June 26, 2018),
     https://eonsmoke.tumblr.com/post/175286181941/2018-we-smoking-purple-flash-drives-
     eonsmoke (showing purple vape; captioned by Eonsmoke as “‘2018 we smoking purple flash


                                                     81
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          186.   The resemblance between a vaping device and a flash drive would be meaningless

   if one was selling a smoking cessation device to chain smokers. But Eonsmoke was seeking to

   tap into the youth social media network JLI created by marketing to users of JUUL. Eonsmoke

   advertised its product as JUUL-compatible and used hashtags to connect itself to JUUL,

   including “#juulcompatible,” “#juulgang,” “#juul,” “#doit4juul,” and “#juulnation,” among

   others.289 Similarly, in a post on the “Eonsmoke Vapes” Tumblr, Eonsmoke’s device and




     drives’- @eonsmoke”); Eonsmoke Vapes, Tumblr (Apr. 16, 2018),
     https://eonsmoke.tumblr.com/post/172997769276/red-devices-now-restocked-and-available-on
     (showing red vape next to soda can with text “Smoke flashdrives all 2018”; captioned by
     Eonsmoke as “Red devices now restocked and available on Eonsmoke.com! Vape Eon!
     @eonsmoke”).
   289
       Eonsmoke has been so aggressive in copying JUUL and targeting JUUL users that JLI sued
     Eonsmoke for patent infringement. See Verified Complaint, JUUL Labs, Inc. v. Eonsmoke et
     al., No. 19- 08405 (D.N.J. Mar. 12, 2019).


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   blueberry pods are marketed as “sexy” and tagged with “#juul,” “#juulgang,” “#juulnation,” and

   “#doit4juul,” among other tags. Eonsmoke also told users to “[f]ollow” them for sales and

   giveaways as in the post shown here from 2018, even though the FDA made it clear in October

   2017 that e-cigarette products are included in its ban on free samples of tobacco products:290




   290
      Eonsmoke Vapes, Tumblr (Feb. 13, 2018),
    https://eonsmoke.tumblr.com/post/170841792591/so-sexy-what-do-you-guys-think-follow
    (showing red vape and Eonsmoke blueberry pods, captioned by Eonsmoke “So sexy! What do
    you guys think? Follow @eonsmoke for sales and giveaways! #juul #juulgang #juulnation
    #juulcentral #doit4juul #doit4state #kangertech #kanger #aspirebreeze #aspirebreezekit #xfire
    #xfirevape #bovaping #bovape #bovapingus #smokeshop #vapeshop #vapor #vaporshop
    #smoktech #sourin #sourinair #sourindrop #bouldervape #mrsalte”); see also Eonsmoke
    Vapes, Tumblr (Feb. 10, 2018), https://eonsmoke.tumblr.com/post/170724357236/we-are-
    doing-a-quick-weekend-juice-giveaway-of-our (showing different flavor vape juice with text
    “Eonsmoke 60mg Juice Giveaway Tag a Friend Now!!”, captioned by Eonsmoke “We are
    doing a quick weekend Juice giveaway of our made in USA 60mg salt nicotine vape juice!!!
    Giveaway ends Sunday 11:59 EST February 11th. The rules: 1. Follow @Eonsmoke 2. Tag a
    friend who vapes! More friends you tag the better your chances of winning!!! We will give
    away 4 bottles of 30ml juice!!!!!!!!!!!”); see also Eonsmoke Vapes, Tumblr (Feb. 10, 2018),
    https://eonsmoke.tumblr.com/post/170725145496/you-probably-know-the-rules-by-now-we-
    are (showing three vape devices with text “Gonna giveaway some devices too!!!!!!! Follow
    @eonsmoke and tag a friend! Free devices giveaway!!!”, captioned by Eonsmoke “You
    probably know the rules by now…. we are feeling pretty generous! Hope you guys win
    something!!!! #eonsmoke #vapegiveaway #vapegiveaways #pods #podsgiveaways
    #vapegiveaways #vapegiveaway #podsgiveaways #eonsmoke #pods”).


                                                   83
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             187.   Eonsmoke’s “Doit4juul” account on Instagram was the most-followed JUUL

   account on Instagram, with over 81,000 followers as of February 2018.291 On YouTube, one of

   the “Doit4juul” videos had nearly 192,000 views as of March 2018.292 The “Doit4juul”

   campaign called on followers to share pictures or videos of themselves using JUUL.

             188.   In addition to driving social media posts about JUUL and vaping, Eonsmoke

   targeted the youth market by selling its pods and nicotine salts in fruity and candy flavors such as




   291
         Huang et al., supra note 196.
   292
         Id.


                                                   84
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   “Sour Gummy Worms,” “Gummy Bear,” “Donut Cream,” “Pineapple Crush,” “Cotton Candy”

   and more:293




          189.    When JLI was pressured to stop selling certain flavors in stores, Eonsmoke was

   more than happy to fill the role. In 2018, Eonsmoke generated an estimated $5.3 million in

   revenue.294 In 2019, after JLI stopped selling flavors like Mango in stores, Eonsmoke’s business



   293
       Eonsmoke Vapes, Tumblr (June 12, 2018),
     https://eonsmoke.tumblr.com/post/174824533561/sour-gummies-60mg-restocked-today-
     online-and (showing Sour Gummy Worm salt nicotine vape juice, captioned by Eonsmoke
     “Sour Gummies 60mg restocked today online and through our vendors! Follow @Eonsmoke
     for more stock, vape developments, and new flavors”; see also Eonsmoke Vapes, Tumblr (July
     1, 2018), https://eonsmoke.tumblr.com/post/175446333176/cop-one-of-our-world-class-salt-
     nicotine-juices-in (showing Gummy Bear salt nicotine vape juice, captioned by Eonsmoke
     “Cop one of our world class salt nicotine juices in 60mg. #eonsmoke @eonsmoke”); see also
     Eonsmoke Vapes, Tumblr (June 27, 2018),
     https://eonsmoke.tumblr.com/post/175313662276/our-salt-nic-family-of-products-try-one-
     today-to (showing salt nicotine vape juices, captioned by Eonsmoke “Our Salt Nic family of
     products! Try one today to see what all the hype is about. Follow @Eonsmoke”).
   294
       Sheila Kaplan, ‘Juul-alikes’ Are Filling Shelves with Sweet, Teen-Friendly Nicotine Flavors,
     N.Y. Times (Aug. 13, 2019), https://www.nytimes.com/2019/08/13/health/juul-flavors-
     nicotine.html.


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   soared, with an estimated $43.6 million in tracked sales as of mid-July 2019. 295 According to a

   sixteen-year-old interviewed by The New York Times, Eonsmoke’s wide range of flavors is a big

   draw for minors: “A lot of my friends use the blueberry . . . People use the mango because it’s

   somewhat similar to the Juul mango.”296

          190.    Eonsmoke followed in JLI’s footsteps by advertising these flavors to youth using

   the apps and websites where minors often spend time, including Instagram, Tumblr, Snapchat,

   YouTube, and Reddit.297

          191.    For example, on the social media platform Reddit, user “Eonjuulcompatiblepod”

   holds itself out as a “Eonsmoke.com Juul Compatible Pods Official Representative” and claims

   that “Eonsmoke.com is the 2nd largest pod company in the USA and the top 5 in Salt Nicotine

   Bottled eLiquid. Our pods are Juul compatible so you don’t have to buy another device. 7 flavors

   including blueberry, watermelon and strawberry.”298 Eonsmoke used Reddit to try to recruit

   JUUL users. For example, Eonsmoke commented that its products are not only compatible with

   JUUL but also cheap, a crucial factor for youth who often do not have much money: “Our pods

   are compatible with the juul device and our devices are compatible with juul pods and we just

   lowered the retail to 20$ online after coupon.”299 In addition, when Reddit users were discussing



   295
       Id.
   296
       Id.
   297
       Eonsmoke Vapes, Instagram (Feb. 3, 2018) (captioned by Eonsmoke “The official vaping
     brand of Snapchat :) #snapchat #eonsmoke #eonpods #juul #juulgang #phix #phixvapor”).
   298
       Eonsmoke (@Eonjuulcompatiblepod), Reddit,
     https://www.reddit.com/user/Eonjuulcompatiblepod (last visited Mar. 29, 2020).
   299
       Eonsmoke (@Eonjuulcompatiblepod), Comment to @u/981ti, Reddit (May 21, 2018, 8:43
     PM),
     https://www.reddit.com/r/juul/comments/8k5wfa/are_there_any_other_devices_that_fit_juul_p
     ods/dzeu9sj/?context=3.


                                                   86
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   additional JUUL flavors that they would like to try, including watermelon flavor, Eonsmoke was

   ready with its pitch: “We make watermelon. Step over to the dark side!”300 In a comment on

   social media platform Reddit, Eonsmoke also advertised that compared to JUUL, “[o]ur throat

   hit is smoother, buzz is the same.” Eonsmoke also advertised its new “disposable pod system

   which is 1.3ml and 7% salt nic for 8$ you get the battery plus one large pod that lasts like 2 juul

   pods.”301

          192.    Eonsmoke’s social media posts, like its products, are designed to appeal to youth.

   For example, Eonsmoke advertises its product as an accompaniment to candy and posts images

   popular with youth in the forms of “memes”:302




   300
       Eonsmoke (@Eonjuulcompatiblepod), Comment to @u/12gwar18, Reddit (May 21, 2018,
     8:26 PM),
     https://www.reddit.com/r/juul/comments/8kpdun/what_flavors_do_you_guys_wanna_see_next
     _from_juul/.
   301
       Eonsmoke (@Eonjuulcompatiblepod), Comment to @u/richard_bag_DIK, Reddit (Oct. 23,
     2018 3:40 PM),
     https://www.reddit.com/r/juul/comments/9qrxxr/3rd_party_pods/e8bqkbb/?context=3.
   302
       Eonsmoke (@eonsmoke), Instagram (May 1, 2018) (showing an Eonsmoke device next to a
     bag of M&M candies and captioned by Eonsmoke “Can you name a better combo?”); see also
     Eonsmoke (@eonsmoke), Instagram (Feb. 25, 2018) (showing a meme featuring a character
     from the animated show “The Simpsons”).


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          193.    Eonsmoke’s social media also explicitly encouraged users to associate their

   products with movies and toys popular with children, such as Toy Story, and with school

   supplies:303




          194.    Like JLI, Eonsmoke advertises that “[e]ach flavored cartridge is the equivalent of

   up to a pack of traditional cigarettes.”304 But Eonsmoke emphasized that its products contain

   even more nicotine than JUUL. For example, EonSmoke sells its 4x Pods in “Blue Raspberry




   303
       Eonsmoke Vapes, Tumblr (Mar. 19, 2018),
     https://eonsmoke.tumblr.com/post/172051155991/wow-i-love-this-follow-eonsmoke-for-sales-
     and (showing Eonsmoke device with Woody from the animated film “Toy Story” and
     blueberry vape pods, captioned by Eonsmoke as “Wow I love this! Follow @Eonsmoke for
     sales and giveaways”); see also Eonsmoke Vapes, Tumblr (Feb. 16, 2018),
     https://eonsmoke.tumblr.com/post/170965631311/the-cotton-candy-60mg-eonsmoke (showing
     Eonsmoke devices and nicotine salt vape juice on a desk, captioned by Eonsmoke as “The
     Cotton Candy 60mg! #eonsmoke”); see also Eonsmoke Vapes, Tumblr (Feb. 4, 2018),
     https://eonsmoke.tumblr.com/post/170502488296/some-day-time-vibes-krissixx710 (showing
     Eonsmoke devices and flavor pods on a leopard print backpack, captioned by Eonsmoke as
     “Some Day Time Vibes @krissixx710”).
   304
       Eonsmoke About Us, EonSmoke, LLC (Oct. 9, 2019),
     https://web.archive.org/web/20191009033001/https://www.eonsmoke.com/about-us/ (last
     visited Mar. 28, 2020).


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   Flavor JUUL Compatible 6.8% Salt Nic Pods.”305 Eonsmoke also used social media and memes

   to highlight this “advantage” of their product over JUUL.

          195.     For example, on one post, Eonsmoke advertised that its “Watermelon 6% Pods”

   were “Juul compatible with more juice and more nicotine inside every pod!”306 Eonsmoke

   highlighted this difference in several of its social media posts:307




   305
       Eonsmoke Product, EonSmoke, LLC (Oct. 9, 2019),
     https://web.archive.org/web/20191009085755/https://www.eonsmoke.com/product/4x-blue-
     raspberry-flavor-juul-compatible-6-8-salt-nic-pods/ (last visited Mar. 28, 2020) (“Flavor
     profile: Your favorite snack and ejuice flavor now in pod form. Both sweet and sour at the
     same time, makes sour gummy one of the fan favorites. Blue Raspberry 4x pods just hit that
     sweet spot of flavor.”).
   306
       Eonsmoke Vapes, Tumblr (June 26, 2018),
     https://eonsmoke.tumblr.com/post/175281868841/try-some-watermelon-6-pods-all-juul-
     compatible (showing watermelon vape pods and sunglasses, captioned by Eonsmoke as “Try
     some Watermelon 6% Pods! All Juul compatible with more juice and more nicotine inside
     every pod! Follow @Eonsmoke”).
   307
       Eonsmoke Vapes, Tumblr (Apr. 18, 2018),
     https://eonsmoke.tumblr.com/post/173080730801/comment-eon-below-for-a-follow-back-
     follow (showing person getting hit in the face with a book with text “When people say 6% nic
     is the same as 5% nic”, captioned by Eonsmoke as “Comment Eon below for a follow back!
     Follow @Eonsmoke”); see also Eonsmoke Vapes, Tumblr (May 20, 2018),
     https://eonsmoke.tumblr.com/post/174088090966/warning-pineapple-pods-contain-nicotine-
     and-so (showing pineapple crush vape pods, captioned by Eonsmoke as “WARNING:
     PINEAPPLE PODS CONTAIN NICOTINE AND SO MUCH FLAVOR IT MAY CAUSE
     YOU TO DROP ALL OTHER TYPES OF BRANDS FOR PODS. NICOTINE IS AN
     ADDICTIVE CHEMICAL. Follow @Eonsmoke”).


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             196.   This tactic is clearly effective on the youth market. As one sixteen-year-old boy

   reported “Some of my friends use Eon pods because they have a higher nicotine percentage,

   because they want a bigger head rush.”308

             197.   But Eonsmoke also mimized its references to nicotine while advertising on social

   media when it believed it was in its marketing interests to do so. Eonsmoke was more than happy

   to use nicotine as a youth-marketing gimmick, but it failed to warn its customers about the

   dangers of nicotine.

             198.   Like JLI, Eonsmoke also used “influencers” to advertise its products. Eonsmoke’s

   influencers include: Mia Khalifa, an Instagram influencer with 17.9 million followers who

   frequently posts suggestive or provocative photos and has a large youth audience; Stevie

   Emerson, who got 6.9 million views of his YouTube video titled, “Dude, Where’s my JUUL?”

   and frequently referred to vapor from e-cigarettes as “water vapor;” and Donny Karle who, as


   308
         Kaplan, Juul-alikes, supra note 294.


                                                    90
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   discussed above, is better known to youth by his handle “DonnySmokes.” As a twenty-one-year-

   old, Karle was getting about three million views each month reviewing vapor products on

   YouTube, which began in 2017 when he posted a “unboxing” video of his newly purchased

   JUUL.309 Karle’s videos were plainly aimed at youth; as mentioned above, one was titled, “How

   to HIDE & HIT Your JUUL at SCHOOL WITHOUT Getting CAUGHT.”310 Eonsmoke’s CEO

   Michael Tolmach told VICE that the company paid Karle $1,000 for each review of its

   products.311

          199.    As of the fall of 2019, Eonsmoke’s products were sold side by side with JUUL

   and the best-selling cigarette brand in the United States, Marlboro, a product of Philip Morris

   USA and its parent company, Defendant Altria:312




   309
       Conti, supra note 187.
   310
       Id.
   311
       Id.
   312
       Eonsmoke Vapes, Tumblr (July 14, 2018),
     https://eonsmoke.tumblr.com/post/175887887396/this-is-how-the-top-shelf-of-the-cigarette-
     shelf (showing Juuls being sold alongside cigarettes, captioned by Eonsmoke as “This is how
     the Top shelf of the cigarette shelf looks now! Switch from cigarettes to Eon 6% pods now!
     #eonsmoke #juul.”; see also Hannah Smothers, JUUL’s ‘Banned’ Flavors Are Still Absolutely
     Available in New York City, VICE (Nov. 4, 2019),
     https://www.vice.com/en_us/article/xwepnj/juul-pod-banned-flavors-still-available-in-new-
     york-city (showing JUUL products side by side with Eonsmoke products in stores in New York
     City in mid-October 2019).


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            200.   Eonsmoke’s conduct did not go unnoticed. On October 24, 2019, the FDA issued

   a Warning Letter to Eonsmoke, stating that it was selling ninety-six e-cigarette products without

   a marketing authorization order.313 The FDA also criticized Eonsmoke for omitting nicotine

   warnings in its influencer posts and for making unlawful affirmative statements minimizing the

   risks of vaping. Although Eonsmoke is not authorized to claim that its products are safer than

   cigarettes, its website boasted that “Eonsmoke electronic cigarettes provide you with a premium

   vaping experience without the thousands of harmful chemicals and additives often found in

   tobacco cigarettes.”314

            201.   Eonsmoke has been sued by multiple state Attorneys General, including from

   Arizona, Massachusetts, and North Carolina. On February 20, 2020, the Arizona Attorney

   General was granted a preliminary injunction prohibiting the advertising, marketing, distribution,



   313
         Eonsmoke, LLC Warning Letter, supra note 18.
   314
         Id.


                                                  92
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   and sale of all ninety-six Eonsmoke products that the FDA identified as being sold without

   authorization in its October 2019 Warning Letter.315

          H.    The Proliferation of “JUULalikes” and Next-Generation Products Targeting
          Youth

          202.    Eonsmoke was not the only company to follow JLI’s lead. As JUUL sales

   skyrocketed in 2017 and 2018, everyone from tobacco industry giants to vape start-ups launched

   their own products with the key elements of JUUL’s design: flavor pods, nicotine salts, and a

   tech-like appearance.

          203.    Imperial Brands and Reynolds American, both of which already marketed e-

   cigarettes, launched “JUULalike” versions of their products in 2018. As Alison Cooper, the CEO

   of Imperial Brands, put it, “The type of experience JUUL delivered was definitely a step

   forward.”316 In February 2018, Imperial Brands launched a new pod-based device called

   “myblu,” noting in its press release that “[p]od-based devices are the fastest growing segment of

   the e-vapour category in the USA.”317 Imperial Brands offered myblu pods in eleven flavors,

   including Polar Mint, Mango Apricot, and Green Apple.318 In July 2018, Imperial Brands




   315
       Attorney General Mark Brnovich Obtains Injection Against Vaping Company Eonsmoke, Off.
     Att’y Gen. State of Ariz. (Feb. 20, 2020), https://www.azag.gov/press-release/attorney-
     general-mark-brnovich-obtains-injunction-against-vaping-company-eonsmoke.
   316
       Steve Birr, The Makers of Blu E-Cigarettes Are Taking On JUUL With A New Vape Device,
     Daily Caller (July 5, 2018), https://dailycaller.com/2018/07/05/blu-e-cigarette-juul-vape/.
   317
       Imperial Brands launches new vaping product in USA, Imperial Brands (Feb. 1, 2018),
     https://www.imperialbrandsplc.com/media/key-announcements/2018/imperial-brands-
     launches-new-vaping-product-in-usa.html.
   318
       blu Launches myblu E-Vapor Device, CStore Decisions (Feb. 21, 2018),
     https://cstoredecisions.com/2018/02/21/blu-launches-myblu-e-vapor-device/.


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   introduced a line of flavor pods called myblu INTENSE, using a nicotine salt formulation, with

   4% nicotine strength.319

          204.    The launch of Imperial Brands’ myblu as a “JUULalike” product concerned Vince

   Willmore, Vice President of Communications for the Campaign for Tobacco-Free Kids.

   According to Willmore, “Juul is our biggest concern right as it is being widely used by kids

   across the country . . . [b]ut we are also concerned that the introduction of a growing number of

   Juul-like products could make the problem even worse.”320 Willmore is not the only one worried.

   Then-FDA Commissioner Gottlieb expressed concern about products like myblu, stating that

   such products “closely resemble a USB flash drive, have high levels of nicotine and emissions

   that are hard to see. These characteristics may facilitate youth use, by making the products more

   attractive to children and teens.”321

          205.    According to British American Tobacco, parent company of Reynolds American,

   it had used nicotine salts in its Vuse e-liquid in the U.S. since 2012, “[s]o to be clear—not in



   319
       Rachel Becker, Juul’s Nicotine Salts Are Dominating the Market – And Other Companies
     Want In, The Verge (Nov. 21, 2018), https://www.theverge.com/2018/11/21/18105969/juul-
     vaping-nicotine-salts-electronic-cigarettes-myblu-vuse-markten; Angelica LaVito, Juul’s
     momentum slips as NJOY woos customers with dollar e-cigarettes, CNBC (Aug. 20, 2019),
     https://www.cnbc.com/2019/08/20/juuls-momentum-slips-as-njoy-woos-customers-with-dollar-
     e-cigarettes.html.
   320
       Ben Tobin, FDA targets e-cigarettes like Juul as teachers fear ‘epidemic’ use by students,
     USA Today (Aug. 16, 2018), https://www.usatoday.com/story/money/2018/08/16/juul-labs-
     back-school-teachers-e-cigarettes/917531002/.
   321
       Scott Gottlieb, Statement from FDA Commissioner Scott Gottlieb, M.D., on new enforcement
     actions and a Youth Tobacco Prevention Plan to stop youth use of, and access to, JUUL and
     other e-cigarettes, FDA (Apr. 23, 2018), https://www.fda.gov/news-events/press-
     announcements/statement-fda-commissioner-scott-gottlieb-md-new-enforcement-actions-and-
     youth-tobacco-
     prevention?utm_campaign=04242018_Statement_Youth%20Tobacco%20Prevention&utm_me
     dium=email&utm_source=Eloqua.


                                                    94
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   response to Juul,” according to a spokesperson. But in August 2018, R.J. Reynolds Vapor Co.

   launched the Vuse Alto, with pre-filled pods available in 5% nicotine strength, compared to the

   3% nicotine in Vuse Vibe cartridges and 1.5% nicotine in the Vuse Ciro. “Juul has achieved

   tremendous progress over the last 18 months,” Reynolds American CEO Ricardo Oberlander

   told reporters, adding that he sees JUUL as “showing the great potential for growth” in the e-

   cigarette industry.322 Seeking some of the social media marketing success that propelled JLI’s

   growth, Reynolds American began marketing Vuse e-cigarettes on Twitter and Instagram in May

   2019.323

          206.    Also in 2018, as discussed further below, Altria launched its pod-based products,

   the MarkTen Elite and the Apex by Markten.

          207.    Researchers from SRITA called it “a nicotine arms race,” writing that “JUUL’s

   success in the e-cigarette marketplace has spurred a variety of new pod-based products with

   exceptionally high nicotine.”324 “As of September 2018,” the researchers wrote, “there were at

   least 39 JUUL knock off devices on the market”—none of which were sold prior to the

   introduction of JUUL.325 These new devices followed JLI’s example of high nicotine and

   discrete design:



   322
       Richard Craver, Reynolds Vapor prepares national launch of new e-cig rival to JUUL,
     Winston-Salem J. (July 17, 2018), https://www.journalnow.com/business/reynolds-vapor-
     prepares-national-launch-of-new-e-cig-rival/article_7ba10442-d438-575e-af23-
     794173089a8a.html.
   323
       Jennifer Maloney, Reynolds, With an Eye on Juul, Wades into Social Media, Wall St. J. (May
     15, 2019), https://www.wsj.com/articles/reynolds-with-an-eye-on-juul-wades-into-social-
     media-11557921721.
   324
       Robert K. Jackler & Divya Ramamurthi, Nicotine arms race: JUUL and the high-nicotine
     product market. 28 Tobacco Control 623-28 (2019).
   325
       Id.


                                                  95
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          The vast majority of these emulate, and sometimes exceed, JUUL’s exceptionally
          high nicotine levels. Like JUUL, they are also inconspicuous, small enough to
          easily fit in a pocket or purse, and their purpose as a nicotine delivery system may
          not be obvious to many casual observers, including parents and teachers.326

          208.    In addition to the thirty-nine “JUULalike” devices, the researchers identified

   fourteen brands marketing fifteen JUUL-compatible pods, and seventy-one American e-liquid

   brands selling nicotine salt e-liquids with 5% or greater nicotine strength.327 All but one vendor

   of the JUUL-compatible pods offered mango flavor.328

          209.    The rapid proliferation of vape products in JUUL’s wake and the speed with

   which the vape market evolves make it difficult to enact effective legislative and regulatory

   measures. When the FDA finalized its policy restricting flavored pods and “cartridge-based

   products” in January 2020, vape products sprung up in the regulatory loopholes almost

   immediately.

          210.    The FDA’s enforcement policy took effect on February 6, 2020, and covered:

             Any flavored, cartridge-based ENDS [Electronic Nicotine Delivery System]
              product (other than a tobacco- or menthol-flavored ENDS product);

             All other ENDS products for which the manufacturer has failed to take (or is
              failing to take) adequate measures to prevent minors’ access; [and]

             Any ENDS product that is targeted to minors or likely to promote use of
              ENDS by minors.329

          211.    In effect, this was a ban on flavored e-cigarette pods, other than tobacco and

   menthol flavors. But both flavored nicotine liquid designed for refillable vape devices and



   326
       Id.
   327
       Id. at 2.
   328
       Id.
   329
       FDA News Release, supra note 271.


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   disposable vape products were allowed to remain on the market.330

          212.    In announcing the ban, the Secretary of HHS recognized, “The United States has

   never seen an epidemic of substance use arise as quickly as our current epidemic of youth use of

   e-cigarettes.”331 FDA Commissioner Stephen Hahn, M.D. added, “As we work to combat the

   troubling epidemic of youth e-cigarette use, the enforcement policy we’re issuing today confirms

   our commitment to dramatically limit children’s access to certain flavored e-cigarette products

   we know are so appealing to them – so-called cartridge-based products that are both easy to use

   and easily concealable.”332

          213.    Enterprising companies recognized loopholes in a policy aimed only at cartridge-

   based products and the opportunity to fill the demand for fruit-flavored nicotine created by JLI.

   Disposable vape devices, not covered by the FDA’s ban, have become increasingly popular with

   youth, building on the public health crisis Defendant JLI helped create. The use of disposable vape

   devices is now “rampant” in schools.333 These products are typically cheaper than JUULpods and

   are offered in increasingly more flavors.334 One high school junior told The New York Times that

   she starting vaping mint and other flavored JUULs when she was in tenth grade.335 She now vapes

   using disposable “Puff Bars” because “[t]hey have flavors like the Juul flavors. It’s basically like



   330
       Abby Goodnough et al., With Partial Flavor Ban, Trump Splits the Difference on Vaping¸
     N.Y. Times (Jan. 2, 2020), https://www.nytimes.com/2020/01/02/health/flavor-ban-e-
     cigarettes.html; Sheila Kaplan, Teens Find a Big Loophole in the New Flavored Vaping Ban,
     N.Y. Times (Jan. 31, 2020), https://www.nytimes.com/2020/01/31/health/vaping-flavors-
     disposable.html.
   331
       FDA News Release, supra note 271.
   332
       Id.
   333
       Kaplan, Teens Find a Big Loophole, supra note 330.
   334
       Id.
   335
       Id.


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   smoking a Juul.”336 Other high school students confirmed the popularity of Puff Bars, saying they

   “saw them everywhere” and “[t]hat’s what everyone was talking about.”337

          214.   Defendant Eonsmoke also sells disposable vape devices called Eon St!Ks, in a

   wide variety of youth-friendly flavors such as Blue Raspberry, Mango, Pink Lemonade, Lush

   Ice, and Berry Gelato.338 Not only do Eonsmoke’s products come in kid-friendly flavors, they are

   sold in strengths of 6.8% nicotine, even stronger than JUUL’s advertised 5% nicotine.339




                                                                               340




   336
       Id.
   337
       Angeline Jane Bernabe et al., Loophole in vaping ban has teens turning to disposable e-
     cigarettes, Good Morning Am. (Mar. 4, 2020),
     https://www.goodmorningamerica.com/wellness/story/loophole-vaping-ban-teens-turning-
     disposable-cigarettes-69376300.
   338
       Id. (listing Eonsmoke’s St!K disposable vape flavors as Blue Raspberry, Watermelon,
     Strawberry, Mango, Pineapple, Green Apple, Citrus, Cucumber, Peach, Pink Lemonade, Lush
     Ice, Strawberry Banana, Cubano, Kiwi Strawberry, Pomegranate, and Berry Gelato).
   339
       Id.
   340
       St!K Disposables 6.8% Nicotine 3 Pack, Eonsmoke.com,
     https://www.eonsmoke.com/product/__trashed-3/ (last visited Mar. 28, 2020).


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          215.    Eonsmoke also provides the flavoring for another disposable vape device called

   fruyt. 341 Eonsmoke St!Ks and Puff Bars have been sold side by side in stores.342




          216.    As a Professor at Rutgers Center for Tobacco Studies stated, “[t]hese disposable,

   completely self-contained e-cigarettes like Puff Bar and others share all of the characteristics that

   made Juul a problem.”343 In online discussions of these disposable vape products, including Eon

   St!K, users focused on “tasting similar to JUUL flavours, lasting longer than a JUUL pod and

   having a good ‘hit’ like a JUUL . . . [and] posted images highlight the similar physical

   dimensions to JUUL.”344 Researchers evaluating the rise of these products noted that “these

   products are similar to JUUL—the brand driving high rates of youth vaping—in form and

   function.”345 Disposable vape devices like Defendant Eonsmoke’s are “nearly identical in size”

   to JUUL and “also contain nicotine salts,” but also offer even more flavors, even higher nicotine


   341
       Cristine Delnevo et al., Rapid profileration of illegal pod-mod disposable e-cigarettes,
     Tobacco Control 055485 (Jan. 6, 2020),
     https://tobaccocontrol.bmj.com/content/early/2020/01/30/tobaccocontrol-2019-055485.full.
   342
       Kaplan, Teens Find a Big Loophole, supra note 330.
   343
       Id.
   344
       Delnevo, Rapid proliferation, supra note 341.
   345
       Id.


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   concentrations, colorful marketing, and low pricing.346 Researchers also noted that “as a ‘single

   use product’, disposable [vape devices] further contribute to plastic waste and microplastic

   pollution, which is a growing health concern.” 347 This waste is a problem for Plaintiff as well as

   other municipalities, schools, and counties, as discussed below.

          217.    In response to increasing pressure, the founder and CEO of the company behind

   Puff Bar, Cool Clouds, announced that the company has “ceased all distribution” of Puff Bar

   products in the U.S. and stopped licensing to “prevent third parties from distributing in the

   U.S.”348 Defendant Eonsmoke’s disposable vape devices, on the other hand, are still available.

   Moreover, for every company selling candy-flavored vape products that exits the market, more

   materialize to take its place, driven by the knowledge that there is a large market of nicotine-

   addicted youth eager for their products.

          218.    The rise in disposable products as a means to evade bans on flavored e-cigarettes

   demonstrates why partial regulatory measures—banning flavor pods but not all flavored tobacco

   products, for example—are not sufficient to halt the spread of youth vaping.349




   346
       Id.
   347
       Id.
   348
       Sophie Alexander & Angelica LaVito, Upstart L.A. company pulls back Puff Bar single-use
     vaping product after outcry, L.A. Times (Feb. 20, 2020),
     https://www.latimes.com/business/story/2020-02-20/vaping-loophole.
   349
       Press Release: Raising the Tobacco Age to 21 Won’t Stop the Youth E-Cigarette Epidemic
     and Is Not a Substitute for Eliminating the Flavored Products that Lure Kids, Tobacco Free
     Kids (Dec. 16, 2019), https://www.tobaccofreekids.org/press-
     releases/2019_12_16_tobacco21_flavor.


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           I.         JLI and Altria Join Forces to Protect JUUL’s Market Domination

                             Before conspiring with JLI, Altria tried to corner the youth e-
                      cigarette market

           219.       Altria’s first e-cigarette was a cigarette-lookalike, or “cigalike,” style of e-

   cigarette, sold under the brand MarkTen. Following a phased roll-out of MarkTen in Indiana and

   Arizona in late 2013, Altria launched the MarkTen nationwide in 2014 with an aggressive

   marketing campaign, eclipsing the advertising expenditures for the market leader at that time, blu

   e-cigarettes.350




           220.       E-cigarette advertising spending for 2014 totaled $88.1 million, a 52% increase

   from 2013.351 Of the $88.1 million spent in 2014, nearly 40% of that was Altria’s MarkTen




   350
       Jennifer Cantrell et al., Rapid increase in e-cigarette advertising spending as Altria’s
     MarkTen enters the marketplace, 25 Tobacco Control e16-18 (2015),
     http://dx.doi.org/10.1136/tobaccocontrol-2015-052532.
   351
       Id.


                                                        101
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   campaign, at $35 million.352 More than eighteen million middle school and high school children

   were exposed to e-cigarette advertisements in 2014.353 Approximately one in two middle school

   and high school age children saw advertisements for e-cigarettes in retail stores and almost two

   in five saw advertisements for e-cigarettes online.354




          221.    At the time, the president of the Campaign for Tobacco-Free Kids said that

   companies like Altria were using “exactly the same themes we saw work with kids in the U.S.

   for decades with cigarettes.”355

          222.    Although free samples of tobacco products are prohibited under the terms of the

   Tobacco Master Settlement Agreement, as well as FDA regulations issued in 2010, Altria


   352
       Id.
   353
       Carley Thompson, How JUUL cornered the youth tobacco market and what you should know,
     King Cty. Pub. Health Insider (Aug. 6, 2018), https://publichealthinsider.com/2018/08/06/how-
     juul-cornered-the-youth-tobacco-market-and-what-you-should-know/.
   354
       Id.
   355
       Matt Richtel, A Bolder Effort by Big Tobacco on E-Cigarettes, N.Y. Times (June 17, 2017),
     https://www.nytimes.com/2014/06/17/business/a-bolder-effort-by-big-tobacco-on-e-
     cigarettes.html.


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   exploited the grey area in the regulation of e-cigarettes and distributed coupons for free sample

   nicotine cartridges as part of its MarkTen launch. (The FDA has since issued finalized guidance

   clarifying the scope of the ban on distributing free samples or coupons to generally include e-

   cigarettes or components.356)

          223.    Altria utilized its extensive distribution network, reaching 60,000 stores in a

   month.357 For instance, in Arizona, Altria’s distribution network allowed MarkTen to achieve a

   48% e-cigarette market share in just seven weeks after launch, according to then-CEO Marty

   Barrington’s statements on an earnings call.358 Altria was clear in its intent to dominate the

   e-cigarette market as it has the traditional cigarette one: “We are the market leader today and we

   will continue to be,” Barrington told investors at the time of MarkTen’s launch.359

          224.    Altria also began acquiring small companies in the vaping industry, starting in

   2014 with Green Smoke, Inc., whose e-cigarettes were also the “cigalike” style, and were sold in

   flavors including “Vanilla Dreams” and “Smooth Chocolate.”360 In 2016, Altria acquired a vape

   product called Cync, from Vape Forward.361 Cync is a small vapor device that uses prefilled

   pods, similar to JUUL.


   356
       The Prohibition of Distributing Free Samples of Tobacco Products: Guidance for Industry,
     FDA (Oct. 2017), https://www.fda.gov/media/119231/download.
   357
       Melissa Kress, MarkTen National Rollout Hits 60,000 Stores, Convenience Store News (July
     22, 2014), https://csnews.com/markten-national-rollout-hits-60000-stores.
   358
       Mike Esterl, Altria To Launch MarkTen E-Cigarette Nationally, Wall St. J. (Feb. 19, 2014),
     https://www.wsj.com/articles/altria-to-launch-markten-e-cigarette-nationally-1392832378.
   359
       Kress, supra note 357.
   360
       Esterl, supra note 358; Senator Richard J. Durbin et al., Gateway to Addiction? A Survey of
     Popular Electronic Cigarette Manufacturers and Targeted Marketing to Youth at 12 (Apr. 14,
     2014), https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-
     Cigarettes%20with%20Cover.pdf.
   361
       Remarks by Jody Begley, 2017 Altria Investor Day (Nov. 2, 2017), http://media.corporate-
     ir.net/media_files/IROL/80/80855/2017InvestorDay/Remarks_and_Reconciliations.pdf.


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          225.    In 2016, Altria launched a pod-based, “closed-tank” e-cigarette like JUUL, which

   it branded as the MarkTen Elite: “a pod-based product with a premium, sleek battery design” and

   having the “convenience of prefilled, magnetic click pods.”362 Altria told investors that the

   product “offers a variety of flavorful liquids in a modern, discrete device format.”363 After its

   nationwide launch, former Altria CEO Barrington, boasted that the Elite’s pods held more than

   twice as much liquid as JUUL’s. 364




          226.    Altria quickly followed with another pod-based product, the Apex by MarkTen.




   362
       Angel Abcede, Altria Introducing Closed Vapor System, CSP Daily News (Feb. 27, 2018),
     https://www.cspdailynews.com/tobacco/altria-introducing-closed-vapor-system#page=0.
   363
       Remarks by Begley, supra note 361 at 18.
   364
       Altria Group, Inc., Current Report (Form 8-K), Ex. 99.2 (Feb. 21, 2018),
     https://www.sec.gov/Archives/edgar/data/764180/000076418018000020/exhibit992-
     2018cagnyremarks.htm (remarks by Barrington and other members of Altria’s senior
     management team).


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          227.   As mentioned above, Altria marketed its e-cigarettes in flavors that would appeal

   to youth. For example, the MarkTen Elite came in “Strawberry Brulee,” “Glacier Mint,” “Apple

   Cider,” and “Hazelnut Cream”:365




          228.   In February 2017, Altria told investors at the 2017 Consumer Analyst Group of

   New York (CAGNY) Conference that over the past year, “Nu Mark LLC (Nu Mark) made


   365
       Examples New Ecigs Post Juul at 13, Campaign for Tobacco-Free Kids (July 18, 2018),
    https://www.tobaccofreekids.org/assets/images/content/2018_07_18_New_Ecigs_Post_Juul.pd
    f.


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   excellent progress toward its long-term aspiration of becoming a leader in e-vapor.”366 In his

   remarks, Willard said, “Nu Mark, our e-vapor company, had a very strong year. It made

   excellent progress toward establishing MarkTen as a leading brand in the category, continued to

   improve its supply chain, and took the necessary steps to comply with the deeming

   regulations.”367 He noted, however, that the estimated “total 2016 e-vapor consumer spending

   was roughly flat compared to the prior year at approximately $2.5 billion.”368

          229.    Despite its best efforts, in 2017, Altria’s MarkTen e-cigarettes had a market share

   of only 13.7%, well behind JLI’s growing market share of 40%.369 Thus, despite its public

   statements to the contrary, Altria knew that it would not achieve its goal of dominating the e-

   cigarette market through its own products.

                        JLI and Altria Decide to Work Together to Expand JUUL’s Reach
                  and Cover-Up JLI’s Youth Marketing

          230.    As set forth above, Big Tobacco has long known the importance of targeting

   youth and addicting them to nicotine. Profitable growth requires a pipeline of “replacement

   smokers” or e-cigarette users. JLI was wildly successful at expanding that pipeline, hooking

   youth who had never smoked cigarettes—and who, having grown up in the decades of anti-




   366
       Altria Group, Inc., Current Report (Form 8-K), Ex. 99.2 at 1 (Feb. 22, 2017),
     https://www.sec.gov/Archives/edgar/data/764180/000076418017000020/exhibit991-
     2017cagnyremarks.htm (remarks by Barrington and other members of Altria’s senior
     management team).
   367
       Id. at 9.
   368
       Id. at 10.
   369
       Richard Craver, Vuse falls further behind Juul on e-cig sales, Winston-Salem J. (Dec. 14,
     2017), https://www.journalnow.com/business/vuse-falls-further-behind-juul-on-e-cig-
     sales/article_ed14c6bc-5421-5806-9d32-bba0e8f86571.html.


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   smoking efforts following the Tobacco Master Settlement Agreement, never intended to try

   cigarettes. JLI’s customers largely represented the generation that Altria could not reach.

          231.    While still popular overseas, cigarette use has been declining in the United States

   in the last decade,370 especially with youth. Altria estimates that the cigarette industry declined

   by 4% in 2017 and by 4.5% in 2018, and it predicted a continued 4% to 5% decline in the

   average annual U.S. cigarette industry volume for 2019 through 2023.371 Altria later adjusted the

   estimated rate of decline to 4% to 6%, to reflect efforts to increase the legal age for cigarette

   smoking to twenty-one.372

          232.    As described above, Altria marketed its own e-cigarettes, testing different

   versions of the MarkTen e-cigarette and acquiring products such as the GreenSmoke cigalike and

   the Cync vape device. But JLI, a younger, tech-oriented, social-media-savvy company, was far

   better at targeting youth and making its product “cool” than Altria and other Big Tobacco

   companies were.

          233.    Both JLI and Altria knew that JUUL’s meteoric growth came from young,

   nonsmoking customers. As described below, Altria told the FDA as much in an October 25, 2018

   letter responding to the FDA’s request for a plan of action to address youth e-cigarette use. Altria



   370
       Current Cigarette Smoking Among Adults In the United States, CDC,
     https://www.cdc.gov/tobacco/data_statistics/fact_sheets/adult_data/cig_smoking/index.htm
     (last visited Mar. 28, 2020); Youth and Tobacco Use, CDC,
     https://www.cdc.gov/tobacco/data_statistics/fact_sheets/youth_data/tobacco_use/index.htm
     (last visited Mar. 28, 2020).
   371
       Altria’s Fourth-Quarter 2018 Earnings Conference Call, Altria (Jan. 31, 2019),
     http://investor.altria.com/Cache/1001247877.PDF?O=PDF&T=&Y=&D=&FID=1001247877
     &iid=4087349.
   372
       Altria Shares Slide As Cigarette Sales Continue to Decline, Tobacco Bus. (July 31, 2019),
     https://tobaccobusiness.com/altria-shares-slide-as-cigarette-sales-continue-to-decline/.


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   informed the FDA that it was exiting the market for pod-based e-cigarettes, on the grounds that

   these products contributed to the youth vaping epidemic. Altria even displayed this letter to the

   public by posting it on its website, purporting to disclaim the very marketing and advertising

   tactics JLI relied on. But by this time, Altria and JLI had already been collaborating for

   approximately one year, and just seven weeks later, Altria would publicly announce its $12.8

   billion investment in JLI.

          234.    Altria wanted JUUL’s profits and new customer base. JLI, facing a public outcry,

   needed Altria’s help to navigate the storm that it created. The solution was a well-orchestrated

   cover-up with JLI dramatically changing its tune to promote itself as a company focused on

   “harm reduction,” purportedly providing existing adult smokers with a way to “Make the

   Switch” from combustible cigarettes to JUUL.

          235.    For that reason and others, Defendants JLI and Altria formed an association-in-

   fact enterprise (“the Youth Marketing Cover-Up Enterprise”) to protect and expand the market

   for JUUL through fraudulent means, including disseminating false statements denying JLI’s

   efforts to target youth with nicotine products and characterizing JUUL as a cessation device that

   was never intended for, or marketed to, youth. All the while, JLI and Altria understood that

   maintaining and expanding JUUL’s market share meant maintaining and expanding a customer

   base predominantly made of youth users.

          236.    Altria was prepared for this deception. Altria, and the rest of Big Tobacco, has a

   long history of targeting youth with nicotine products and then lying about it. In fact, this type of

   cover-up of youth marketing formed one of the bases for the U.S. Department of Justice’s

   (“DOJ”) 1999 RICO lawsuit alleging that Big Tobacco engaged in a conspiracy to deceive the



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   public about the health effects of smoking and about their marketing to youth. In 2006, in a

   1,683-page opinion, Judge Kessler upheld the DOJ’s RICO claim against Altria and the other

   Big Tobacco companies. Judge Kessler found that Big Tobacco, including Altria and its

   subsidiary Philip Morris USA, committed predicate racketeering acts by falsely claiming that

   “they do not market to youth, that their marketing is only aimed at adult smokers, and that their

   marketing has no impact on youth smoking.”373 For example, Philip Morris374 and its co-

   conspirators caused to be transmitted a false claim that the cigarette industry “feel[s] very

   strongly that cigarette smoking is an adult custom that one should not even consider until they’ve

   reached the age of maturity,” which it claimed was age twenty-one. 375 Similarly, the court found

   that Philip Morris’s published marketing policies, claiming that “[a]ll of our brand advertising

   and promotions are intended for adults who choose to smoke” were false.376 The court also found

   that Altria made false statements in support of the Enterprise at a 2000 Philip Morris

   shareholders meeting when the Altria Board of Directors denied that Philip Morris marketed to

   youth:377

          [Philip Morris] has programs and policies in place, and are subject to legal
          restrictions, that help ensure that marketing and advertising activities be directed
          only to adults that choose to smoke . . . Philip Morris U.S.A. has a long-standing
          commitment to direct its advertising only at adults who choose to smoke [and]
          complies with an industry code and company policy that help ensure that its
          marketing efforts are directed only to adults who choose to smoke.




   373
       Philip Morris, 449 F. Supp. 2d at 862.
   374
       Judge Kessler found that Altria “effectively and actively control[ed] the activities of all of its
     subsidiaries, including Defendant Philip Morris USA Inc.” Id. at 204 n.12.
   375
       Id. at 678-79.
   376
       Id. at 683.
   377
       Id.


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   Judge Kessler concluded that “[t]hese public statements are false and misleading and have been

   made to further the Enterprise’s overall objective of maximizing Defendants’ profits from the

   sale of cigarettes.”378 As Judge Kessler explained, these “Defendants’ efforts to target youth

   [we]re based on a recognition that the youth market is critical to the growth of their industry;

   their denials of those efforts [we]re based on the recognition that the public considers pursuit of

   the youth market to be ethically unacceptable.”379

             237.      The Youth Marketing Cover-Up Enterprise’s attempted cover-up of JLI’s youth

   marketing is more of the same. As part of the fraudulent Enterprise, JLI and Altria made false

   statements to the public and to regulators about actions they were purportedly taking to address

   rampant youth vaping, including removing certain JUULpod flavors from the market while

   continuing to promote Mint JUULpods with the knowledge that Mint was a preferred flavor with

   youth, with the intent that parents, policymakers, and regulators would rely on such false

   statements in a way that would allow JLI to keep selling JUUL products.

             238.      The Youth Marketing Cover-Up Enterprise is an ongoing and continuing

   organization with a common purpose of covering up JLI’s youth focus and fraudulently

   maintaining and expanding JUUL’s massive and ill-gotten market share.

                             Following JLI’s Journey Closely: Formation of the Youth Marketing
                       Cover-Up Enterprise

             239.      Defendants Altria and JLI formed the Youth Marketing Cover-Up Enterprise by

   at least late 2017 or early 2018.




   378
         Id. at 862.
   379
         Id. at 863.


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          240.    From JLI’s beginnings, Altria, a pioneer in addicting youth to nicotine, “followed

   Juul’s journey rather closely.”380

          241.    According to Altria’s current CEO, Howard A. Willard III, Altria first contacted

   JLI about a commercial relationship in early 2017, with “confidential discussions” beginning in

   the spring of 2017.381 JLI and Altria’s “confidential discussions” occurred “over a period of

   approximately 18 months.”382

          242.    In November 2017, Altria announced a minority investment in Avail Vapor, LLC

   (“Avail”), one of the largest vape store chains in the United States, which also produces and sells

   its own branded e-liquids for refillable “open-tank” devices.383 Altria’s comments to investors

   highlighted that the investment allowed Altria access to Avail’s “extensive data around adult

   vaper purchasing patterns,” and “full-service analytical science laboratory,” located in Altria’s

   hometown of Richmond, Virginia. 384

          243.    On information and belief, the “confidential discussions” between JLI and Altria

   intensified in late 2017 and early 2018, and the companies began to lay the groundwork for



   380
       Altria Group, Inc., Current Report (Form 8-K), Ex. 99.1 at 4 (Feb. 20, 2019),
     https://www.sec.gov/Archives/edgar/data/764180/000076418019000018/exhibit991-
     2019cagnyremarks.htm (Remarks by Willard and other members Altria’s senior management
     team).
   381
       Willard, Letter to Senator Durbin, supra note 23 at 3.
   382
       Id.
   383
       Rich Duprey, Is Altria Trying to Corner the E-Cig Market?, Motley Fool (Jan. 7, 2018),
     https://www.fool.com/investing/2018/01/07/is-altria-trying-to-corner-the-e-cig-market.aspx;
     Lauren Thomas, Altria shares plunge after FDA releases road map to curb tobacco-related
     deaths, CNBC (July 28, 2017), https://www.cnbc.com/2017/07/28/altria-shares-fall-after-fda-
     releases-roadmap-to-curb-tobacco-related-deaths-.html.
   384
       Altria Group, Inc., Current Report (Form 8-K), Ex. 99.1 at 19 (Nov. 2, 2017),
     https://www.sec.gov/Archives/edgar/data/764180/000076418017000131/exhibit991-
     2017investorday.htm.


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   Altria to support the Youth Marketing Cover-Up Enterprise. Altria has acknowledged that it was

   monitoring JUUL sales data “in late 2017 and early 2018.”385 At that time, JUUL was

   dominating the e-cigarette market. By November 2017, JLI had sold one million units of its

   blockbuster product, with a 621% growth in year-to-year sales and capturing 32% of e-cigarette

   sales tracked by Nielsen.386

          244.    Altria recognized that JLI had, against the backdrop of steadily declining cigarette

   sales, created the perfect product to addict a new generation to nicotine. But to keep the product

   from disappearing off the shelves as quickly as it had arrived due to public outcry, JLI would

   need a more sophisticated approach to marketing and to navigating the storm of public and

   regulatory and congressional scrutiny on the horizon. In short, JLI needed Altria’s experience,

   and Altria needed access to JLI’s best-selling e-cigarette and its youth market.

          245.    While following JLI’s journey closely and engaging in “confidential discussions,”

   Altria had tested variations on the MarkTen that shared features of JUUL, such as the MarkTen

   Bold, with a nicotine salt formulation and 4% nicotine by weight, and the MarkTen Elite, “a

   small pod-based product that offers a variety of flavorful liquids in a modern, discrete device

   format.”387 But as noted above, sales of Altria’s own e-cigarettes trailed behind both JUUL and

   British American Tobacco’s Vuse.

          246.    Altria wanted JLI’s market dominance and young customer base. JLI, in the

   crosshairs of a public and regulatory outcry, needed Altria’s experience placating the public and

   its influence in Washington. Together, by lying about JLI’s efforts to addict youth to nicotine


   385
       Willard, Letter to Senator Durbin, supra note 23 at 6 (emphasis added).
   386
       Robinson, supra note 14.
   387
       Remarks by Begley, supra note 361.


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   and fraudulently misrepresenting the nature of JUUL, JLI and Altria could protect, maintain, and

   expand JLI’s massive and ill-gotten youth market share.

                       Late 2017–August 2018: Early Coordination of Altria with the Youth
                  Marketing Cover-Up Enterprise

          247.    As the sales of JUUL continued to mushroom, it was readily apparent, and widely

   reported, that the rapid growth in sales was due to the surging popularity of “juuling” among

   teenagers. By March 2018, multiple national news outlets including National Public Radio, USA

   Today, and Business Insider reported youth were using JUUL with alarming frequency, posting

   about “juuling” in school restrooms on social media, and bragging about being able to use the

   device in the classroom due to JUUL’s discreet design.

          248.    One of the priorities for the Youth Marketing Cover-Up Enterprise was therefore

   to control the messaging and narrative around youth vaping. Faced with an urgent, growing

   public health crisis, national media attention, and the ire of the public, the FDA and members of

   Congress, the Youth Marketing Cover-Up Enterprise realized that given the increasing public

   and regulatory scrutiny of JLI’s marketing tactics, a dis-information campaign was urgently

   needed to protect its bottom line, and it turned to a sophisticated and savvy third party for

   assistance. By at least April 2018, both JLI and Altria were working with the global public

   strategy firm Mercury LLC (“Mercury”), which is part of Omnicom Group, Inc. (“Omnicom”),

   one of the “Big Four” advertising holding companies dominating marketing and communications

   worldwide since the 1990s, second only to WPP plc.388


   388
      See HISTORY's Moments in Media: The Birth of the Big 4 Holding Companies, MediaVillage
    (Jan. 13, 2020), https://www.mediavillage.com/article/historys-moments-in-media-the-birth-of-
    the-big-4-holding-companies/; Nathalie Tadena & Joshua Jamerson, Omnicom Posts Strong
    Sales Growth Advertising Giant's Second-Quarter Earnings Rise 12%, Wall S. J. (July 22,


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          249.    Mercury filed a lobbying registration on behalf of Defendant Altria Client

   Services LLC, effective April 1, 2018, identifying “tobacco product regulations” as the specific

   issue; two of Mercury’s managing directors, Stephen Aaron and Al Simpson, handle the Altria

   account.389 Aaron, who was the federal liaison for the National Rifle Association for nearly a

   decade, describes his role as “ help[ing] clients nuance complex issues to deliver effective

   messages amid intense national debates to move the public in support of client agendas.”390 Big

   Tobacco spin tactics are familiar territory for Mercury: another Mercury client is the Foundation

   for a Smoke-Free World (“Foundation”), an organization established and solely funded by Philip

   Morris International that claims to be an independent scientific body. 391 The World Health

   Organization strongly rejected partnering with the Foundation and urged others to do the

   same,392 while other global health organizations pointed out that “[w]hile PMI and its grantee

   claim a commitment to reducing harm; reports show that PMIs cigarettes continue to be heavily

   marketed in ways that attract children and undermine public health policy.”393 Working with JLI



     2014), https://www.wsj.com/articles/omnicom-sees-earnings-revenue-growth-top-expectations-
     1406028567.
   389
       Kevin McCauley, Altria Taps Mercury for Tobacco Regulation Work, O’Dwyer’s (June 4,
     2018), https://www.odwyerpr.com/story/public/10754/2018-06-04/altria-taps-mercury-for-
     tobacco-regulation-work.html.
   390
       Stephen Aaron, Managing Director, Mercury LLC,
     http://www.mercuryllc.com/experts/stephen-aaron/ (last visited Mar. 28, 2020).
   391
       Tess Legg et al., The Philip Morris-funded Foundation for a Smoke-Free World: tax return
     sheds light on funding activities, Vol. 393 Lancet No. 10190 at 2469-2562 (June 22, 2019),
     https://www.thelancet.com/journals/lancet/article/PIIS0140-6736(19)31347-9/fulltext.
   392
       WHO Statement on Philip Morris funded Foundation for a Smoke-Free World, WHO (Sept.
     28, 2017), https://www.who.int/news-room/detail/28-09-2017-who-statement-on-philip-morris-
     funded-foundation-for-a-smoke-free-world.
   393
       Open Letter to Urge WHO Executive Board to Reject Foundation for a Smoke Free World
     (FSFW), GGTC (Jan. 28, 2019), https://ggtc.world/2019/01/28/an-open-letter-to-urge-who-
     executive-board-to-reject-fsfw/.


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   and Altria, Mercury has promoted a similar “harm reduction” message as a central feature of the

   Youth Marketing Cover-Up Enterprise’s dis-information campaign.

          250.




                                        394




                                  395




   394
       INREJUUL_00262168; see also Kate Zernike, ‘I Can’t Stop’: Schools Struggle With Vaping
     Explosion, N.Y. Times (Apr. 2, 2018), https://www.nytimes.com/2018/04/02/health/vaping-
     ecigarettes-addiction-teen.html.
   395
       INREJUUL_00262168.


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          251.




                                                                                  396



          252.    On April 18, 2018, a group of eleven United States Senators sent JLI a letter

   declaring that JUUL and JUULpods “are undermining our nation’s efforts to reduce tobacco use

   among youth and putting an entire new generation of children at risk of nicotine addiction and

   other health consequences.”397

          253.    Less than a week later, on April 23, 2018, then-FDA Commissioner Gottlieb

   announced a crackdown on retailers to limit youth access to e-cigarettes and enforcement actions

   against JLI in particular.398 On April 24, 2018, the FDA sent JLI a request for documents

   “relating to marketing practices and research on marketing, effects of product design, public

   health impact, and adverse experiences and complaints related to JUUL.”399 The FDA stated

   clearly that it was requesting these documents because of evidence of widespread youth use,

   including media reporting about middle school and high school student use of JUUL on school

   property and social media evidence of youth use. “Widespread reports of youth use of JUUL

   products are of great public health concern,” the FDA warned.400



   396
       INREJUUL_00262226-227.
   397
       Letter from Senator Richard J. Durbin et al. to Kevin Burns, JUUL Labs, Inc. (Apr. 18,
     2018), https://www.durbin.senate.gov/imo/media/doc/JUUL%20Letter%20-
     %20S%20IGNED.pdf.
   398
       Gottlieb, Statement Apr. 23, 2018, supra note 355.
   399
       Letter from Matthew Holman, M.D., FDA to Ziad Rouag, JUUL Labs, Inc. (Apr. 24, 2018),
     https://www.fda.gov/media/112339/download.
   400
       Id.


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          254.    JLI, with the help of its “campaign manager” Mercury and Altria guiding its

   campaign, was ready with a response. The next day, on April 25, 2018, JLI issued a press

   release, pledging its support of efforts to raise the minimum age to purchase tobacco products to

   twenty-one and “an initial investment of $30 million over the next three years dedicated to

   independent research, youth and parent education, and community engagement efforts.”401

          255.    As part of its “independent research,” in 2018, JLI, with the approval and

   knowledge of JLI’s officers and directors, engaged McKinsey & Company to survey teenagers

   regarding their e-cigarette flavor preferences, among other things, and engaged DB Research to

   conduct a focus group with teenagers in Maryland. As discussed above, this research confirmed

   the popularity of Mint JUULpods with teens. Similarly, the Altria Defendants knew from

   decades of experience selling a variety of tobacco products—and the development of its

   “graduation theory”—that both mint and menthol were popular with youth, as discussed above.

   Despite this knowledge, JLI and Altria kept Mint and Menthol JUULpods on the shelves even

   when ostensibly removing youth-friendly flavors from retail stores in November 2018, as

   discussed further below.

          256.




   401
     JUUL Labs, Inc., JUUL Labs Announces Comprehensive Strategy to Combat Underage Use,
    MarketWatch (Apr. 25, 2018), https://www.marketwatch.com/press-release/juul-labs-
    announces-comprehensive-strategy-to-combat-underage-use-2018-04-25.


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          257.    Instead, with that knowledge and with no genuine interest in youth prevention,

   and as detailed below, JLI, JLI’s officers and directors, and Altria committed to work to preserve

   Mint as a flavor for as long as possible. Indeed, to further this goal, Pritzker and Valani poured

   additional money into JLI a mere two months later as part of a $600 million funding round,

   allowing the Youth Marketing Cover-Up Enterprise to continue the work of maintaining and

   expanding JUUL’s youth market-share while denying that JLI marketed to youth in order to

   avoid public outcry.402

          258.




          403


                                                                                    404



          259.



                             405




   402
       JUUL Raises $650M Of Its $1.25B Mega-Round, crunchbase (July 10, 2018),
     https://news.crunchbase.com/news/juul-raises-650m-of-its-1-25b-mega-round/.
   403
       INREJUUL_00258827-828.
   404
       Id.; see also Start-up e-cigarette brand aims to “improve smokers’ lives”, 362 BMJ k2930
     (2018), https://www.bmj.com/content/362/bmj.k2930.
   405
       INREJUUL_00258827-828.


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                                                406
                                                      Put another way, JUUL’s continued market growth

   required Altria and JLI to convince the public and regulators that contrary to the facts, JLI had

   nothing to do with youth vaping.

            260.   On August 2, 2018, JLI met with the FDA to discuss a proposed youth-behavioral

   study on the prevalence of use, perceptions of use, and intentions to use JUUL and other tobacco

   products among adolescents aged thirteen and seventeen (the “Youth Prevalence study”).407 As

   with other steps taken by the Youth Marketing Cover-Up Enterprise during this time, the Youth

   Prevalence study was a distraction and delay tactic, meant to give the public and regulators the

   impression that JLI was actively addressing the youth vaping epidemic. In fact, as discussed

   further below, the Youth Prevalence study was a sham, and JLI would provide “results” to the

   FDA in November 2018 that were directly contradicted by its own internal data.
                                                                      408
            261.



                                    409
                                          The brand campaign that Omnicom ultimately created for the

   Youth Marketing Cover-Up Enterprise was the “Make the Switch” campaign, which revolved




   406
       Id.
   407
       Letter from Joanna Engelke, JUUL Labs, Inc., to David Portnoy, Ph.D., M.P.H., FDA Center
     for Tobacco Products (Nov. 5, 2018).
   408
       See INREJUUL_00066530-539



   409
         INREJUUL_00074841-844.


                                                      119
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   around television ads featuring former smokers aged thirty-seven to fifty-four, each discussing

   “how JUUL helped them quit smoking.”410

          262.    A striking departure from JLI’s earlier advertising campaigns and launch parties,

   the “Make the Switch” campaign was the backdrop for the fraudulent statements disseminated by

   the Youth Marketing Cover-Up Enterprise in order to protect, maintain, and expand the

   tremendous market share gained by hooking kids on nicotine: that JUUL was only ever intended

   as an alternative to smoking for existing adult smokers and JLI’s marketing was never aimed at

   youth. According to JLI’s Vice President of Marketing, the “Make the Switch” campaign was

   “an honest, straight down the middle of the fairway, very clear communication about what we’re

   trying to do as a company.”411

          263.    These statements, however, are belied by evidence of JLI’s early marketing

   campaigns and statements such as the admission by one of JLI’s engineers that “[w]e don’t think

   a lot about addiction here because we’re not trying to design a cessation product at all . . .

   anything about health is not on our mind.”412 As described elsewhere herein, JLI and its officers

   and directors directly targeted underage nonsmokers. JLI and the Altria Defendants were well

   aware that such users made up a significant percentage of JLI’s customer base in 2018—in fact,

   they counted on this customer base to grow and preserve JUUL’s market share—and that the



   410
       Angelica LaVito, Juul combats criticism with new TV ad campaign featuring adult smokers
     who quit after switching to e-cigarettes, CNBC (Jan. 8, 2019),
     https://www.cnbc.com/2019/01/07/juul-highlights-smokers-switching-to-e-cigarettes-in-ad-
     campaign.html.
   411
       Id.
   412
       Nitasha Tiku, Startup Behind the Lambo of Vaporizers Just Launched an Intelligent e-
     Cigarette, The Verge (Apr. 21, 2015), https://www.theverge.com/2015/4/21/8458629/pax-labs-
     e-cigarette-juul.


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   statements they disseminated regarding “Make the Switch” from smoking being JLI’s mission

   from the start were fraudulent.

          264.    The fraudulent nature of the “Make the Switch” campaign can literally be seen by

   comparing the campaign’s advertisements to JLI’s initial advertising, as demonstrated below.

   The fact that these advertisements are for the same product almost defies belief.




          265.    Indeed, JLI and Altria knew that the JUUL device was the opposite of a “tool[] to

   reduce or eliminate” nicotine consumption, given JUULpods’ high nicotine content, as well as


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   the delivery of nicotine to the user. According to the National Institutes of Health, the “amount

   and speed of nicotine delivery . . . plays a critical role in the potential for abuse of tobacco

   products.”413 JLI designed its product to provide the largest amount of nicotine in the fastest way

   possible. As JLI itself advertises, JUUL delivers nicotine to the bloodstream as much as 2.7

   times faster than other e-cigarettes. And, because of JLI’s unique formula of nicotine salts and

   organic acids, as described above, vaping a JUUL delivers a vapor that is extremely potent in

   terms of nicotine content but also considerably smoother than cigarettes or even other e-

   cigarettes. At some point during the coordination between JLI and Altria, but no later than the

   due-diligence period for Altria’s investment in JLI, JLI (through its employees) provided Altria

   with a copy of                         , described above.414 Therefore, both JLI and Altria also

   knew

               . If “harm reduction” and switching from cigarettes were the true goals, there would

   be no need for the highly potent 5% nicotine formulation.

          266.      Far from being a product used by adults to quit smoking, JUUL has been an

   initiation product for nonsmokers, particularly and predominantly youth. Researchers found that

   in 2018, only 7.9% of American adults had ever used USB-shaped vape devices, like JUUL, and

   only 2% of adults currently used them. 415 And as mentioned above, youth were sixteen times

   more likely to use the USB-shaped JUUL than adults. 416


   413
       CDC et al., Nicotine Addiction: Past and Present, How Tobacco Smoke Causes Disease,
     NCBI (2010), https://www.ncbi.nlm.nih.gov/books/NBK53018/#ch4.s92.
   414
       INREJUUL_00244200.
   415
       Kristy L Marynak et al., Use and reasons for use of electronic vapour products shaped like
     USB flash drivers among a national sample of adults, 28 Tobacco Control 685 (Nov. 2019),
     https://tobaccocontrol.bmj.com/content/28/6/685.
   416
       Vallone et al., supra note 230.


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          267.    Thus, JLI and Altria committed predicate acts of wire fraud when they caused the

   “Make the Switch” campaign to air on television with the fraudulent intent of deceiving the

   public, Congress, and regulators into believing that JLI is and had been focused solely on

   targeting adult smokers.

          268.    Another key aspect of the Youth Marketing Cover-Up Enterprise’s early

   coordination was Altria’s acquisition of shelf space that it would later provide to JLI in order to

   sustain the exponential growth of underage users of JUUL products. By acquiring shelf space in

   furtherance of the Youth Marketing Cover-Up Enterprise, Altria took steps to ensure that JUUL

   products would receive prominent placement alongside a top-rated brand of combustible

   cigarettes, namely, Altria’s Marlboro brand—the best-selling cigarette overall and by far the

   most popular brand among youth, as described above.417

          269.    In 2018, Altria spent approximately $100 million to secure shelf space at retailers

   for e-vapor products—purportedly for the MarkTen e-cigarette that it stopped manufacturing in

   2018, although sales data suggests this was not the true reason for purchasing the shelf space:

   Altria’s short-lived 2018 launch of its pod-based MarkTen Elite put that product in only 25,000

   stores,418 whereas its 2014 launch of the original MarkTen saw the MarkTen reaching 60,000

   stores in the first month in the western United States alone.419 Altria’s payments for shelf space

   were a mixture of “cash and display fixtures in exchange for a commitment that its e-cigarettes




   417
       See 2012 Surgeon General Report, supra note 247 at 164; see also Perks, supra note 99.
   418
       Sheila Kaplan, Altria to Stop Selling Some E-Cigarette Brands That Appeal to Youths, N.Y.
     Times (Oct. 25, 2018), https://www.nytimes.com/2018/10/25/health/altria-vaping-
     ecigarettes.html.
   419
       Kress, supra note 357.


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   would occupy prime shelf space for at least two years.”420 But Altria had no need for two years

   of prominent shelf space while it was engaged in discussions with JLI, was actively scaling back

   sales of the original MarkTen, and had no true plans for a wide launch of the MarkTen Elite.

   Instead, when Altria later announced its $12.8 billion investment in JLI, part of the agreement

   was that Altria would provide JLI with this premium shelf space.421

          270.    Altria’s purchase of shelf space in 2018 indicates that Altria and JLI were

   coordinating on the activities of the Youth Marketing Cover-Up Enterprise even before Altria

   announced its investment in JLI and demonstrates Altria’s commitment to maintaining and

   expanding JUUL’s market, including its youth market. The Youth Marketing Cover-Up

   Enterprise thus ensured that JUUL products are placed where kids are most likely to see them

   and buy them: in retail establishments, next to the most popular cigarette brand for underage

   users, Marlboro.422

                       September–December 2018: Further Coordination of the Youth
                  Marketing Cover-Up Enterprise

          271.    Throughout 2018, as public and government scrutiny of JLI’s practices

   intensified, JUUL’s market share continued to climb. In the fall of 2018, with pressure mounting,

   JLI and Altria stepped up the fraudulent practices of the Enterprise in response. Altria and JLI’s

   responses to such scrutiny reflect a coordinated, successful effort to mislead the public, including

   Plaintiff, and regulators. In reliance on JLI and Altria’s fraudulent statements and actions, JUUL


   420
       Jennifer Maloney & John McKinnon, Altria-Juul Deal Is Stuck in Antitrust Review, Wall St.
     J. (Jan. 17, 2020), https://www.wsj.com/articles/altria-juul-deal-is-stuck-in-antitrust-review-
     11579257002.
   421
       Id.
   422
       Laura Bach, Where Do Youth Get Their E-Cigarettes?, Campaign for Tobacco Free Kids
     (Dec. 3, 2019), https://www.tobaccofreekids.org/assets/factsheets/0403.pdf.


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   remained on the market without an overwhelming public outcry and enjoyed massive

   commercial success in Plaintiff’s community.

          272.    On September 25, 2018, then-FDA Commissioner Gottlieb called youth vaping an

   “epidemic” and sent letters to JLI and Altria demanding each company’s plan to reduce youth

   use, requesting a “detailed plan, including specific timeframes, to address and mitigate

   widespread use by minors.”423

          273.    On October 2, 2018, the FDA raided JLI’s headquarters and seized more than one

   thousand documents related to JLI’s sales and marketing practices.424

          274.    On October 16, 2018, JLI presented its “Action Plan” to the FDA in response to

   then-FDA Commissioner Gottlieb’s September 25, 2018 letter.
                                                                 425


                                                                                    426
                                                                                          As discussed

   below, JLI also presented this Action Plan to the public a month later.

          275.    On October 25, 2018, Altria submitted a letter in response to the FDA’s call to

   combat the youth vaping epidemic, which it published to the public on its website. 427 Altria

   claimed to have “serious concerns” about youth access to e-vapor products and admitted that the


   423
       Letters to Manufacturers Regarding Plans to Address Youth Access and Use, FDA (Sept. 12,
     2018), https://www.fda.gov/tobacco-products/rules-regulations-and-guidance/ctp-letters-
     industry#youth-access (Letters were also sent to Reynolds American, Fontem Ventures, and
     JTI).
   424
       McGinley, supra note 21.
   425
       FDA Presentation at 2, JUUL Labs, Inc. (Oct. 16, 2018); see also INREJUUL_00182989.
   426
       Id.
   427
       Letter from Howard A. Willard III, Altria Group, Inc., to Scott Gottlieb, M.D., FDA
     Commissioner (Oct. 25, 2018), https://www.altria.com/-/media/Project/Altria/Altria/about-
     altria/federal-regulation-of-tobacco/regulatory-filings/documents/Altria-Response-to-FDA-E-
     vapor-October-25-2018.pdf.


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   use of e-cigarettes by youth had risen to “epidemic levels.”428 Altria agreed to remove its pod-

   based e-cigarettes from the market and stop selling any flavored traditional e-cigarettes other

   than tobacco, menthol, and mint.429 It acknowledged that “[b]ased on the publicly available

   information from FDA and others, we believe pod-based products significantly contribute to the

   rise in youth use of e-vapor products.”430 “Although we do not believe we have a current issue

   with youth access to or use of our pod-based products, we do not want to risk contributing to the

   issue.”431 Altria’s letter went on to disclaim a number of practices that it associated with

   marketing to youth—strategies that were key components of JLI’s marketing strategy. Altria

   specifically identified the use of flavors that go beyond traditional tobacco flavors, digitally

   advertising on websites with a large percentage of youth visitors, using social media to promote

   the brand, allowing online purchases and promotional sign-ups without age verification,

   advertising e-cigarettes on billboards, advertising with models who appear to be under twenty-

   five-years old, distributing branded merchandise, and paying celebrities or other third parties to

   market or use a particular brand’s e-cigarette. Altria also claimed to support “banning vaping in

   schools” in order to reduce “social access.”432 Altria ended the letter by committing to “reverse

   the current use trend among youth.”433

            276.   On a public earnings conference call that same day, Altria repeated many of these

   statements, describing its decision to remove its pod-based products from the market as one



   428
       Id. at 1.
   429
       Id. at 2.
   430
       Id.
   431
       Id.
   432
       Id. at 3.
   433
       Id. at 5.


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   intended to address the dramatic increase in youth e-cigarette use—while knowing that it was

   only weeks away from publicly announcing a $12.8 billion investment in JLI, the company that

   ignited the youth vaping crisis:

          In September, the FDA asked several companies, including Altria, to provide
          plans to address underage use of e-vapor products. We welcomed FDA’s action
          and we agreed that the reported rise in underage use of e-vapor products is
          alarming and immediate action should be taken.434

          277.    Throughout the call, Willard repeatedly emphasized that Altria’s withdrawal of its

   own pod-based products was intended to address youth use: “[W]e really feel like in light of this

   dramatic increase in youth usage, withdrawing those products until the PMTA is filed is one path

   forward.”435 He later said, “And frankly, the actions we took were the actions that we thought we

   could take that would have the biggest impact on addressing the increased use of e-vapor

   products by youth . . . we wanted to make a significant contribution to addressing the issue.”436

          278.    Willard stated that Altria had concluded that “pod-based products and flavored

   products” were behind the increase in youth use of e-cigarettes:

          [A]s we looked at the data that is available in some of the remarks from the FDA,
          I think we concluded that the driver of the recent increase we think is pod-based
          products and flavored products and so we thought that the two actions that we
          took addressed the drivers of the increased youth usage here in the short run.437

          279.    Without saying anything about the massive investment it was about to make in

   JLI’s pod-based products, Willard declared that Altria was removing its pod-based products from



   434
       Altria Group Inc. (MO) Q3 2018 Earnings Conference Call Transcript, Motley Fool (Sept.
     30, 2018), https://www.fool.com/earnings/call-transcripts/2018/10/25/altria-group-inc-mo-q3-
     2018-earnings-conference-ca.aspx (emphasis added) (Willard’s comments).
   435
       Id.
   436
       Id.
   437
       Id. (emphasis added).


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   the market to address youth use, and it would discontinue its cig-a-like flavors other than mint,

   menthol, and tobacco:

          First, Nu Mark will remove from the market MarkTen Elite and Apex by
          MarkTen pod-based products until these products receive a market order from the
          FDA or the youth issue is otherwise addressed. Second, for our remaining
          MarkTen and Green Smoke cig-a-like products, Nu Mark will sell only tobacco,
          menthol and mint varieties. Nu Mark will discontinue the sale of all other flavor
          variants of our cig-a-like products until these products receive a market order
          from the FDA or the youth issue is otherwise addressed. Although we don’t
          believe we have a current issue with youth access or use of our e-vapor products,
          we are taking this action, because we don’t want to risk contributing to the
          issue.438

          280.    Although Altria grouped mint and menthol flavors in the same category as

   tobacco flavor, it knew from decades of selling tobacco products with these flavors that mint and

   menthol are popular with youth, no matter what tobacco product, as discussed above.

          281.    On November 5, 2018, JLI transmitted the results of its Youth Prevalence study to

   the FDA.439 Remarkably, JLI’s study concluded that only 1.5% of youth had ever used JUUL,

   and that only 0.8% of youth had used JUUL in the last thirty days.440 And

                                                                                    , JLI’s Youth

   Prevalence study suggested that Mango was four times as popular as Mint. Specifically, the

   Youth Prevalence study found that 47% of youth who reported vaping using JUUL in the last

   thirty days used Mango most often, with only about 12% reporting the same for Mint.441




   438
       Id. (emphasis added).
   439
       Engelke, Letter to David Portnoy, supra note 407.
   440
       Id.
   441
       Id. at 3.


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          282.    On November 13, 2018, JLI presented its “Action Plan” to the public, largely

   identical to what JLI had presented to the FDA in October 2018.442 JLI announced its intent to

   stop selling certain flavors in brick-and-mortar stores, restrict purchases of those flavors on the

   JUUL website to adults age twenty-one and over, and shut down its social media accounts.443

   The flavors that would be available only through JUUL.com were “Mango, Fruit, Creme, and

   Cucumber.”444 Through both JLI’s October 2018 presentation to the FDA and JLI’s Action Plan

   shared with the public in November 2018, the Youth Marketing Cover-Up Enterprise

   fraudulently characterized Mint as a “tobacco and menthol-based product,” as opposed to a

   “flavored product,” suggesting that it was a product for adult smokers. JLI include a version of

   the below image in in both the public-facing Action Plan and JLI’s presentation to the FDA.445




   442
       JUUL Labs Action Plan (“JLI November Action Plan”), JUUL Labs, Inc. (Nov. 13, 2018),
     https://newsroom.juul.com/juul-labs-action-plan/ (JLI did not include in its November Action
     Plan to the public a proposal for Bluetooth or WiFi equipped devices that was included in JLI’s
     October 2018 Action Plan to the FDA.).
   443
       Id.
   444
       Id.
   445
       Id.


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          283.    But JLI and Altria knew that non-smoking youth liked Mint as much as any

   flavor. As JLI’s internal documents confirm, Mint’s success was
                                                                                                 446
                                                                                                       JLI
                                                                          447
   knew there was                                                               and
                                                                                448
                                                                                      As alleged in a

   whistleblower complaint, JLI’s then-CEO told his employees that “You need to have an IQ of 5

   to know that when customers don’t find mango they buy mint.”449

          284.    As predicted, JLI’s sale of Mint pods rose from one third of its sales in September

   2018 to approximately two thirds in February 2019. JLI’s 2019 revenues were estimated to be

   between $2.36 billion and $3.4 billion, and Mint pods accounted for approximately 75% of JLI’s

   total 2019 sales.

          285.    Seeing that the Youth Marketing and Cover-Up’s scheme was successful, on

   December 7, 2018, Altria discontinued the production and distribution of all MarkTen and Green

   Smoke vapor products. “We remain committed to being the leader in providing adult smokers

   innovative alternative products that reduce risk, including e-vapor,” Willard explained in a




   446
       INREJUUL_00265069.
   447
       INREJUUL_00079307-409 at 395.
   448
       Id.
   449
       Angelica LaVito, Former Juul executive sues over retaliation, claims company knowingly
     sold tainted nicotine pods, CNBC (Oct. 30, 2019), https://www.cnbc.com/2019/10/30/former-
     juul-executive-sues-over-retaliation-claims-company-knowingly-sold-tainted-pods.html; Sheila
     Kaplan & Jan Hoffman, Juul Knowingly Sold Tainted Nicotine Pods, Former Executive Say,
     N.Y. Times (Nov. 20, 2019), https://www.nytimes.com/2019/10/30/health/juul-pods-
     contaminated.html (emphasis added).


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   statement to the press.450 “We do not see a path to leadership with these particular products and

   believe that now is the time to refocus our resources.”451

                        Publicly Announcing the Ties Between the Youth Marketing Cover-
                  Up Enterprise Defendants

          286.    On December 20, 2018, Altria and JLI publicly announced the collaboration that

   had been taking place, on information and belief, since late 2017. In the largest equity investment

   in United States history, Altria invested $12.8 billion in JLI.452 The announcement came less

   than two months after Altria told the FDA that it “believe[s] that pod-based products

   significantly contribute to the rise in youth use of e-vapor products” and that it accordingly

   would be removing its pod-based products from the market.453

          287.    In making this decision to place profits over public health, Altria considered that

   the e-cigarette industry would see significant year-over-year growth in the near term, and that

   “JUUL continu[es] to be a growth driver for the e-vapor category.”454 And although Altria

   claimed its investment had an altruistic motive—“we believed the transaction would give Altria

   an unprecedented opportunity to share our experience in underage tobacco prevention with

   JUUL to help address youth usage”—in reality, Altria has provided no underage / youth

   prevention services to JLI.455


   450
       Altria Shifts Gears on Innovative Products Platform, Convenience Stores News (Dec. 7,
     2018), https://csnews.com/altria-shifts-gears-innovative-products-platform.
   451
       Id.
   452
       Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and
     Drive Growth (“Altria Minority Investment”), Bus. Wire (Dec. 20, 2018),
     https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
     Investment-JUUL-Accelerate.
   453
       Willard, Letter to Gottlieb, supra note 427.
   454
       Willard, Letter to Senator Durbin, supra note 23 at 10-11.
   455
       Id. at 5.


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          288.    Altria admitted that minors were using JUUL products and that “underage use of

   e-cigarette product is a problem.”456 But Altria would not have made such a sizable investment if

   it did not intend to grow JUUL’s already enormous market even more. In fact, Altria said as

   much when announcing its infusion of cash, explaining that its investment in JLI “enhances

   future growth prospects” and committing to applying “its logistics and distribution experience to

   help JUUL expand its reach and efficiency.”457 According to Willard, Altria was “excited to

   support JUUL’s highly-talented team and offer [Altria’s] best-in-class services to build on their

   tremendous success.”458

          289.    This arrangement was profitable for both companies, as well as for Monsees,

   Bowen, Prtizker, Huh, and Valani. JLI’s employees received $2 billion in bonuses, which, split

   among the JLI’s 1,500 employees, was approximately $1.3 million per employee;459 Altria

   received millions of loyal youth customers; and Monsees, Bowen, Pritzker, Huh, and Valani

   received untold sums of money and saw the value of their shares in JLI skyrocket, allowing them

   to cash out via a special dividend and bonus, as well as through stock sales that were not

   available to other JLI minority shareholders.460 In deciding to make a huge investment in JLI,




   456
       Id.
   457
       Altria Minority Investment, supra note 452.
   458
       Id.
   459
       Olivia Zaleski, Juul Employees to Get $2 Billion Bonus in Altria Deal, Bloomberg (Dec. 20,
     2018), https://www.bloomberg.com/news/articles/2018-12-20/juul-employees-said-to-get-2-
     billion-bonus-in-altria-deal.
   460
       Tiffany Kary, JUUL Founders Sued for Self-Dealing Over Altria's $12.8 Billion, Bloomberg
     (Jan. 13, 2020), https://www.bloomberg.com/news/articles/2020-01-13/juul-founders-sued-for-
     self-dealing-over-altria-s-12-8-billion.


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   Altria took into account that the e-cigarette industry would see significant year-over-year growth

   in the near term, and that “JUUL continu[es] to be a growth driver for the e-vapor category.”461

          290.    Since the deal was inked in December 2018, Altria’s actions have clearly helped

   JUUL maintain, if not expand, its market share—a market share that, based on Altria’s own

   October 25, 2018 letter to the FDA, it believes was gained by employing marketing and

   advertising practices that contributed to youth vaping. Altria’s Second Quarter 2019 Earnings

   Call reported that JUUL continued to grow in the first half of 2019, from a 33% category share

   in 2018 to 48% by the second quarter 2019. JLI’s expected revenue for 2019 was $3.4 billion,

   nearly triple what it was in 2018.462

          291.    On a December 20, 2018 call, Altria emphasized the profit opportunity from its

   investment, while simultaneously characterizing it as an opportunity for harm reduction and

   reducing youth e-cigarette use. Willard made the following statements:

          It’s important to both Juul and us that they continue to operate with the
          entrepreneurial passion that has made them so successful;

          Let’s imagine the combination of Juul’s leading market position, brand equity and
          deep innovation pipeline with our strong retail presence, our ability to connect
          directly with adult smokers on our company’s databases while avoiding
          unintended audiences, our leading sales organization which covers approximately
          230,000 stores, and our deep regulatory affairs expertise;

          We believe the investment in Juul represents the fastest and most sustainable
          opportunity to generate the most significant income in the e-vapor category. The
          geo-economics today are attractive and we expect our strong distribution
          infrastructure to help accelerate their financial performance;


   461
      Willard, Letter to Senator Durbin, supra note 23.
   462
      Olivia Zaleski & Ellen Huet, Juul Expects Skyrocketing Sales of $3.4 Billion, Despite
    Flavored Vape Restrictions, Bloomberg (Feb. 22, 2019),
    https://www.bloomberg.com/news/articles/2019-02-22/juul-expects-skyrocketing-sales-of-3-4-
    billion-despite-flavored-vape-ban.


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          We have long said that providing adult smokers with superior, satisfying products
          with the potential to reduce harm is the best way to achieve tobacco harm
          reduction. Through Juul, we are making the biggest investment in our history
          toward that goal;

          Altria and Juul are committed to preventing kids from using any tobacco
          products. As recent studies have made clear, youth vaping is a serious problem
          which both Altria and Juul are committed to solve; and

          Together Juul and Altria will work to prevent youth usage through their
          announced initiatives, further technological developments, and increased
          advocacy for raising the minimum age of purchase for all tobacco products to
          21.463

          292.    Willard went so far as to characterize Altria’s investment in JLI as the

   culmination of decades of pursuit of harm reduction for the sake of smokers’ health and

   wellbeing:

          Almost my entire career, we have believed that our business would be better in
          the long term if we could offer harm reduced products that would represent
          attractive alternatives to our adult cigarette smokers to switch. And we have
          invested billions of dollars in it and lots of effort. And ultimately until December
          this year, we really didn’t have the product portfolio to fully achieve our harm
          reduction aspiration. And the opportunity to invest in JUUL, I think, really makes
          that harm reduction aspiration a reality.464

          293.    During Altria’s January 31, 2019 Earnings Call, Altria explained its investment in

   JLI in more detail, describing JLI as the “fastest growing e-vapor company” that

   “overwhelmingly reaccelerated” growth in the e-vapor market:

          Through JUUL, we have found a unique opportunity to not only participate
          meaningfully in the e-vapor category but to also support and even accelerate
          transition to noncombustible alternative products by adult smokers. The JUUL
          investment provides Altria with a significant stake in the largest and fastest-
          growing e-vapor company with a highly talented management team, successful
          end-market products, a strong innovation pipeline and significant international

   463
       Melissa Kress, Altria Takes ‘Significant Action’ to Prepare for Its Future, Convenience Store
     News (Dec. 21, 2018), https://csnews.com/altria-takes-significant-action-prepare-its-future.
   464
       Id.


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          opportunity. When you add to JUUL’s already substantial capabilities, our
          underage tobacco prevention expertise and ability to directly connect with adult
          smokers, we see a compelling future with long-term benefits for both adult
          tobacco consumers and our shareholders. We are excited about JUUL’s
          domestic growth and international prospects and their potential impact on our
          investment.

          . . . JUUL’s 2018 growth was quite remarkable. JUUL had net revenues in excess
          of $1 billion in 2018, up from approximately $200 million in 2017. JUUL
          overwhelmingly reaccelerated the U.S. e-vapor category growth rate, growing
          JUUL’s volume by nearly 600% to over 450 million refill kit pods.

          . . . We estimate JUUL represents over 30% of the overall e-vapor category across
          open and close systems and all trade classes. After e-vapor growth plateaued from
          2015 to 2017, rapid growth was reignited in 2018, and we expect U.S. e-vapor
          volume to grow at a compounded annual rate of 15% to 20% through 2023. As a
          reminder, Altria’s share of JUUL’s international e-vapor income would be 100%
          incremental to Altria[.]

          . . . We believe the global e-vapor and heat-not-burn segments, with estimated
          sales of roughly $23 billion in 2018, have substantial room to grow. JUUL
          currently operates in eight countries with plans for additional expansion this year.
          We expect the JUUL product features that have driven JUUL’s success in
          switching adult smokers in the U.S. to strongly appeal to international adult
          cigarette smokers.465

          294.    As these statements indicate, Altria sees significant profit potential in JLI

   repeating its commercial success overseas. But that success comes from hooking kids on

   nicotine. Altria, despite its reference to “JUUL’s success in switching adult smokers” and other

   similarly misleading statements about adult tobacco consumers, is fully aware that JUUL’s sales

   growth has not come from adult smokers. But as the president of the Campaign for Tobacco-Free




   465
      Altria Group (MO) Q4 2018 Earnings Conference Call Transcript, Motley Fool (Dec. 31,
    2018), https://www.fool.com/earnings/call-transcripts/2019/02/01/altria-group-mo-q4-2018-
    earnings-conference-call-t.aspx.


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   Kids observed upon announcement of the deal, “Altria has no interest in seriously reducing the

   number of people who smoke cigarettes.”466

          295.   Instead, Willard continued to emphasize that Altria expects to reap the benefits of

   JLI’s expansion to international markets: “Ultimately, we expect the international revenue and

   income opportunity to end up being as large as or larger than the U.S. opportunity. Our 35%

   investment was based on a deep strategic, operational and financial analysis of JUUL and the

   marketplace.”467

          296.   As Willard emphasized, Altria expected continued growth even in the U.S., with

   “a U.S. e-vapor category that grows volume between 15% to 20% annually” and “JUUL

   continuing to be the primary growth driver for the e-vapor category”—statements which are

   inconsistent with the idea of eliminating the underage and youth non-smoker sales that had

   driven JUUL to its position of dominance:

          Clearly, we look at this opportunity over the long term, but for context, let us
          provide a view five years out. Some of our independently developed key
          assumptions over the next five years that informed that analysis include: a U.S. e-
          vapor category that grows volume between 15% to 20% annually; JUUL
          continuing to be the primary growth driver for the e-vapor category; attractive
          JUUL operating margins that achieve current cigarette-like margins due to the
          benefits of increasing scale and automation in the supply chain; international
          revenues that equal domestic revenues by 2023; and international margins that
          approach current international cigarette margins. Under our assumptions, our
          investment in JUUL would generate an after-tax return exceeding our weighted
          average cost of capital in 2023.

          Additionally, with five-year e-vapor category volume growth in the range of 15%
          to 20% annually, we would expect the U.S. cigarette category volume decline rate
          to be consistent with the decline rate estimate of 4% to 5%. I’ll remind you that

   466
       Sheila Kaplan & Matt Richtel, Juul Closes Deal with Tobacco Giant Altria, N.Y. Times (Dec.
     20, 2018), https://www.nytimes.com/2018/12/20/health/juul-reaches-deal-with-tobacco-giant-
     altria.html.
   467
       Altria Q4 2018 Earnings Call Transcript, supra note 465.


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          in 2018 with e-vapor category volume growth of 35%, the cigarette category
          decline rate was 4.5%, including half of a percent headwind from gas prices.
          Combined with the earnings and cash generation engine of our core tobacco
          business, we believe this investment in JUUL will support consistent returns over
          the long term by providing Altria with a significant stake in the fastest-growing --
          in the fast-growing e-vapor category.

          And I think we agree with the other JUUL investors that its growth prospects
          are so strong that now is the time to invest in—and ultimately driving top-line
          growth.468

   Later in the call, Willard repeatedly referred to JUUL’s growth as “dramatic”:

          I have to point out that JUUL’s growth and success in the U.S. market last year
          was unique and first of its kind compared to other tobacco product successes both
          in the U.S. and overseas. I mean, the growth rate was dramatic, it represented
          the entire growth of e-vapor for the year, and it dramatically reaccelerated the
          growth of e-vapor. 469

          297.    Such “dramatic” growth was, as Altria well knew, due to the product’s viral

   popularity among teens. Willard briefly acknowledged the youth vaping crisis, stating, “Briefly

   touching on the regulatory environment, the FDA and many others are concerned about an

   epidemic of youth e-vapor usage. We share those concerns. This is an issue that we and others in

   the industry must continue to address aggressively and promptly. 470

          298.    In response to questions from an analyst at Morgan Stanley, Willard said that

   even if there is “a slowdown in growth in the next year or two” due to regulatory actions aimed

   at reducing youth use, Altria expects overall growth in JUUL sales over the next five years:

          I think with regard to the midterm forecast, one of the reasons why we selected a
          five-year period to estimate the growth rate of the e-vapor category and JUUL is a
          significant driver of that growth is, I think, there is a bit of uncertainty as to
          whether or not there’ll be a slowdown in growth in the next year or two as the
          industry works together with the FDA to drive down youth usage. And so I think

   468
       Id. (emphasis added).
   469
       Id. (emphasis added).
   470
       Id.


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             that is to be determined. But I think even taking into account the fact that there
             could be some impact in the short run, I think we’re confident in the long-term
             growth rate that we forecasted.471

             299.   Two different analysts on the call quizzed Altria about the math behind its

   projections—how was it that Altria projected 15% to 20% growth in the United States e-vapor

   category, with JUUL as the primary driver of growth in the category, while the cigarette market

   decline was only predicted to be 4% to 5% annually, and JUUL’s supposed customer base was

   primarily smokers making the switch from cigarettes to vaping? Specifically, an analyst from

   Citi asked Altria about the slide shown below, representing JUUL’s growth relative to the

   growth of the e-vapor category as a whole:

             So if I take what you’ve said about the impact basically with growth of JUUL—
             this is Slide 8, and equate that to cigarettes, it looks like the JUUL has grown
             about 0.4 billion units, which equates essentially to a 4% market share growth,
             and that's true for the whole e-cigarettes or e-vapor category. And yet you’ve also
             said that the impact of the growth of e-vapor on cigarettes is about 1.3%, 1.4%.
             So is there a right way of thinking about it, where basically two-thirds of vapor
             growth is incremental? Is that how we should think about it? And, I guess, if that
             is the right way of thinking about it, where is that increment coming from? Do
             you think it’s mostly coming from people in their 20s or what?472




   471
         Id.
   472
         Id. (emphasis added).


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                                                                                     473



          300.    Willard did not offer a full explanation but responded by saying the increase in

   the vapor growth category was coming in part from smokeless tobacco users and cigar

   smokers.474 Given the forecasted dramatic growth in vaping and the relatively modest consumer

   base for smokeless tobacco and cigar smokers, this explanation is unconvincing at best.

          301.    While JLI and Altria remain distinct corporate entities, following its equity

   investment in JLI, Altria publicly acknowledged at least some of the systemic links between

   Altria and JLI, including contractual relationships, financial ties, and continuing coordination of

   activities. Altria provides services to JLI in furtherance of the Youth Marketing Cover-Up

   Enterprise, in the areas of “direct marketing; sales, distribution and fixture services; and




   473
       Altria’s Fourth-Quarter 2018 Earnings Conference Call, Altria Client Services (Jan. 31,
     2019), http://investor.altria.com/Cache/IRCache/3ec9cf77-9d83-04fe-1ea2-
     1e2b8437afa5.PDF?O=PDF&T=&Y=&D=&FID=3ec9cf77-9d83-04fe-1ea2-
     1e2b8437afa5&iid=4087349.
   474
       Altria Q4 2018 Earnings Call Transcript, supra note 465.


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   regulatory affairs.”475 These services included “[p]roviding regulatory affairs consulting and

   related services to Juul as it prepares its PMTA application.”476

             302.

                                           :477




             303.   JLI and Altria also agreed to cross-market JUUL with Marlboro cigarettes. For

   example, Altria offered coupons for JUUL starter kits inside packs of Marlboro cigarettes.478




   475
         Altria’s October 14, 2019 letter to Senator Durbin et al., by Howard Willard III at 11 (2019).
   476
         Id. at 13.
   477
   478
                                                                                                          ;
    Points for us!, Reddit (Sept. 16, 2019),
    https://www.reddit.com/r/juul/comments/d50jku/points_for_us/ (depicting an image of a
    Marlboro carton with a JUUL starter kit coupon inside that a member of the public purchased).


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          304.    These coupons, however, were more for show than anything else. In response to

   analyst questions about the JUUL coupons in Marlboro packs, Willard explained that Altria did

   not actually expect these coupons to cut into Marlboro sales, for two reasons. First, he said that

   cigarette smokers were already aware of JUUL:

          So I think with regard to your question about putting JUUL inserts on our
          cigarette packs . . . theoretically, I guess, it could result in a bit more volume


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             coming out of Marlboro. But I think that that is unlikely to be the case. And I
             say that for really two reasons. I think there’s already very high awareness among
             all cigarette -- adult cigarette smokers and, frankly, all Marlboro smokers about
             the availability of JUUL. So I think that a lot of that awareness has already been
             established. I wouldn’t expect a big incremental uptick from those onserts.479

             305.   The second reason Willard gave is that JUUL is popular with younger customers,

   although he was careful to reference that group as twenty-one to twenty-nine-year-olds:

             And then secondly, I would point out that I think JUUL tends to get more of its
             growth from the 21- to 29-year-old cigarette smoker than it does from the 30-
             plus cigarette smoker. And if you think about it, I think, as we’ve communicated
             in the past, Marlboro’s share of those 21- to 29-year-old smokers is about equal to
             its overall share. But there are several other cigarette brands that are
             overdeveloped among 21- to 29-year olds, such as Newport, Camel or Natural
             American Spirit that, frankly, might actually give up more volume on a relative
             basis than Marlboro.480

             306.   By including JUUL coupons in Marlboro packs, the Enterprise creates the

   impression of marketing JUUL to existing smokers, to “Make the Switch.” But neither Altria nor

   JLI expect a significant migration of Marlboro customers to JUUL. As Altria and JLI know, and

   as reflected by the analysts’ inquiries about the growth of the e-vapor category compared to the

   decline in the cigarette category, JUUL sales depend on nonsmokers.

             307.   Altria also, through its provision of “services,” actively sought to assist JLI in

   staving off regulation and keeping its products on the market and available to kids and the public

   at large and allow it to remain accessible in Plaintiff’s community. Altria is and was working to

   actively help run the Youth Marketing Cover-Up Enterprise’s operations and expand sales of

   JULL products. Altria’s investment brings legal and regulatory benefits to JLI, by helping to




   479
         Altria Q4 2018 Earnings Call Transcript, supra note 465 (emphasis added).
   480
         Id. (emphasis added).


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   navigate the regulatory waters and FDA pressure while continuing to deceive the public about

   JLI’s youth marketing.

           308.    From its decades of experience dealing with regulators, Altria knows the critical

   importance of influence in Washington. Altria “has a potent lobbying network in Washington

   [D.C.] and around the country,”481 and a significant priority for the Enterprise is expanding JLI’s

   connections to Washington insiders. In September 2018, for example, Andrew Perraut joined JLI

   as the Deputy Director of Public Policy; Perraut was previously a policy analyst for the White

   House Office of Information and Regulatory Affairs (“OIRA”) and the lead for all regulatory

   issues for tobacco for six years. In fact, Perraut participated in the redrafting of the FDA’s

   proposed deeming regulations regarding e-cigarettes before the proposed rule was published in

   2014. But by the time the tobacco industry was meeting with the agency in 2015, Perraut was on

   the other side of the table, representing an organization called Cigar Rights of America, along

   with others, to lobby against restrictions. As Perraut explained in an interview, this agency

   review period is not a well-publicized opportunity for influence: “The OIRA process is very

   intentionally a little bit under the radar. . . . Parties are generally fairly informed on how to

   submit their comments [to the FDA]; folks are much less informed about how to engage during

   the White House review.”482




   481
       Shelia Kaplan, In Washington, Juul Vows to Curb Youth Vaping. Its Lobbying in States Runs
     Counter to That Pledge, N.Y. Times (Apr. 28, 2019),
     https://www.nytimes.com/2019/04/28/health/juul-lobbying-statesecigarettes.html.
   482
       Melissa Vonder Haar, Deeming: Still Time to Comment, A Washington insider’s view on e-
     vapor and the rulemaking process, CSP Daily (May 20, 2015),
     https://www.cspdailynews.com/tobacco/deeming-still-time-comment.


                                                     143
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          309.    Altria’s lobbying prowess in the area of e-cigarettes was on display in the context

   of the FDA’s deeming rule. First, notwithstanding Altria’s professed concern about flavors

   attracting youth customers, Altria submitted comments in August 2014 in response to the

   proposed rule opposing the regulation of flavors. Altria asserted that restrictions could result in

   more illicit sales, and that adults also liked fruity and sweet e-cigarette flavors. Then, in April

   2015, Altria distributed draft legislation on Capitol Hill that would eliminate the new

   requirement that most e-cigarettes already on sale in the United States be evaluated retroactively

   to determine if they are “appropriate for the protection of public health.” Altria delivered its

   proposal, F.D.A. Deeming Clarification Act of 2015, to Representative Tom Cole of Oklahoma,

   who introduced the bill two weeks later using Altria’s draft verbatim. Seventy other

   representatives signed on to Altria’s legislation.

          310.    Altria brings this lobbying muscle to the Youth Marketing Cover-Up Enterprise.

   While an Altria spokesman has denied that there was any contractual services agreement for

   lobbying between JLI and Altria, he admitted that he did not know what informal advice and

   conversations Altria has had with JLI about lobbying and efforts. Vince Willmore, a spokesman

   for the Campaign for Tobacco-Free Kids, which has been involved in many state lobbying

   battles, said, “It’s hard to say where Altria ends and Juul begins.”483 Since JLI and Altria joined

   forces, JLI’s spending on lobbying has risen significantly. JLI spent $4.28 million on lobbying in

   2019, compared to $1.64 million in 2018.484 Successful lobbying efforts directly further Altria



   483
      Kaplan, In Washington, Juul Vows to Curb Youth Vaping, supra note 481.
   484
      Center for Responsive Politics, Client Profile: JUUL Labs,
    https://www.opensecrets.org/federal-lobbying/clients/summary?cycle=2019&id=D000070920
    (last visited Mar. 28, 2020).


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   and JLI’s goal of deceiving the public by preventing regulators from drawing public attention to

   JLI’s prior youth marketing.

          311.    In addition, Altria’s arrangement with JLI gives JLI greater access to retail

   opportunities. JUUL products have been in 90,000 retail outlets in the United States, while Altria

   reaches 230,000 outlets in the United States. Altria also brought its logistics and distribution

   experience (although, after increasing public scrutiny, Altria announced on January 30, 2020 that

   it would limit its support to regulatory efforts beginning in March 2020485). And importantly, as

   noted above, Altria gives JLI access to shelf space that it had obtained under fraudulent

   pretenses. This is not just any shelf space; it is space near Altria’s products and retail displays.

   The arrangement allows JUUL to receive prominent placement alongside a top-rated brand of

   combustible cigarettes among youth.

          312.    Beyond the services Altria provides for the Youth Marketing Cover-Up

   Enterprise, Altria and JLI share leadership. Altria’s investment allows it to appoint one-third of

   JLI’s Board. In addition, in October 2019, JLI’s CEO resigned to be replaced by another career

   Altria executive, K.C. Crosthwaite. Crosthwaite had most recently served as the vice president

   and chief growth officer of Altria Client Services, overseeing the company’s work, including

   digital marketing, packaging design and innovation, product development, and safety, health, and

   environmental affairs. Crosthwaite knows Big Tobacco’s playbook all too well, having

   previously served as the president and CEO of Phillip Morris USA, the vice president and

   general manager at Marlboro—the leading cigarette brand among youth. In addition, Joe


   485
      Nathan Bomey, Marlboro maker Altria distances itself from vaping giant Juul amid legal
    scrutiny, USA Today (Jan. 31, 2020), https://www.usatoday.com/story/money/2020/01/31/juul-
    altria-distances-itself-e-cigarette-maker-amid-scrutiny/4618993002/.


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   Murillo, who headed regulatory affairs for Altria and previously ran Altria’s e-cigarette business,

   Nu Mark, is now JLI’s Chief Regulatory Officer.486

          313.    The relationship between JLI and Altria did not go unnoticed. By February 2019,

   the FDA became aware that it had been deceived by JLI and Altria. On February 6, 2019, then-

   FDA commissioner Gottlieb wrote JLI and Altria demanding in-person meetings, excoriating

   Altria for its “newly announced plans with JUUL [that] contradict the commitments you made to

   the FDA” in a prior meeting and Willard’s October 25, 2018 letter to the FDA.487 Gottlieb’s

   letter to JLI alleged that JLI’s conduct was “inconsistent with its previous representations to the

   FDA.”488

          314.    The FDA demanded Altria be prepared to explain itself regarding its “plans to

   stop marketing e-cigarettes and to address the crisis of youth use of e-cigarettes.” Then-FDA

   Commissioner Gottlieb told Altria that “deeply concerning data” shows that “youth use of JUUL

   represents a significant proportion of overall use of e-cigarette products by children” and despite

   any alleged steps the companies had taken to address the issue he “ha[d] no reason to believe

   these youth patterns of use are abating in the near term, and they certainly do not appear to be

   reversing.”




   486
       Jennifer Maloney, Juul Hires Another Top Altria Executive, Wall St. J. (Oct. 1, 2019),
     available at https://www.wsj.com/articles/juul-hires-another-top-altriaexecutive-11569971306.
   487
       Letter from Scott Gottlieb, M.D., FDA Commissioner, to Howard A. Willard III, Altria
     Group, Inc. (Feb. 9, 2019) (emphasis added).
   488
       Letter from Scott Gottlieb, M.D., FDA Commissioner, to Kevin Burns, JUUL Labs, Inc. (Feb.
     9, 2019).


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          315.    JLI and Altria met with Gottlieb in March 2019 in a meeting the then-FDA

   Commissioner described as “difficult.”489 Gottlieb “did not come away with any evidence that

   public health concerns drove Altria’s decision to invest in JLI, and instead said it looked like a

   business decision. According to reporting by The New York Times, Gottlieb angrily criticized

   JLI’s lobbying of Congress and the White House, stating:

          We have taken your meetings, returned your calls and I had personally met with
          you more times than I met with any other regulated company, and yet you still
          tried to go around us to the Hill and White House and undermine our public
          health efforts. I was trying to curb the illegal use by kids of your product and you
          are fighting me on it.”490

          316.    But just a week after the “difficult” meeting with JLI and Altria, Gottlieb posted a

   statement about the FDA’s new e-cigarette policy, proposing to ban all flavors except “tobacco-,

   mint- and menthol-flavored products.”491 He cited the strong support of President Trump (whose

   administration JLI had aggressively lobbied492), and also cited “recent evidence indicat[ing] that

   mint- and menthol-flavored ENDS products are preferred more by adults than minors.”493 JLI

   and Altria’s success in getting the FDA to adopt their fraudulent claim that Mint was a traditional



   489
       Kate Rooney & Angelica LaVito, Altria Shares Fall After FDA’s Gottlieb Describes
     ‘Difficult’ Meeting on Juul, CNBC (Mar. 19, 2019), https://www.cnbc.com/2019/03/19/altria-
     shares-fall-after-fdas-gottlieb-describes-difficult-meeting-on-juul.html
   490
       Creswell & Kaplan, supra note 217.
   491
       Statement from FDA Commissioner Scott Gottlieb, M.D., on advancing new policies aimed
     at preventing youth access to, and appeal of, flavored tobacco products, including e-cigarettes
     and cigars, FDA (Mar. 13, 2019), https://www.fda.gov/news-events/press-
     announcements/statement-fda-commissioner-scott-gottlieb-md-advancing-new-policies-aimed-
     preventing-youth-access.
   492
       Evan Sully & Ben Brody, JLI Spent Record $1.2 Million Lobbying as Regulators Stepped Up,
     Wash. Post (Oct. 22, 2019), https://www.washingtonpost.com/business/on-small-business/juul-
     spent-record-12-million-lobbying-as-regulators-stepped-up/2019/10/22/2a0dbc52-f4de-11e9-
     b2d2-1f37c9d82dbb_story.html.
   493
       Id.


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   tobacco flavor was crucial to their mission to deceive the public into thinking that JLI does not

   market to youth despite JLI continuing to sell Mint JUULpods. Just a few weeks later, Gottlieb

   resigned from his position as FDA Commissioner.

          317.    The cover-up activities of the Enterprise are ongoing. The Youth Marketing

   Cover-Up Enterprise has recently taken another page out of Big Tobacco’s playbook, in working

   to manufacture a “grassroots” campaign of adult JUUL users—what some call an “Astroturf

   campaign.” In June 2019, the Enterprise retained Locust Street, another DC-based political and

   communications consultant, and what some have called a “political dark arts” firm. The

   Enterprise Defendants hired Locust Street to sway public opinion in New York in response to the

   state’s contemplated ban on flavored e-cigarettes. As part of this effort, Locust Street contacted

   adult JUUL customers by phone and/or email to encourage them to share their “switch story”:

          My name is [redacted] and I am an Outreach Specialist with Locust Street
          Community Solutions. I’m reaching out to you on behalf of Juul Labs, who has
          contracted with Locust Street to support its services and collect success stories
          from New Yorkers who have made the switch to Juul from combustible
          cigarettes. We received your information as a Juul user from Juul Labs and we are
          only using this contact information to support our services on behalf of the
          company and to discuss your “switch story.”

          I attempted to reach you by phone, but I’m emailing in case this is an easier way
          to get in touch. I hope that we can talk to discuss your experience with Juul
          products.

          Please feel free to give me a call back at [redacted] or reply to this email if you’d
          like to share your story!494




   494
      Katie Notopoulos, Juul Is Giving Its Customer Data To Its PR Firm, BuzzFeed News (Sept.
    5, 2019), https://www.buzzfeednews.com/article/katienotopoulos/juul-user-privacy-publicity-
    new-york.


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          318.    This sort of fake “grassroots” campaign was a technique utilized by Big Tobacco

   in decades past to device the public. According to Sarah Milov, an assistant professor of history

   at the University of Virginia and the author of The Cigarette: A Political History, Big Tobacco

   companies “pioneered techniques of manufacturing popular outrage to proposed regulations on

   cigarettes because grassroots anti-smoking campaigns were beginning to gain traction in the

   1970s.”495

          319.    JLI and Altria’s “Make the Switch” campaign was also fraudulent because,

   despite what it represented to the public, JLI does not have authority to claim that JUUL is

   healthier than cigarettes. On September 9, 2019, the FDA warned JLI that it had violated federal

   law by making unauthorized representations that JUUL products are safer than cigarettes.496

          320.    On October 17, 2019, JLI announced that it would suspend the sale of certain

   JUUL flavors online.497 However, this likely had minimal impact given that JLI was continuing

   to sell the mint and menthol flavors, which both JLI and Altria knew to be popular flavors with

   youth, as discussed above. Recent research confirmed that 60% of high school JUUL users prefer

   Mint and menthol.498 As former New York City Mayor Mike Bloomberg stated, “JUUL’s

   decision to keep mint- and menthol-flavored e-cigarettes on the shelves is a page right out of the


   495
       Alex Norcia, Get Ready for JUUL's Grassroots Rebrand, VICE (Oct. 3, 2019),
     https://www.vice.com/en_us/article/qvgwmp/get-ready-for-juuls-grassroots-rebrand.
   496
       Juul Labs, Inc. Warning Letter, FDA (Sept. 9, 2019), https://www.fda.gov/inspections-
     compliance-enforcement-and-criminal-investigations/warning-letters/juul-labs-inc-590950-
     09092019.
   497
       Allison Aubrey, Juul Suspends Sales of Flavored Vapes and Signs Settlement to Stop
     Marketing to Youth, NPR (Oct. 17, 2019), https://www.npr.org/sections/health-
     shots/2019/10/17/771098368/juul-suspends-sales-of-flavored-vapes-and-signs-settlement-to-
     stop-marketing-to-.
   498
       Lindsey Tanner, US teen vaping numbers climb, fueled by Juul & mint flavor, Associated
     Press (Nov. 5, 2019), https://apnews.com/8151770f69fd43c4b132854a335d0ef1.


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   tobacco industry’s playbook.”499 Almost a month later, JLI announced that it would stop selling

   Mint, but it continues to sell its Menthol JUUL products.500

          321.    Showing that JLI’s so-called remedial measures have been about swaying public

   opinion and not about preventing youth access to JUUL, JLI’s purported attempts to limit the

   sale of flavored JUUL products have not been effective. On November 4, 2019, VICE Magazine

   reported that when it visited more than twenty stores in New York City, all but two of the stores

   selling JUUL products had at least one of the banned flavors available in stores, including

   Mango.501 Some of these stores were displaying these products even after JLI announced that it

   would suspend the sale of certain flavors online. According to one bodega owner, the last time a

   JLI representative came into his store, flavored pods including Mango were on display, but the

   representative said nothing about them.502 Photographs taken for that article showed both

   Mango-flavored JUULpods and flavored Eonsmoke products still being sold side by side as

   recently as mid-October 2019.

          J.      The Cost of JUUL’s Success

          322.    JLI’s success in addicting a new generation to nicotine, and Altria’s support to

   insulate JLI from a public outcry that could have mitigated this harm, have come at a terrible cost

   to public health. On December 28, 2018, the University of Michigan’s National Adolescent Drug

   Trends for 2018 reported that increases in adolescent e-cigarette use from 2017 to 2018 were the



   499
       Id.
   500
       Associated Press, Juul Halts Sales of Mint, Its Top-Selling e-Cigarette Flavor, N.Y. Times
     (Nov. 7, 2019), https://www.nytimes.com/aponline/2019/11/07/health/bc-us-med-juul-
     flavor.html.
   501
       Smothers, supra note 312.
   502
       Id.


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   “largest ever recorded in the past 43 years for any adolescent substance use outcome in the

   U.S.”503

          323.    The percentage of twelfth grade students who reported consuming nicotine almost

   doubled between 2017 and 2018, rising from 11% to 20.9%.504 This increase was “twice as large

   as the previous record for largest-ever increase among past 30-day outcomes in twelfth grade.”

          324.    By 2018 approximately 3.6 million middle and high school students were

   consuming e-cigarettes regularly,505 and one in five twelfth graders reported using an e-cigarette

   containing nicotine in the last thirty days.506 As of late 2019, five million students reported active

   use of e-cigarettes, with 27.5% of high school students and 10.5% of middle school students

   using them within the last thirty days and with most youth reporting JUUL as their usual

   brand.507




   503
       National Adolescent Drug Trends in 2018, Univ. of Mich. Inst. for Soc. Res. (Dec. 17, 2018),
     http://monitoringthefuture.org/pressreleases/18drugpr.pdf.
   504
       Teens Using Vaping Devices in Record Numbers, Nat’l Insts. of Health (Dec. 17, 2018),
     https://www.nih.gov/news-events/news-releases/teens-using-vaping-devices-record-numbers.
   505
       See Jan Hoffman, Addicted to Vaped Nicotine, Teenagers Have no Clear Path to Quitting,
     N.Y. Times (Dec. 18, 2018), https://www.nytimes.com/2018/12/18/health/vaping-nicotine-
     teenagers.html.
   506
       Id.
   507
       National Youth Tobacco Survey (2019), supra note 6; Cullen, supra note 250.


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          325.     The Secretary of HHS declared that “[w]e have never seen use of any substance

   by America’s young people rise as rapidly as e-cigarette use [is rising].”508 Then-FDA

   Commissioner Gottlieb described the increase in e-cigarette consumption as an “almost

   ubiquitous—and dangerous—trend” that is responsible for an “epidemic” of nicotine use among

   teenagers.509 The rapid—indeed infectious—adoption of e-cigarettes “reverse[s] years of

   favorable trends in our nation’s fight to prevent youth addiction to tobacco products.”510 CDC

   Director Robert Redfield agreed, “The skyrocketing growth of young people’s e-cigarette use

   over the past year threatens to erase progress made in reducing tobacco use. It’s putting a new

   generation at risk for nicotine addiction.”511 Then-Commissioner Gottlieb identified the two

   primary forces driving the epidemic as “youth appeal and youth access to flavored tobacco

   products.”512

          326.     Within days of the FDA’s declaration of an epidemic, Surgeon General Dr.

   Jerome Adams also warned that the “epidemic of youth e-cigarette use” could condemn a

   generation to “a lifetime of nicotine addiction and associated health risks.”513 The Surgeon

   General’s 2018 Advisory states that JUUL, with its combination of non-irritating vapor and

   potent nicotine hit, “is of particular concern for young people, because it could make it easier for




   508
       Hoffman, supra note 12; Bahl, supra note 12.
   509
       FDA Launches New, Comprehensive Campaign to Warn Kids About the Dangers of E-
     Cigarette Use as Part of Agency’s Youth Tobacco Prevention Plan, Amid Evidence of Sharply
     Rising Use Among Kids, FDA (Sept. 18, 2018), https://www.fda.gov/NewsEvents/Newsroom/
     PressAnnouncements/ucm620788.htm.
   510
       Id.
   511
       Vera, supra note 10.
   512
       Id.
   513
       Adams, supra note 2.


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   them to initiate the use of nicotine . . . and also could make it easier to progress to regular e-

   cigarette use and nicotine dependence.”514

           327.   As described above, JUUL uses patented nicotine salts rather than freebase

   nicotine. 515 Similarly, Big Tobacco and Eonsmoke launched their own JUUL lookalikes, using

   the same high concentrations of nicotine, formulated in the same manner; myblu contains 4.0%

   nicotine salts, Vuse Alto contains 5.0% nicotine salts, and Eonsmoke’s products contain 6.8%

   nicotine. 516 Between 2013 and 2018, the average nicotine concentration in e-cigarettes more than

   doubled. 517

           328.   The increased nicotine exposure facilitated by JUUL and similar vape devices has

   serious health consequences. The ease of use and “smoothness” strip away external inhibitors

   and enable extreme levels of unfettered use. Using JLI’s own calculations, consuming two

   JUULpods in a day is the equivalent of consuming two to four packs of cigarettes a day. In this

   way, JLI has not only cultivated a new generation of e-cigarette smokers, but it has also

   accelerated a new style of smoking—vaping—that is more nicotine-saturated than ever before.

   Kids are consuming so much nicotine that they are experiencing symptoms of nicotine toxicity,

   including headaches, nausea, sweating, and dizziness, and they have even coined a term for it:

   “nic sick.” As one high school student explained to CBS News, it “kinda seems like a really bad


   514
       Id.
   515
       Becker, supra note 319.
   516
       About INTENSE Flavors, blu, https://www.blu.com/en/US/explore/explore-vaping/about-blu-
     products/about-blu-intense-flavors (last visited Mar. 28, 2020); faqs, Vuse Vapor,
     https://vusevapor.com/faqs/product/ (last visited Mar. 28, 2020); Eonsmoke Product, supra
     note 341.
   517
       Alexa R. Romberg et al., Patterns of nicotine concentration in electronic cigarettes sold in
     the United States, 2013-2018, 203 Drug & Alcohol Dependence 1 (2019),
     https://www.sciencedirect.com/science/article/abs/pii/S0376871619302571.


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   flu, like, just out of nowhere. Your face goes pale, you start throwing up and stuff, and you just

   feel horrible.”518

           329.    Increased rates and duration of vaping lead to greater overall exposure to nicotine.

   Nicotine is a highly addictive neurotoxin. Nicotine’s addictive properties are similar to heroin

   and cocaine. 519 Nicotine fosters addiction through the brain’s “reward” pathway. Both a

   stimulant and a relaxant, nicotine affects the central nervous system; increases blood pressure,

   pulse, and metabolic rate; constricts blood vessels of the heart and skin; and causes muscle

   relaxation. Long-term exposure to nicotine causes upregulation—an increase in the number of

   these high-affinity nicotinic receptors in the brain. When nicotine binds to these receptors it

   triggers a series of physiological effects in the user that are perceived as a “buzz” that includes

   pleasure, happiness, arousal, and relaxation of stress and anxiety. With regular nicotine use,

   however, these feelings diminish, and the user must consume increasing amounts of nicotine to

   achieve the same effects.

           330.    Youth are particularly vulnerable to nicotine addiction, as Defendants know well.

   As described by the Surgeon General, “Tobacco use is a pediatric epidemic.” Nine out of ten

   smokers begin by age eighteen and 80% who begin as teens will smoke into adulthood.520

           331.    The above statements apply equally, if not more so, to e-cigarettes. Further, the

   Surgeon General has explained how the nicotine in e-cigarettes affects the developing brain and


   518
       High school students say about 20% of their peers are vaping, some as young as 8th grade,
     CBS News (Aug. 30, 2019), https://www.cbsnews.com/news/high-school-students-say-about-
     20-of-their-peers-are-vaping-some-as-young-as-8th-grade/.
   519
       See e.g., U.S. Dep’t of Health & Human Servs., The Health Consequences of Smoking:
     Nicotine Addiction, A Report of the Surgeon General, DHHS Publication Number (CDC) 88-
     8406 (1988), https://stacks.cdc.gov/view/cdc/22014/cdc_22014_DS1.pdf.
   520
       2012 Surgeon General Report, supra note 247 at 1.


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   can addict kids more easily than adults: “Until about age 25, the brain is still growing. Each time

   a new memory is created, or a new skill is learned, stronger connections—or synapses—are built

   between brain cells. Young people’s brains build synapses faster than adult brains. Because

   addiction is a form of learning, adolescents can get addicted more easily than adults.”521

          332.    Studies confirm that exposure to nicotine as a teen—even minimal exposure—

   biologically primes the brain for addiction and greatly increases likelihood of dependence on

   nicotine as well as other substances later in life. 522 In a study done on mice, even “very brief,

   low-dose exposure to nicotine in early adolescence increases the rewarding properties of other

   drugs, including alcohol, cocaine, methamphetamine—and these are long-term changes.”523

   E-cigarette use also puts adolescents at increased risk for cigarette smoking. Compared to

   adolescents who do not use e-cigarettes, those who do are four times more likely to begin

   smoking cigarettes.524

          333.    The use of flavors only amplifies vape devices’ addictive qualities. Research done

   by Nii Addy, Associate Professor of psychiatry and cellular and molecular physiology at the

   Yale University School of Medicine, found that “sweet flavors can make the nicotine more




   521
       Know The Risks: E-Cigarettes & Young People, U.S. Dep’t Health & Human Servs., https://e-
     cigarettes.surgeongeneral.gov/knowtherisks.html (last visited Mar. 20, 2020).
   522
       Principles of Adolescent Substance Use Disorder: A Research Based Guide, Nat’l Inst. on
     Drug Abuse (2014), https://www.drugabuse.gov/publications/principles-adolescent-substance-
     use-disorder-treatment-research-based-guide/introduction.
   523
       Jon Hamilton, How Vaping Nicotine Can Affect A Teenage Brain, NPR (Oct. 10, 2019),
     https://www.npr.org/sections/health-shots/2019/10/10/768588170/how-vaping-nicotine-can-
     affect-a-teenage-brain.
   524
       Kaitlyn M. Berry et al., Association of Electronic Cigarette Use with Subsequent Initiation of
     Tobacco Cigarettes in US Youths, JAMA Network Open (Feb. 1, 2019),
     https://jamanetwork.com/journals/jamanetworkopen/fullarticle/2723425.


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   palatable . . . but also act in the brain to increase nicotine taking.”525 This effect is especially

   troubling for teenage brains, which are more sensitive than adult brains to rewards. According to

   University of Pennsylvania psychologist Janet Audrain-McGovern, research shows that “if the

   first e-cigarette you used was flavored, then you’re more likely to go on and use an e-cigarette

   again.”526

           334.    As Dr. Winickoff explained in his testimony before Congress:

           Nicotine addiction can take hold in only a few days, especially in the developing
           adolescent brain that is particularly vulnerable to addiction to nicotine. . . . Many
           of my patients find Juul nearly impossible to stop. Nicotine withdrawal can cause
           headaches, insomnia, irritability, anxiety, and depression, and these withdrawal
           symptoms are one of the primary reasons a nicotine addiction is difficult to
           overcome.”527

           335.    Moreover, there is a lack of effective tools to help adolescents overcome nicotine

   addiction: there is no good data on how to treat adolescents with e-cigarette dependence; there

   has not been enough research on youth tobacco cessation strategies; and most of the

   pharmacological therapies approved for adults have been shown to be ineffective or only

   marginally effective in adolescents.528

           336.    Research indicates that daily e-cigarette use is much more likely to continue than

   daily cigarette smoking. Out of surveyed students who reported ever using cigarettes daily, only

   17% indicated that they remained daily smokers.529 Out of surveyed students who reported ever

   using e-cigarettes daily, 58% remained daily users.530 This data demonstrates both that e-


   525
       Hamilton, supra note 523.
   526
       Id.
   527
       Winickoff Testimony, supra note 253 at 2.
   528
       Id.
   529
       Id.
   530
       Id.


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   cigarette use in teens is very persistent, a result consistent with the addictiveness of these

   products and the difficulty youth have in trying to quit.531

          337.    The effects of nicotine exposure on the brain of youth and young adults include

   not only addiction, priming for use of other addictive substances, but also reduced impulse

   control, deficits in attention and cognition, and mood disorders.532 A psychoactive substance that

   targets brain areas involved in emotional and cognitive processing, nicotine poses a particularly

   potent threat to the adolescent brain, as it can “derange the normal course of brain maturation

   and have lasting consequences for cognitive ability, mental health, and even personality.”533

   Animal researchers from Yale University School of Medicine found that vaping during

   adolescence can lead to long-term brain changes, like attention deficit hyperactivity disorder.534

          338.    The dangerous and destructive nature of nicotine is no recent discovery. As a key

   ingredient in tobacco products, the drug and its deleterious effects have been the subject of

   scientific research and public health warnings for decades. Nicotine causes cardiovascular,

   reproductive, and immunosuppressive problems with devastating effects. In 2014, the Surgeon

   General reported that nicotine addiction is the “fundamental reason” that individuals persist in

   using tobacco products, and this persistent tobacco use contributes to millions of needless deaths



   531
       Id.
   532
       Menglu Yuan et al., Nicotine and the Adolescent Brain, 593 J. of Physiology 3397 (2015),
     www.ncbi.nlm.nih.gov/pmc/articles/PMC4560573/; U.S Surgeon General and U.S. Centers for
     Disease Control & Prevention, Office on Smoking and Health, Know the Risks: E-Cigarettes
     and Young People (2019), https://e-cigarettes.surgeongeneral.gov/.
   533
       N.A. Goriounova & H.D. Mansvelder, Short- and Long-Term Consequences of Nicotine
     Exposure during Adolescence for Prefrontal Cortex Neuronal Network Function, Cold Spring
     Harbor Persp. in Med. 2(12) (Dec. 2012),
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3543069/.
   534
       Hamilton, supra note 523.


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   and many diseases, including diseases that affect the heart and blood vessels (cardiovascular

   disease), lung diseases (chronic obstructive pulmonary disease (“COPD”) and lung cancer),

   cancer almost anywhere in the body, and birth defects. Part of the reason the national decline in

   cigarette use in recent years was such a victory for public health was because there was a

   corresponding decline in youth exposure to nicotine. From 2000 to 2017, the smoking rate

   among high school students fell by 73%.535

          339.    In June 2014, the CDC reported that “by achieving a teen smoking rate of 15.7

   percent, the United States has met its national Healthy People 2020 objective of reducing

   adolescent cigarette use to 16 percent or less.”536 The Surgeon General reported in 2014:

          We are at a historic moment in our fight to end the epidemic of tobacco use that
          continues to kill more of our citizens than any other preventable cause. The good
          news is that we know which strategies work best. By applying these strategies
          more fully and more aggressively, we can move closer to our goal of making the
          next generation tobacco-free.”537

          340.    That trend has completely reversed. In 2018, more than one in four high school

   students in the United States reported using a tobacco product in the past thirty days, a dramatic

   increase from just one year before.538 But there was no increase in the use of cigarettes, cigars, or




   535
       Matthew L. Myers, On 20th Anniversary of State Tobacco Settlement (the MSA), It’s Time for
     Bold Action to Finish the Fight Against Tobacco, Campaign for Tobacco-Free Kids (Nov. 26,
     2018), https://www.tobaccofreekids.org/press-releases/2018_11_26_msa20.
   536
       Current cigarette smoking among U.S. high school students lowest in 22 years, CDC (June
     12, 2014), https://www.cdc.gov/media/releases/2014/p0612-YRBS.html.
   537
       LET’S MAKE THE NEXT GENERATION TOBACCO-FREE: Your Guide to the 50th
     Anniversary Surgeon General’s Report on Smoking and Health, U.S. Dep’t of Health & Human
     Servs. (2014), https://www.hhs.gov/sites/default/files/consequences-smoking-consumer-
     guide.pdf.
   538
       Progress Erased: Youth Tobacco Use Increased During 2017-2018, CDC (Feb. 11, 2019),
     https://www.cdc.gov/media/releases/2019/p0211-youth-tobacco-use-increased.html.


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   hookahs during that same time period.539 There was only increased use in a single tobacco

   product: e-cigarettes. While use of all other tobacco products continued to decrease as it had

   been for decades, e-cigarette use increased 78% in just one year.540 This drastic reversal caused

   the CDC to describe youth vaping an “epidemic.”541




          341.    The teen vaping epidemic has had, and will continue to have, significant costs for

   individual users and society alike. Nicotine addiction alone carries significant health

   consequences, and these are exacerbated when adolescents are involved. Adolescent nicotine



   539
       Tobacco Use By Youth Is Rising: E-Cigarettes are the Main Reason, CDC (Feb. 2019),
     https://www.cdc.gov/vitalsigns/youth-tobacco-use/index.html.
   540
       Scott Gottlieb, Statement from FDA Commissioner Scott Gottlieb, M.D., on proposed new
     steps to protect youth by preventing access to flavored tobacco products and banning menthol
     in cigarettes, FDA (Nov. 15, 2018), https://www.fda.gov/news-events/press-
     announcements/statement-fda-commissioner-scott-gottlieb-md-proposed-new-steps-protect-
     youth-preventing-access.
   541
       Adams, supra note 2.


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   addiction leads to memory and attention problems, and increases chances of addiction later in

   life, all of which will continue to have long-lasting impacts on society.

          342.    Science is also beginning to show that e-cigarettes have the potential to cause

   even more distinct health risks and costs. E-cigarettes were initially considered to be a safer

   alternative to cigarettes, but recent studies done on rats and mice have demonstrated results that

   they are “as damaging to pulmonary structures as traditional tobacco cigarettes.”542 Mice

   exposed to e-cigarette fluids containing nicotine experienced effects that are associated with

   chronic obstructive pulmonary disease, such as cytokine expression, airway hyper-reactivity, and

   lung tissue destruction.543 The use of e-cigarettes also caused inflammation in mice and impaired

   their immune defenses against various bacterial and viral infections.544 Moreover, a recent study

   that monitored 32,000 adults in the United States for three years found that e-cigarette users were

   30% more likely to develop a chronic lung disease, such as asthma, bronchitis, and emphysema,

   than people who did not smoke either e-cigarettes or traditional cigarettes.545

          343.    It is not just these consequences that raise public health concerns. The CDC and

   FDA recently investigated an outbreak of e-cigarette, or vaping, product use associated lung




   542
       Viktorija Reinikovaite et al., The effects of electronic cigarette vapour on the lung: direct
     comparison to tobacco smoke at 2, 51 Eur. Respiratory J. (Jan. 23, 2018),
     https://erj.ersjournals.com/content/erj/51/4/1701661.full.pdf.
   543
       Itsaso Garcia-Arcos et al., Chronic electronic cigarette exposure in mice induces features of
     COPD in a nicotine-dependent manner, 71 Thorax, 1119, 1119-29 (Aug. 24, 2016),
     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC5136722/pdf/thoraxjnl-2015-208039.pdf.
   544
       Id.
   545
       Dharma N. Bhatta & Stanton A. Glantz, Association of E-Cigarette Use with Respiratory
     Disease Among Adults: A Longitudinal Analysis, Am. J. Preventive Med. (Dec. 16, 2019),
     https://www.sciencedirect.com/science/article/abs/pii/S0749379719303915.


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   injuries, known as EVALI.546 As of February 18, 2020, there were over 2,800 reported cases of

   hospitalization due to e-cigarette or vaping product use-associated lung injury (“EVALI”) in all

   fifty states and sixty-eight deaths had been confirmed by the CDC.547 While public health

   officials believe this outbreak is associated with vitamin E acetate, which is often used in

   connection with vaping marijuana, 14% of patients have reported vaping nicotine only.548

          344.    Many teenagers are simply unaware of these risks, an ignorance that Defendants

   have capitalized on. According to Dr. Winickoff, many of his patients believe vaping is

   harmless:

          Counseling teens and preteens on e-cigarette use is challenging. Many of my
          patients have wildly incorrect beliefs about e-cigarettes. They know that cigarettes
          are dangerous, but assume that Juul—since it’s ubiquitous, comes in child-
          friendly flavors, and is marketed as a healthier alternative to smoking—must be
          harmless. I have to explain to kids that e-cigarettes do not have the same positive
          health benefits as the fruits whose flavor they copy. Even the term vapor calls to
          mind harmless water vapor. There is no water in these products.549

          K.      Vaping in Schools

          345.    In addition to severe health consequences, widespread vaping and “juuling” has

   placed severe burdens on society and schools in particular. It is not an overstatement to say that

   JUUL has changed the educational experience of students across the nation. As one vape shop

   manager told KOMO News, “It’s the new high school thing. Everyone’s got the JUUL.”550




   546
       Outbreak of Lung Injury Associated with E-cigarette Use, or Vaping, CDC,
     https://www.cdc.gov/tobacco/basic_information/e-cigarettes/severe-lung-disease.html (last
     visited Mar. 28, 2020).
   547
       Id.
   548
       Id.
   549
       Winickoff Testimony, supra note 253 at 1.
   550
       Juuling at School, supra note 276.


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          346.    The youth vaping phenomenon spread rapidly across high schools in the United

   States. JUUL surged in popularity, largely through social media networks, and created patterns

   of youth usage, illegal youth transactions, and addiction, that are consistent with this account

   from Reddit in 2017:

          Between classes the big bathroom in my school averages 20-25 kids, and 5-10
          JUULs. Kids usually will give you a dollar for a JUUL rip if you don’t know
          them, if you want to buy a pod for 5$ you just head into the bathroom after lunch.
          We call the kids in there between every class begging for rips ‘JUUL fiends.’ Pod
          boys are the freshman that say ‘can I put my pod in ur juul?’ and are in there
          every block. I myself spent about 180$ on mango pods and bought out a store,
          and sold these pods for 10$ a pod, making myself an absolutely massive profit in
          literally 9 days. Given because I’m 18 with a car and that’s the tobacco age
          around here, I always get offers to get pod runs or juuls for kids. people even
          understand the best system to get a head rush in your 2 minutes between classes,
          is all the juuls at once. So someone yells “GIVE ME ALL THE JUULS” and 3-7
          are passed around, two hits each. This saves us all juice, and gives you a massive
          head rush. Kids also scratch logos and words onto their juuls to make i[t] their
          own, every day you can find the pod covers in my student parking lot. I know this
          sounds exaggerated, but with a school with 1400 kids near the city and JUULs
          being perceived as popular, it’s truly fascinating what can happen.551

          347.    In response to the post above, several others reported similar experiences:

                  a.      “[T]his is the exact same thing that happens at my school, we call
                          [JUUL fiends] the same thing, kind of scary how similar it is.”552

                  b.      “Same thing at my school. JUUL fiend is a term too.”553

                  c.      “Yeah nicotine addiction has become a huge problem in my high
                          school because of juuls even the teachers know what they are.”554

                  d.      “[S]ame [expletive] at my school except more secretive because it’s
                          a private school. It’s crazy. Kids hit in class, we hit 3-5 at once, and



   551
       What’s Juul in School, https://www.reddit.com/r/juul/comments/61is7i/whats_juul_in_school/
     (last visited Mar. 20, 2020).
   552
       Id.
   553
       Id.
   554
       Id.


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                         everyone calls each other a juul fiend or just a fiend. Funny how
                         similar it all is.”555

                  e.     “[T]he same [expletive] is happening in my school. kids that vaped
                         were called [expletive] for the longest time, that all changed
                         now.”556

                  f.     “Made an account to say that it’s exactly the same way in my school!
                         LOL. I’m from California and I think I know over 40 kids that have
                         it here just in my school. We do it in the bathrooms, at lunch etc.
                         LMAO. ‘Do you have a pod man?’”557

                  g.     “It’s the same at my school and just about every other school in
                         Colorado.”558

                  h.     “2 months into this school year, my high school made a newspaper
                         article about the ‘JUUL epidemic.’”559

                  i.     “Wow do you go to high school in Kansas because this sounds
                         EXACTLY like my school. I’ll go into a different bathroom 4 times
                         a day and there will be kids in there ripping JUUL’s in every single
                         one.”560.

                  j.     “At my high school towards the end of lunch everyone goes to the
                         bathroom for what we call a ‘juul party.’ People bring juuls, phixes,
                         etc. It’s actually a great bonding experience because freshman can
                         actually relate to some upperclassmen and talk about vaping.”561

                  k.     “To everyone thinking that this is just in certain states, it’s not. This
                         is a nationwide trend right now. I’ve seen it myself. If you have one
                         you’re instantly insanely popular. Everyone from the high-achievers
                         to the kids who use to say ‘e-cigs are for [expletives]’ are using the
                         juul. It’s a craze. I love it, I’ve made an insane amount of money.




   555
       Id.
   556
       Id.
   557
       Id.
   558
       Id.
   559
       Id. (citing Juuls Now Rule the School as Students Frenzy Over E-cig (Oct. 5, 2016),
     https://imgur.com/a/BKepw).
   560
       Id.
   561
       Id.


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                         It’s something that has swept through our age group and has truly
                         taken over. And it happened almost overnight.”562

            348.   E-cigarette use has completely changed school bathrooms—now known as “the

   Juul room.”563 As one high school student explained, “it’s just a cloud.”564 The ubiquity of e-

   cigarette use in high school bathrooms has generated numerous online spoofs about “the juul

   room.”




                                                                        565




   562
       Id. (emphasis added).
   563
       Moriah Balingit, In the ‘Juul room’: E-cigarettes spawn a form of teen addiction that worries
     doctors, parents and schools, Wash. Post (July 26, 2019),
     https://www.washingtonpost.com/local/education/helpless-to-the-draw-of-nicotine-doctors-
     parents-and-schools-grapple-with-teens-addicted-to-e-cigarettes/2019/07/25/e1e8ac9c-830a-
     11e9-933d-7501070ee669_story.html.
   564
       Greta Jochem, Juuling in School: e-Cigarette Use Prevalent Among Local Youth, Daily
     Hampshire Gazette (Nov. 13, 2018), https://www.gazettenet.com/Juuling-in-Schools-
     21439655.
   565
       Juul Hashtag Meme, Stan. U. Res. into the Impact of Tobacco Advert. (2018),
     http://tobacco.stanford.edu/tobacco_main/images_pods.php?token2=fm_pods_st681.php&toke
     n1=fm_pods_img37610.php&theme_file=fm_pods_mt068.php&theme_name=JUUL&subthem
     e_name=%23juul.


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          349.    As another high school student explained, “You can pull it out, you can have it

   anywhere. To smoke a cigarette you have to hit the bus stop. You want a Juul you hit the

   bathroom, it’s easy.”566 He added that JLI “market[s] it as an alternative to cigarettes but really

   it’s a bunch of kids who have never picked up a pack and they’re starting their nicotine addiction

   there.”567 Students at another high school stated that classmates had “set off the fire alarm four

   times last year from vaping in the bathrooms [at school],” adding that it is commonplace to see

   students vaping in school bathrooms or in the parking lot.568

          350.    This impact was only made worse by JLI intentionally targeting schools, as

   described above.

          351.    Such rampant vapor product use has effectively added another category to

   teachers’ and school administrators’ job descriptions; many now receive special training to

   respond to the various problems that vaping presents, both in and out of the classroom. A

   national survey of middle schools and high schools found that 43.3% of schools have had to

   implement not only an e-cigarette policy but a e-cigarette-specific policy. Participants in the

   survey reported multiple barriers to enforcing these policies, including the discreet appearance of

   the product, difficulty pinpointing the vapor or scent, and the addictive nature of the product.

          352.    Across the United States, schools have had to divert resources and administrators

   have had to go to extreme lengths to respond to the ever-growing number of students vaping on


   566
       Alison Grande, ‘Juuling': Vaping device that looks like USB drive popular with teens, KIRO
     7 (Dec. 8, 2017), https://www.kiro7.com/news/local/juuling-vaping-device-that-looks-like-usb-
     drive-popular-with-teens/660965605/.
   567
       Id.
   568
       Manisha Jha, ‘You need to stop vaping right now’: Students and faculty react to Washington
     vape ban, The Daily, U. of Wash. (Sept. 30, 2019),
     http://www.dailyuw.com/news/article_960d8692-e324-11e9-870c-9f9d571115d6.html.


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   school grounds. According to the Truth Initiative, more than 40% of all teachers and

   administrators reported that their school uses camera surveillance near the school’s restroom,

   almost half (46%) reported camera surveillance elsewhere in the school, and 23% reported using

   assigned teachers for restroom surveillance.569 Some schools have responded by removing

   bathroom doors or even shutting bathrooms down, and schools have banned flash drives to avoid

   any confusion between flash drives and JUULs or the new “JUULalike” products⸺like

   Eonsmoke’s device or the other copycats. Schools have also paid thousands of dollars to install

   special monitors to detect vaping, which they say is a small price to pay compared to the

   plumbing repairs otherwise spent as a result of students flushing vaping paraphernalia down

   toilets. Other school districts have sought state grant money to create new positions for tobacco

   prevention supervisors, who get phone alerts when vape smoke is detected in bathrooms.

          353.    Many schools have also shifted their disciplinary policies in order to effectively

   address the youth vaping epidemic. Rather than immediately suspending students for a first

   offense, school districts have created anti-vaping curricula which students are required to follow

   in sessions held outside of normal school hours, including on Saturdays. Teachers prepare

   lessons and study materials for these sessions with information on the marketing and health

   dangers of vaping—extra work which requires teachers to work atypical hours early in the

   mornings and on weekends. Some schools will increase their drug testing budget to include

   random nicotine tests for students before they join extracurricular activities. Under this drug-

   testing protocol, first offenders will undergo drug and alcohol educational programming; second


   569
      How are schools responding to JUUL and the youth e-cigarette epidemic?, Truth Initiative
    (Jan. 18, 2019), https://truthinitiative.org/research-resources/emerging-tobacco-products/how-
    are-schools-responding-juul-and-youth-e-cigarette.


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   and third offenders with be forced to sit out from extracurriculars and attend substance abuse

   counseling.

          354.    JUUL’s prevalence in schools is not a coincidence; JLI actively sought to enter

   school campuses while it was coordinating with Altria. The U.S. House Subcommittee on

   Economic and Consumer Policy (“Subcommittee”) conducted a months-long investigation of

   JLI, including reviewing tens of thousands of internal documents, and concluded that JLI

   “deliberately targeted children in order to become the nation’s largest seller of e-cigarettes.”570

   The Subcommittee found that “(1) JUUL deployed a sophisticated program to enter schools and

   convey its messaging directly to teenage children; (2) JUUL also targeted teenagers and children,

   as young as eight years-old, in summer camps and public out-of-school programs; and (3) JUUL

   recruited thousands of online ‘influencers’ to market to teens.”571

          355.    According to the Subcommittee, JLI was willing to pay schools and organizations

   hundreds of thousands of dollars to have more direct access to kids. For example, JLI paid a

   Baltimore charter school organization $134,000 to start a summer camp to teach kids healthy

   lifestyles, for which JLI itself would provide the curriculum; offering schools $10,000 to talk to

   students on campus; and giving the Police Activities League in Richmond, California, almost

   $90,000 to provide JLI’s own vaping education program, “Moving On,” to teenage students

   suspended for using cigarettes. Meanwhile, JLI would collect data about test scores, surveys, and

   activity logs about the students.



   570
       Memorandum, U.S. House Subcommittee on Econ. & Consumer Policy (July 25, 2019),
     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.
     pdf.
   571
       Id.


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          356.    Among the more egregious incidents reported by the Subcommittee was a July

   24, 2019 presentation in which no parents or teachers were in the room for the presentation, the

   message conveyed was that JUUL was “totally safe,” and the presenter even demonstrated to the

   students how to use a JUUL. The school was presumably paid for this meeting, which was

   marketed to the school as an anti-smoking initiative. A JLI spokesman said the company is no

   longer funding such programs.

          357.    The problems with JLI’s youth prevention programs were widespread. According

   to outside analyses, “the JUUL Curriculum is not portraying the harmful details of their product,

   similar to how past tobacco industry curricula left out details of the health risks of cigarette

   use.”572 Although it is well-known that teaching children to deconstruct ads is one of the most

   effective prevention techniques, JLI programs entirely omitted this skill, and JLI’s curriculum

   barely mentioned JUUL products as among the potentially harmful products to avoid.573 As one

   expert pointed out, “we know, more from anecdotal research, that [teens] may consider [JUULs]

   to be a vaping device, but they don’t call it that. So when you say to a young person, ‘Vapes or e-

   cigarettes are harmful,’ they say, ‘Oh I know, but I’m using a JUUL.’”574

          358.    Internal emails confirm both that JLI employees knew about the similarities of

   JLI’s “youth prevention program” to the earlier pretextual antismoking campaigns by the

   cigarette industry and that JLI management at the highest levels was personally involved in these


   572
       Victoria Albert, Juul Prevention Program Didn't School Kids on Dangers, Expert Says:
     SMOKE AND MIRRORS. JUUL—which made up 68 percent of the e-cigarette market as of
     mid-June—seems to have taken a page from the playbook of Big Tobacco, The Daily Beast
     (Oct. 19, 2018), https://www.thedailybeast.com/juul-prevention-program-didnt-school-kids-on-
     dangers-expert-says.
   573
       Id.
   574
       Id.


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   efforts.




                                                                    575


                                                          576




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                                                                                   578
                                                                                         The paper

   concluded that “the Philip Morris[’s ‘youth prevention’] campaign had a counterproductive

   influence.”579

              359.   The Board was intimately involved in these “youth prevention” activities. For

   example,



          580



              360.
                                                                      581
                                                                            Eventually, JLI ended this



   575
       INREJUUL_00197608.
   576
       INREJUUL_00197607.
   577
       INREJUUL_00196624.
   578
       INREJUUL_00265202.
   579
       Matthew C. Farrelly et al., Getting to the Truth: Evaluating National Tobacco
     Countermarketing Campaigns, 92 Am. J. Public Health 901 (2002).
   580
       JLI00151300.
   581
       INREJUUL_00194646.


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   version of its youth prevention program, but the damage had been done: following the playbook

   of Big Tobacco, JLI had hooked more youth on nicotine.

          L.      Impact of the Youth Vaping Crisis on Plaintiff Pitkin County

          361.    Plaintiff Pitkin County is home to approximately 17,950 residents.582 Pitkin

   County is located in the Western Corridor of Colorado and includes the communities of Aspen,

   Snowmass, Woody Creek, Old Snowmass, Meredith, Thomasville, Redstone and portions of the

   town of Basalt. Pitkin County is best known for being home to popular ski resorts, tourism being

   the mainstay of the local economy.583 More than 15% of Plaintiff’s population is under the age of

   eighteen.584

          362.    Plaintiff has been hit hard by the youth vaping epidemic. The 2017 Healthy Kids

   Colorado Survey found that in Region 12, which includes Pitkin County, 35.8% of students

   reported using an electronic vapor product in the past thirty days.585 Fifty-four percent of

   students surveyed in Region 12 said they had used a vape product, and 45.8% of these students

   were fifteen-years-old or younger.586 Between 2013 and 2017, the percentage of students in

   Plaintiff’s region who had ever tried vaping more than doubled, skyrocketing from around 20%




   582
       QuickFacts: Pitkin County, Colorado, U.S. Census Bureau (July 1, 2018),
     https://www.census.gov/quickfacts/fact/table/pitkincountycolorado/PST045218.
   583
       Pitkin County At A Glance, Pitkin Cty.,
     https://pitkincounty.com/DocumentCenter/View/4468/2017-Pitkin-County-at-a-Glance-
     Brochure?bidId= (last visited Mar. 16, 2020).
   584
       Supra note 582.
   585
       2017 Healthy Kids Colorado Survey: Region 12 High School Summary Tables at 74, Colo.
     Dep’t of Pub. Health & Env’t (2017), https://drive.google.com/file/d/1-MNMKKaWcbJuAo-
     qRDGQBDP5sfYjA_iB/view.
   586
       Supra note 585 at 73.


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   in 2013 to 54% in 2017.587 These numbers are self-reported, and many public health officials

   think they likely underestimate the actual prevalence of youth vaping.

          363.    The number of students vaping in Plaintiff’s community is even higher. In

   Plaintiff’s Aspen School District, almost 60% of high school students have tried vaping nicotine

   and 45% of these students used e-cigarettes in the last thirty days.588 The 2017 Healthy Kids

   Colorado Survey revealed that students at Aspen High School had one of the highest rate of

   vaping in State of Colorado.589 Similarly, in nearby Roaring Fork School District, which includes

   Basalt High School,590 37% of high school students reported vaping nicotine in the past thirty

   days on the 2017 Healthy Kids Colorado Survey.591 That represents a 21% increase in youth

   vaping since 2015.

          364.    Not only are the youth vaping rates surging in Plaintiff’s community, they are

   doing so at a time when youth use of traditional cigarettes is falling. From 2015 to 2017, the rate

   of students in Colorado Region 12 who reported using a cigarette in the past thirty days




   587
       2013 Healthy Kids Colorado Survey: Region 12 High School Summary Tables at 52, Colo.
     Dep’t of Pub. Health & Env’t (2013),
     https://drive.google.com/file/d/0B_NVoyuCwHvoSDMyeEpUSVY0OFE/view (2013 data);
     supra note 585 at 73 (2017 data).
   588
       Aspen reports elevated teenage levels of vaping, Aspen Daily News (Dec. 6, 2018),
     https://www.aspendailynews.com/news/aspen-reports-elevated-teenage-levels-of-
     vaping/article_91f73d04-f915-11e8-9635-f7d9dad73ce5.html.
   589
       Bella Hoffman, AHS’s struggle with combating youth substance abuse, The Skier Scribbler
     (Jan. 23, 2020), https://skierscribbler.com/8398/news/ahss-struggle-with-combating-youth-
     substance-abuse/.
   590
       The town of Basalt is located in both Pitkin County and Eagle County.
   591
       Pitkin County Board of Commissioners Work Session Agenda at 19, Pitkin Cty. Bd. Comm’rs
     (Dec. 17, 2019),
     https://pitkincoco.civicclerk.com/Web/UserControls/DocPreview.aspx?p=1&aoid=1926.


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   decreased from 13.2% to 9.2%.592 Meanwhile, middle school students’ use of vape products

   doubled.

            365.   These increasing vaping rates in Plaintiff’s community are consistent with the rise

   in youth vaping throughout the State of Colorado, as the state tops the nation for youth e-

   cigarette use among high schoolers. 593 An estimated 27,000 Colorado high school students

   reported vaping more than ten days a month.594 Vaping is also much more common among youth

   than with adults in Colorado. In 2017, 27% of Colorado youth reported currently vaping—over

   twice the national average—and almost 45% reported experimenting with vaping.595 By

   comparison, in 2018, only 7.5% of Colorado adults were actively vaping and only 27% had ever

   tried it.596

            366.   As the Executive Director and Chief Medical Officer of the Colorado Department

   of Public Health and Environment observed, “Vaping has replaced cigarettes as a way for

   underage youth to use nicotine[.] . . . Too many of our young people don’t realize the health risks




   592
       2015 Healthy Kids Colorado Survey: Region 12 High School Summary Tables at 62, Colo.
     Dep’t of Pub. Health & Env’t (2015), https://drive.google.com/file/d/0B2nM-
     3jK5N8pZm1ERFZyYzgxb2s/view (2015 data); supra note 585 at 54 (2017 data).
   593
       John Daley, Vaping: CDC Says 25 Percent of Colorado High Schoolers Use E-Cigarettes,
     CPR News (June 26, 2018), https://www.cpr.org/2018/06/26/vaping-cdc-says-25-percent-of-
     colorado-high-schoolers-use-e-cigarettes/.
   594
       John Daley, Colorado Is a Hotbed of Teen Vaping, But Lacks the Tools to Help Kids Quit,
     CPR News (July 30, 2019), https://www.cpr.org/2019/07/30/colorado-is-a-hot-bed-of-teen-
     vaping-but-lacks-the-tools-to-help-kids-quit/.
   595
       Sawyer D’Argonne, CDC Study: Colorado youth use vaping products, e-cigarettes at twice
     the national average, Aspen Times (July 31, 2018), https://www.aspentimes.com/news/cdc-
     study-colorado-youth-use-e-cigarettes-vaping-nicotine-products-at-twice-the-national-average/.
   596
       Colorado Behavioral Risk Factor Surveillance System (BRFSS), Colo. Dep’t of Pub. Health
     & Env’t (2018),
     https://drive.google.com/file/d/1sBj5BZCNWWBdEOmAPu3c65XAg99Zh3da/view.


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   involved.”597 While about 88% of high school students in Plaintiff’ community view smoking

   cigarettes as risky, only about 50% of these students feel the same way about vaping.598

           367.    Plaintiff is committed to addressing the public health crisis caused by the

   pervasiveness of vape products. Survey results indicate that youth access to electronic vaping

   devices is rampant. Over 64% of students surveyed in Plaintiff’s region stated that it would be

   “sort of easy or very easy to get electronic vapor products if they wanted.”599 As a result,

   Plaintiff believes it is a priority to mitigate the accessibility of nicotine products to minors.

           368.    Recognizing that youth vaping has become a public health crisis, Plaintiff has

   taken steps to address it. For example, in August 2019, the Pitkin Board of County

   Commissioners unanimously approved a 40% sales tax on tobacco products other than cigarettes,

   sending the measure to Pitkin County voters in November, who approved it by an overwhelming

   majority.600 Pitkin Board of County Commissioners Chairman stated, “[T]he bottom line is that

   price increases are the best way to get both young people and adults to quit tobacco and

   nicotine.”601 Plaintiff’s employees invested substantial additional time and resources to develop

   and present this policy and other local legislative bodies in response to the youth vaping crisis

   that was created by and is being maintained by Defendants. Pitkin County’s Medical Officer

   took a lead role in developing and presenting a policy in Aspen to raise the age to purchase all




   597
       Supra note 594.
   598
       Supra note 585 at 91, 95.
   599
       Supra note 585 at 77.
   600
       Jason Auslander, Pitkin County Issue 1A: Voters approve of tax on tobacco products, The
     Aspen Times (Nov. 5, 2019), https://www.aspentimes.com/news/pitkin-county-issue-1a-voters-
     approve-of-tax-on-tobacco-products/.
   601
       Id.


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   tobacco products, including e-cigarettes, from age eighteen to twenty-one in 2017.602 Plaintiff

   also supported and advocated for a similar bill in Snowmass in 2019.603

          369.    While raising the legal age to purchase cigarettes is a good start, Plaintiff also

   believes other policies are necessary to prevent and reduce youth vaping. Because of the role

   flavors play in youth initiation of tobacco product use, Pitkin County Public Health has also

   worked to ban flavored nicotine products. Plaintiff spent many hours developing a

   comprehensive flavor ban that reflected best practices, creating materials for presentations

   relating to this issue, developing factsheets, working with retailers, and meeting with both

   council members and members of the public. Plaintiff also testified before the Aspen City

   Council and assisted others in doing the same. In 2019, the City of Aspen banned all flavored

   nicotine products, including menthol.604 Development and support of a comprehensive flavor ban

   was an important component of Plaintiff’s response and was necessary as a result of Defendants’

   actions in developing vape products and marketing them to youth.

          370.    Plaintiff Pitkin County also conducted a Tobacco-Focused Community Profile,

   along with its partners, Eagle County and Garfield County, to study the issue of youth vaping

   and determine how best to respond. In order to conduct this assessment, Plaintiff devoted

   significant time and resources to study this issue, collect data, speak with stakeholders, and


   602
       Curtis Wackerle, Aspen raises purchases age for sales of tobacco to 21, Aspen Daily News
     (June 13, 2017), https://www.aspendailynews.com/aspen-raises-purchase-age-for-sales-of-
     tobacco-to/article_d801abe6-a6d5-5494-afee-b75dc0489fe2.html.
   603
       Council raises tobacco, e-cigarette purchasing age to 21 in Snowmass, Snowmass Sun (May
     8, 2019), https://www.aspentimes.com/snowmass/council-raises-tobacco-e-cigarette-
     purchasing-age-to-21-in-snowmass/.
   604
       Jessica Seaman, Aspen is first city in Colorado to ban sale of flavored nicotine products amid
     efforts to curb teen vaping, Denver Post (June 12, 2019),
     https://www.denverpost.com/2019/06/12/aspen-flavored-nicotine-ban-vaping/.


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   prepare a report. This assessment showed that vaping was an overwhelming concern in

   Plaintiff’s region.

           371.    While the statistics on the high number of children and teenagers who are now

   vaping is alarming, the data only capture part of the impact on Plaintiff. Many school principals,

   parents, and students shared their own experiences relating to the impact of youth vaping with

   representatives of Pitkin County Public Health. Middle and high schools throughout Plaintiff’s

   region report struggling to control and respond to the number of youth vaping. Defendants’

   products are discrete and easy to conceal, allowing students to vape in the bathroom stalls at

   school or even in the classroom. Plaintiff was told that some students do not feel comfortable

   going to the bathroom at school because there are so many students “juuling” and vaping inside.

   As a result, Plaintiff’s schools have had to devote staff time and resources to monitoring the

   bathrooms, including having staff regularly patrolling the bathrooms both during and between

   classes.

           372.    The spread of vaping in Pitkin County has reached younger students as well. Not

   only are many seventh and eighth grade students in Plaintiff’s community now vaping, but

   students as young as fifth grade have recently been found vaping at schools in Plaintiff’s region.

           373.    School officials, parents, and community members have repeatedly reached out to

   Plaintiff asking for information about vaping, for Plaintiff to provide educational outreach on

   vaping, and for guidance on how the schools should handle the disciplinary issues caused by

   students caught vaping at school. Schools in Plaintiff’s region have been heavily impacted by

   youth vaping and have told Plaintiff that the problem is too large from them to solve alone.




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           374.    In response, Plaintiff has also invested substantial and unexpected amounts of

   time and money in school-based, community-wide, and parental education efforts. For example,

   Pitkin County Public Health has repeatedly met with schools to provide education and help them

   create a structured protocol for prevention, intervention, and treatment. For example, when

   administrators first noticed that youth vaping was becoming a large problem in Basalt High

   School, the school had limited policies in place to respond to youth vaping, primarily suspension,

   and it relied on Plaintiff to help it learn about this crisis and properly respond. Plaintiff has also

   provided training and education for parents at presentations throughout each school year and

   provided training for school officials, including teachers, administrators, and coaches, to help

   them identify vape products.

           375.    In addition, Pitkin County Public Health has created numerous educational

   materials and factsheets, developed and cultivated a collection of resources on its website, and

   gathered and shared information with local schools for their education and community

   newsletters. Plaintiff has also given more than forty presentations and trainings to school groups,

   school resource officers, parents, community members, and other stakeholders regarding youth

   vaping in the last two years. Plaintiff’s educational efforts have required it to spend substantial

   amounts of money, including paying for an anti-vaping advertising campaign on local buses to

   combat the public health crisis created and maintained by Defendants.

           376.    The work that Plaintiff does to educate its community is particularly important,

   and necessary, as a result of the widespread misinformation about vape products. Many members

   of Plaintiff’s community have been deceived by Defendants’ marketing and misinformation and

   are unaware of the true nature, health risks, and addictiveness of vape products. As a result of



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   Defendants’ advertising campaigns, some members of Plaintiff’s communities believe that

   Defendants’ products contain only flavoring, not nicotine. Additionally, both teens and their

   parents have been deceived into thinking vaping is a harmless alternative to smoking cigarettes,

   resulting in youth being misinformed and using this as an excuse to vape more frequently.

          377.    Plaintiff also organized a regional summit regarding youth vaping in March 2019,

   in which approximately fifty stakeholders and community organizations participated, including

   lawmakers, local schools, youth-serving organizations, and healthcare providers. Participants in

   the summit engaged in group brainstorming around ways to address the youth vaping crisis in the

   community, and each participant was asked to create an action plan to address youth vaping.

   Plaintiff then worked with each participant to provide support in executing the action plan. For

   example, Valley View Hospital, in neighboring Garfield County, identified that it was not

   routinely screening its patients for vaping. Valley View changed its electronic records so that

   providers would be prompted to ask about vaping in particular, and Pitkin County Public Health

   staff supported this action by conducting Continuing Medical Education seminars about vaping

   for providers and giving presentations at outpatient clinics about how to ask kids about vaping.

          378.    Not only have Defendants’ vape products addicted a new generation to nicotine,

   Defendants are also creating a growing hazardous waste problem in Plaintiff’s community.

   Defendants’ vape products contain chemicals that can be toxic or fatal if ingested in their




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   concentrated forms,605 as well as lithium-ion batteries,606 which cannot be safely disposed of in

   the normal stream of trash. The vaping epidemic has led to hazardous waste from these vape

   products being spread throughout Plaintiff’s community, especially around schools. Due to the

   widespread nature of this problem, school resource officers and Plaintiff’s environmental health

   team have struggled to determine how best to respond.

          379.    While Plaintiff has taken important steps to combat the youth vaping epidemic, it

   does not have the resources to fully address the existing widespread use of vape products and

   resulting nicotine addiction among its youth. A major concern for Plaintiff is the lack of

   treatment options for a generation of addicted youth residing in Plaintiff’s community. Plaintiff

   has received many requests for assistance from community members and school officials who do

   not know how best to respond. Youth vaping has also become a significant disciplinary problem

   in schools, but Plaintiff and its school administrators also recognize that these students are

   addicted to Defendants’ products and cannot easily quit on their own. Pitkin County youth have




   605
       See, e.g., How do I dispose of a JUULpod?, JUUL Labs, Inc., https://support.juul.com/hc/en-
     us/articles/360023529793-How-do-I-dispose-of-a-JUULpod- (last visited Mar. 3, 2020)
     (“JUULpods should be recycled along with other e-waste.”); American Acad. of Pediatrics,
     Liquid Nicotine Used in E-Cigarettes Can Kill Children, healthychildren.org,
     https://www.healthychildren.org/english/safety-prevention/at-home/pages/liquid-nicotine-used-
     in-e-cigarettes-can-kill-children.aspx (last visited Mar. 3, 2020).
   606
       See, e.g., JUUL Labs, Inc. (2020), https://support.juul.com/hc/en-us/articles/360023319614-
     What-kind-of-battery-is-in-the-device- (last visited Feb. 3, 2020) (“JUUL uses a lithium-ion
     polymer battery. All portable electronics containing lithium-ion batteries present rare, but
     potentially serious safety hazards.”); JUUL Labs, Inc. (2020), https://support.juul.com/hc/en-
     us/articles/ 360023366194-How-do-I-dispose-of-a-JUUL-device- (last visited Mar. 13, 2020)
     (“Unlike other e-cigarettes, JUUL isn’t disposable and should be treated as a consumer
     electronic device. Follow your city's local recommendations for disposing of a lithium-polymer
     rechargeable battery.”).


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   also self-reported to school officials that they quickly became addicted after first trying vaping

   and wished they had never tried it.

          380.    Plaintiff has been taking important steps to combat the youth vaping epidemic,

   but it cannot fully address the existing widespread use of vapor products and resulting nicotine

   addiction among youth. Because of the smoothness of nicotine salts contained in Defendants’

   vape products as well as Defendants’ discreet device designs, many youth throughout the U.S.

   use their vape devices with high frequency throughout the day—with some kids taking a puff as

   often as every few minutes. Unlike a combustible cigarette with its telltale emissions of smoke

   and distinct smell, the JUUL device and “JUULalikes” allow kids to vape undetected behind

   closed doors and even behind their teachers’ backs in the classroom. Such frequent use makes it

   much more likely that nicotine addiction will develop, particularly when coupled with the high

   nicotine content in JUULpods and copycat products. Youth vaping has therefore resulted in a

   higher incidence of addiction than that caused by youth smoking of combustible cigarettes.

          381.    In fact, some students in Plaintiff’s community have told school officials that they

   have switched to smoking combustible cigarettes in order to quit vaping, because they cannot

   smoke cigarettes as frequently as they can vape—which means that switching to combustible

   cigarettes actually brings their overall nicotine consumption down.

          382.    As the researchers conducting the national Monitoring the Future survey wrote in

   a letter to the New England Journal of Medicine in October 2019, current efforts are insufficient

   to address youth nicotine addiction from vaping:

          Current efforts by the vaping industry, government agencies, and schools have
          thus far proved insufficient to stop the rapid spread of nicotine vaping among
          adolescents. Of particular concern are the accompanying increases in the
          proportions of youth who are physically addicted to nicotine, an addiction that is


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          very difficult to overcome once established. The substantial levels of daily vaping
          suggest the development of nicotine addiction. New efforts are needed to protect
          youth from using nicotine during adolescence, when the developing brain is
          particularly susceptible to permanent changes from nicotine use and when almost
          all nicotine addiction is established.607

   The lack of available nicotine-addiction treatment options for youth presents a challenge to

   communities across the country. In the context of Plaintiff’s rural mountain community,

   substance abuse treatment options are limited to begin with, and while Plaintiff is working to

   build capacity for substance abuse treatment options and is training schools on the limited

   programs available, Defendants’ conduct has created and maintained a new substance abuse

   issue and burden on Plaintiff.

          383.    In addition, while the State of Colorado has historically provided some funding

   for tobacco use prevention, the spread of youth vaping has outpaced available resources.

   Colorado spends nearly $24 million a year on tobacco prevention,608 but youth e-cigarette use

   continues to rise.609 Money available to support anti-smoking efforts has been declining as youth

   use of traditional cigarettes goes down, which means that little tobacco prevention funding is

   available to address youth vaping rates just as they are surging. As a State of Colorado

   communication strategist explained, “Our young people are facing an epidemic of vaping. We’re

   not funded to deal with vaping products. And so we’ve got more problems than we’ve seen

   before and fewer resources with which to deal with them.”610


   607
       Richard Meich et al., Trends in Adolescent Vaping, 2017-2019, N. Engl. J. Med. at 381:1490-
     1491 (Oct. 10, 2019), https://www.nejm.org/doi/full/10.1056/NEJMc1910739.
   608
       Colorado, Campaign for Tobacco-Free Kids (Dec.18, 2019),
     https://www.tobaccofreekids.org/what-we-do/us/statereport/colorado.
   609
       See supra note 585 at 73 (54% had tried in 2017); 2013 Healthy Kids Colorado Survey, supra
     note 587 at 52 (20.9% had tried in 2013).
   610
       Supra note 594.


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          384.    The lack of treatment options for youth living in Plaintiff’s community who are

   addicted to nicotine is a significant concern for Plaintiff, but such treatment options will be

   difficult to develop. The available FDA-approved tobacco cessation products were not intended

   for, and are not approved for, pediatric use. With additional resources, Plaintiff would support

   the development of additional, youth-appropriate cessation options that can meet the needs of

   Plaintiff’s diverse community. Plaintiff would also support the development of vaping-specific

   cessation resources to address the ways in which vaping cessation may differ from traditional

   smoking cessation. Development of such resources is a crucial step to combat the youth vaping

   epidemic. Plaintiff is aware that addiction treatment is a process that requires more than a

   singular effort, and that it can take months or years for an individual to overcome addiction.

          385.    Plaintiff also believes it is necessary to develop and implement a youth-focused,

   education campaign about vaping and its dangers in order to combat Defendants’ marketing and

   the social pressures that the youth vaping epidemic has created. Carrying out such a campaign

   effectively and countering Defendants’ extensive marketing will require significant funding as

   well as staff time. In order to make the message resonate with youth, Plaintiff will have to work

   with youth to cultivate the most effective message.

          386.    Funding is also needed to establish a peer mentorship and prevention program.

   Peer-to-peer messaging is crucial because it is necessary to change the social norms around

   vaping, just as previous efforts ultimately changed social norms around combustible cigarette

   smoking. Defendants have been adept at using peer-to-peer messaging to promote their addictive

   vape products to kids through the use of social media campaigns and paid influencers. Because




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   young people are often most willing to listen to other young people, countering Defendants’

   conduct will require training and supporting youth to educate their peers.

           387.       Plaintiff also needs to continue and expand its educational and training efforts,

   including running media campaigns to combat the misinformation spread by Defendants.

   Importantly, funding is also needed to support increased staff capacity and personnel dedicated

   to youth vaping prevention and enforcement in Plaintiff’s community. Plaintiff has developed a

   program to conduct enforcement checks on local retailers, but these visits and follow-ups require

   significant resources and time to carry out.

           388.       Fully addressing the harms to Plaintiff caused by Defendants’ conduct will

   require a comprehensive approach. Without the resources to fund measures such as those

   described herein, Plaintiff will continue to be harmed by the ongoing consequences of

   Defendants’ conduct.

           M.      No Federal Agency Action, Including by the FDA, Can Provide the Relief
           Plaintiff Seeks Here

           389.       The injuries Plaintiff has suffered and will continue to suffer cannot be addressed

   by agency or regulatory action. There are no rules the FDA could make or actions the agency

   could take that would provide Plaintiff the relief it seeks in this litigation.

           390.       Even if e-cigarettes were entirely banned today or only used by adults, millions of

   youth, including Plaintiff’s residents, would remain addicted to nicotine.

           391.       Regulatory action would do nothing to compensate Plaintiff for the money and

   resources it has already expended addressing the impacts of the youth vaping epidemic and the

   resources it will need in the future. Only this litigation has the ability to provide Plaintiff with the

   relief it seeks.


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           392.    Furthermore, the costs Plaintiff has incurred in responding to the public health

   crisis caused by youth vaping and in rendering public services described above are recoverable

   pursuant to the causes of actions raised by Plaintiff. Defendants’ misconduct alleged herein is not

   a series of isolated incidents, but instead the result of a sophisticated and complex marketing

   scheme and related cover-up scheme that has caused a continuing, substantial, and long-term

   burden on the services provided by Plaintiff. In addition, the public nuisance created by

   Defendants and Plaintiff’s requested relief in seeking abatement further compels Defendants to

   reimburse and compensate Plaintiff for the substantial resources it has expended and will need to

   continue to expend to address the youth vaping crisis.

                                     V.      CAUSES OF ACTION

                             VIOLATIONS OF COLORADO PUBLIC NUISANCE LAW

           393.    Plaintiff Pitkin County incorporates each preceding paragraph as though set forth

   fully herein.

           394.    Plaintiff brings this claim under Colorado Public Nuisance law as to all

   Defendants.

           395.    Under Colorado law, “[a] public nuisance is the doing or failure to do something

   that injuriously affects the safety, health, or morals of the public or works some substantial

   annoyance, inconvenience, or injury to the public.” State, Dep’t of Health v. The Mill, 887 P.2d

   993, 1002 (Colo. 1994).

           396.    Plaintiff and its residents have a right to be free from conduct that endangers their

   health and safety. Yet Defendants have engaged in conduct and omissions which unreasonably

   and injuriously interfered with the public health and safety in Plaintiff’s community and created



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   substantial annoyance, inconvenience, and injury to the public by their production, promotion,

   distribution, and marketing of vapor products, including, but not limited to JUUL, for use by

   youth in Pitkin County. Defendants’ actions and omissions have substantially, unreasonably, and

   injuriously interfered with the functions and operations of Pitkin County and affected the public

   health, safety, and welfare of the Pitkin community.

          397.    Each Defendant has created or assisted in the creation of a condition that is

   injurious to the health and safety of Plaintiff and its residents and interferes with the comfortable

   enjoyment of life and property of the entire Pitkin community.

          398.    Defendants’ conduct has directly caused a severe disruption of the public health,

   order, and safety. Defendants’ conduct is ongoing and continues to produce permanent and long-

   lasting damage.

          399.    This harm to Plaintiff and the public is substantial, widespread, and ongoing. It

   outweighs any potential offsetting benefit of the Defendants’ wrongful conduct because

   Defendants’ conduct violates Colorado’s public policy against marketing vapor products to

   minors. This policy is expressed through Colorado then-Governor John Hickenlooper’s

   Executive Order B 2018 011, finding that “vaping products, and e-cigarettes are particularly

   harmful to children” and that “[e]ven as we have made progress discouraging cigarette use

   among youth, use of e-cigarettes and vaping devices among youth has increased, reaching

   epidemic proportions that are putting the health of our children at risk.”611 This policy is also

   expressed through statutes and regulations, including but not limiting to:



   611
      John W. Hickenlooper, B 2018 011, Executive Order, State of Colo. (Nov. 2, 2018),
    https://drive.google.com/file/d/1-EapnrOOLsvBxsYlkThi7-EZEyxGn3io/view.


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         1.     CRS § 18-13-121(1), under which it is illegal to give, sell, distribute or offer for
                sale a nicotine product to any person under eighteen years of age;

         2.     CRS § 44-7-103(1), under which it is illegal to sell or permit the sale of nicotine
                products to minors;

         3.     CRS § 18-13-121(2), under which it is illegal for people under eighteen years of
                age to purchase nicotine products; and

         4.     CRS § 25-14-301, under which it is illegal for people under eighteen years of age
                to possess nicotine products.

         400.   Defendants’ conduct violated this public policy, including by:

         1.     Actively seeking to enter school campuses, targeting children as young as eight
                through summer camps and school programs, extensively targeting youth through
                social media campaigns, and recruiting “influencers” to market to teens;

         2.     Engaging in marketing tactics specifically designed to mislead children and youth
                and to ensnare minors into nicotine addiction, including by explicitly adopting
                tactics prohibited from Big Tobacco, with the knowledge that those tactics were
                likely to ensnare children and youth into nicotine addiction, including using
                billboards and outdoor advertising, sponsoring events, giving free samples, paying
                affiliates and “influencers” to push vapor products, and by selling vapor products
                in flavors designed to appeal to youth;

         3.     Engaging in advertising modeled on cigarette ads and featuring youthful-
                appearing models and designing advertising in a patently youth-oriented fashion;

         4.     Directing advertising to youth media outlets and media designed to appeal to
                children and youth, such as Instagram and other social media channels;

         5.     Hosting youth-focused parties across the United States, at which free samples
                were dispensed and in which vaping was featured prominently across social
                media;

         6.     Formulating vapor products with flavors with the knowledge that such flavors
                appealed to youth and with the intent that youth become addicted or dependent
                upon vapor products; and

         7.     Promoting and assisting the growth of the vapor product market and its
                availability with knowledge that vapor products were being purchased and used
                by large numbers of youth.




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          401.    The health and safety of the youth of Pitkin County, including those who use,

   have used, or will use vapor products, as well as those affected by others’ use of vapor products,

   are matters of substantial public interest and of legitimate concern to the Plaintiff, as well as to

   the entire Pitkin County community.

          402.    Defendants’ conduct has affected and continues to affect a substantial number of

   people within Pitkin County and is likely to continue causing significant harm.

          403.    But for Defendants’ actions, vapor products, including, but not limited to JUUL,

   used by youth would not be as widespread as it is today, and the youth vaping public health crisis

   that currently exists as a result of Defendants’ conduct would have been averted.

          404.    Defendants knew or should have known that their conduct would create a public

   nuisance. Defendants knew or reasonably should have known that their statements regarding the

   risks and benefits of vaping were false and misleading, that their marketing methods were

   designed to appeal to minors, and that their false and misleading statements, marketing to

   minors, and active efforts to increase the accessibility of vapor products and grow JUUL’s

   market share, or the market share of Defendants’ products, were causing harm to you and to

   municipalities, schools, and counties, including youth in Pitkin County and to Plaintiff itself.

          405.    Thus, the public nuisance caused by Defendants was reasonably foreseeable,

   including the financial and economic losses incurred by Plaintiff.

          406.    Alternatively, Defendants’ conduct was a substantial factor in bringing about the

   public nuisance even if a similar result would have occurred without it. By directly marketing to

   youth and continuing these marketing practices after it was evident that children were using

   JUUL products in large numbers and were specifically using these products in schools, JLI



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   directly facilitated the spread of the youth vaping crisis and the public nuisance affecting Pitkin

   County.

          407.    By seeking to capitalize on JLI’s success in addicting minors to nicotine and by

   directly marketing to youth and continuing these marketing practices after it was evident that

   children were using JUUL products and Eonsmoke products in large numbers and were

   specifically using these products in schools, Eonsmoke directly facilitated the spread of the youth

   vaping crisis and the public nuisance affecting Pitkin County.

          408.    Altria, by investing billions of dollars in JLI and actively working to promote the

   sale and spread of JUUL products with the knowledge of JLI’s practice of marketing JUUL

   products to youth and its failure to control youth access to JUUL products, directly facilitated the

   spread of the youth vaping crisis and the public nuisance affecting Pitkin County.

          409.    Plaintiff has taken steps to address the harm caused by Defendants’ conduct,

   including, but not limited to, those listed in section IV.L.

          410.    Fully abating the epidemic of youth vaping resulting from Defendants’ conduct

   will require much more than these steps.

          411.    Plaintiff therefore requests all the relief to which it is entitled, including damages

   in an amount to be determined at trial and an order providing for the abatement of the public

   nuisance that Defendants have created or assisted in the creation of, and enjoining Defendants

   from future conduct contributing to the public nuisance described above.




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                      VIOLATIONS OF THE RACKETEER INFLUENCED AND
           CORRUPT ORGANIZATIONS ACT (“RICO”), 18 U.S.C. § 1961 ET SEQ.

           412.    Plaintiff hereby incorporates by reference the allegations contained in the

   preceding paragraphs of this complaint.

           413.    This claim is brought by Plaintiff against Defendants JLI and the Altria

   Defendants (“Youth Marketing Cover-Up Enterprise Defendants”) for actual damages, treble

   damages, and equitable relief under 18 U.S.C. § 1964 for violations of 18 U.S.C. § 1961 et seq.

           414.    At all relevant times, each Youth Marketing Cover-Up Enterprise Defendant is

   and has been a “person” within the meaning of 18 U.S.C. § 1961(3), because they are capable of

   holding, and do hold, “a legal or beneficial interest in property.”

           415.    Plaintiff is a “person,” as that term is defined in 18 U.S.C. § 1961(3), and has

   standing to sue as it was and is injured in its business and/or property as a result of the Youth

   Marketing Cover-Up Enterprise Defendants’ wrongful conduct described herein.

           416.    Section 1962(c) makes it “unlawful for any person employed by or associated

   with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,

   to conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through

   a pattern of racketeering activity . . . .” 18 U.S.C. § 1962(c).

           417.    Section 1962(d) makes it unlawful for “any person to conspire to violate” Section

   1962(c), among other provisions. See 18 U.S.C. § 1962(d).

           418.    Each Youth Marketing Cover-Up Enterprise Defendant conducted the affairs of

   an enterprise through a pattern of racketeering activity, in violation of 18 U.S.C. § 1962(c) and §

   1962(d).




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   A.     Description of Defendants’ Youth Marketing Cover-Up Enterprise

          419.    RICO defines an enterprise as “any individual, partnership, corporation,

   association, or other legal entity, and any union or group of individuals associated in fact

   although not a legal entity.” 18 U.S.C. § 1961(4).

          420.    Under 18 U.S.C. § 1961(4) a RICO “enterprise” may be an association-in-fact

   that, although it has no formal legal structure, has (i) a common purpose, (ii) relationships among

   those associated with the enterprise, and (iii) longevity sufficient to pursue the enterprise’s

   purpose. See Boyle v. United States, 556 U.S. 938, 946 (2009).

          421.    Defendants JLI and Altria formed an association-in-fact enterprise—referred to

   herein as the Youth Marketing Cover-Up Enterprise. This Enterprise exists separately from the

   otherwise legitimate business operations of JLI and Altria.

          422.    The Youth Marketing Cover-Up Enterprise is an ongoing and continuing business

   organization consisting of “persons” within the meaning of 18 U.S.C. § 1961(3) that created and

   maintained systematic links for a common purpose: fraudulently maintaining and expanding

   JLI’s massive, and ill-gotten, share of the e-cigarette market.

          423.    As set forth above, JLI obtained its massive market share over a short time period

   by successfully targeting youth and addicting youth to nicotine.

   B.     The Enterprise Sought to Fraudulently Deny Having Marketed to Youth in o
          Maintaining and Expanding JUUL’s Youth Market Share

          424.    As described above, Altria—having long followed JUUL’s market-share

   dominance with envy—decided to go from JLI’s competitor to its co-conspirator. Altria and JLI

   thus formed the Youth Marketing Cover-Up Enterprise with the goal of preserving, and profiting

   from, JUUL’s ill-gotten market share.


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             425.   The Youth Marketing Cover-Up Enterprise recognized that one of the keys to

   preserving JUUL’s market share was to continue to falsely deny that JLI marketed its tobacco

   products to youth. Both JLI and Altria knew that once JLI had established a base of young

   customers, the focus had to be on covering up JLI’s past youth marketing in order to keep JUUL

   products available in communities like Plaintiff’s. To further this effort, JLI and Altria have also

   made repeated statements through the mail and wires, in advertising and otherwise, that JLI does

   not market to youth and its marketing is only aimed at adult smokers, that none of the Youth

   Marketing Cover-Up Defendants want youth to vape, and vaping is for adults only. But this is

   not now, and has not ever been, an effective tactic to prevent youth initiation, as Altria well

   knows. In a lawsuit against Altria, among other Big Tobacco defendants, for marketing, a court

   recognized that “smoking has traditionally been viewed by adolescents and young adults as

   sophisticated adult behavior to be emulated.”612 As mentioned above, “[e]mphasizing that

   smoking is an adult activity underscores the desirability of engaging in adult behavior for

   adolescents who are particularly motivated to appear mature.”613

             426.   JLI and the Altria Defendants worked in concert to defraud the public and

   regulators in order to quell a public outcry and prevent regulation that would have impeded their

   plan to maintain and expand sales of JUUL products to a customer base primarily consisting of

   youth. Specifically, they worked to ensure that certain flavors popular with youth such as mint

   remained on the market as long as possible, even while publicly declaring that they were




   612
         Philip Morris, 449 F. Supp. 2d at 617.
   613
         Id. at 669.


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   removing flavors from the market to address the youth vaping crisis and despite their knowledge

   that mint was a particularly attractive flavor to youth.

          427.    Thus, in furtherance of their Enterprise, JLI and Altria repeatedly made

   statements denying that youth were intended targets for JUUL products and asserting that JUUL

   products were really created and designed as a smoking cessation device, intended from the start

   for “switchers” (existing smokers who are open to vaping). These statements are false, and

   constitute mail and wire fraud, predicate acts under RICO.

          428.    At all relevant times, each Youth Marketing Cover-Up Enterprise Defendant was

   aware of the conduct of the Youth Marketing Cover-Up Enterprise, was a knowing and willing

   participant in that conduct, and reaped profits from that conduct in the form of sales and

   distribution of JUUL products.

          429.    The persons engaged in the Youth Marketing Cover-Up Enterprise are

   systematically linked through contractual relationships, financial ties, and continuing

   coordination of activities.

          430.    There is regular communication between JLI and the Altria Defendants in which

   information regarding the Youth Marketing Cover-Up Enterprise Defendants’ scheme to protect,

   maintain and expand JUUL’s market share is shared. Typically, this communication occurred,

   and continues to occur, through the use of the mail and wires in which Defendants share

   information regarding the operation of the Youth Marketing Cover-Up Enterprise and its cover-

   up of JLI’s efforts to target and addict youth.




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           431.    The Youth Marketing Cover-Up Enterprise functions as a continuing unit for the

   purposes of executing and accomplishing its objectives, and when issues arise, each member of

   the Enterprise agrees to take action to support the Enterprise.

           432.    Each Youth Marketing Cover-Up Enterprise Defendant participated in the

   operation and management of the Youth Marketing Cover-Up Enterprise by directing its affairs

   as described herein.

           433.    While the Youth Marketing Cover-Up Enterprise Defendants participate in, and

   are members of, the Youth Marketing Cover-Up Enterprise, they have an existence separate from

   the Enterprise, including distinct legal statuses, affairs, offices and roles, officers, directors,

   employees, and individual personhood.

           434.    Without the willing participation of each Youth Marketing Cover-Up Enterprise

   Defendant, the Youth Marketing Cover-Up Enterprise’s common course of conduct would not be

   successful.

   C.      Predicate Acts: Mail and Wire Fraud

           435.    To carry out, or attempt to carry out, the objectives of the Youth Marketing

   Cover-Up Enterprise, the members of the Enterprise, each of whom is a person associated-in-fact

   with the Enterprise, did knowingly conduct or participate in, directly or indirectly, the affairs of

   the Enterprise through a pattern of racketeering activity within the meaning of 18 U.S.C. §§

   1961(1), 1961(5) and 1962(c), and employed the use of the mail and wire facilities, in violation

   of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

           436.    Specifically, the members of the Youth Marketing Cover-Up Enterprise have

   committed, conspired to commit, and/or aided and abetted in the commission of, at least two



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   predicate acts of racketeering activity (i.e., violations of 18 U.S.C. §§ 1341 and 1343), within the

   past ten years.

          437.       The multiple acts of racketeering activity which the members of the Youth

   Marketing Cover-Up Enterprise committed, or aided or abetted in the commission of, were

   related to each other, posed a threat of continued racketeering activity, and therefore constitute a

   “pattern of racketeering activity.”

          438.       The racketeering activity was made possible by the Enterprise’s regular use of the

   facilities, services, and employees of the Enterprise.

          439.       The members of the Youth Marketing Cover-Up Enterprise participated in the

   Enterprise by using mail, telephone, and the internet to transmit mailings and wires in interstate

   or foreign commerce.

          440.       The members of the Youth Marketing Cover-Up Enterprise used, directed the use

   of, and/or caused to be used, thousands of interstate mail and wire communications in service of

   the Enterprise’s objectives through common misrepresentations, concealments, and material

   omissions.

          441.       In devising and executing the objectives of the Youth Marketing Cover-Up

   Enterprise, its members devised and knowingly carried out a material scheme and/or artifice to

   defraud the public by marketing JUUL products to youth, ensuring that youth could access JUUL

   products, and then denying that JUUL products were marketed to youth, and maintained that

   JUUL was really created and designed as a smoking cessation device.

          442.       For the purpose of furthering its desire to preserve and increase its market share,

   even at the expense of exposing and addicting youth to nicotine, the Youth Marketing Cover-Up



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   Enterprise committed these racketeering acts, which number in the thousands, intentionally and

   knowingly with the specific intent to advance its objectives.

            443.   In order to protect JLI’s ability to continue to sell JUUL products and market to

   youth, the Altria Defendants and JLI, through their operation of the Youth Marketing Cover-Up

   Enterprise, worked in concert to defraud the public and regulators in order to prevent the public

   and political condemnation that would have impeded the Youth Marketing Cover-Up

   Enterprise’s common purpose: maintaining and expanding JLI’s massive, and ill-gotten, share of

   the e-cigarette market.

            444.   In furtherance of their Enterprise, JLI and Altria repeatedly made statements to

   the public disclaiming any desire to build a youth market, and statements that JUUL was always

   intended for and marketed to adult smokers and/or as a smoking cessation device. In truth, JUUL

   was a potent nicotine delivery system designed to addict non-smokers, particularly youth, to

   nicotine, and in fact was specifically marketed to appeal to children. It was only in the face of

   widespread public outrage and increased scrutiny that Youth Marketing Cover-Up Enterprise

   dramatically re-shaped its marketing message and launched its “Make the Switch” campaign. In

   making these representations, JLI and Altria intended that consumers, the public, and regulators

   rely on misrepresentations that JUUL products were designed to assist smoking cessation, did

   not pose a threat to public health, and were never intended to be used or marketed to appeal to

   youth.

            445.   These statements by the Youth Marketing Cover-Up Enterprise Defendants are

   false, and constitute mail and wire fraud, predicate acts under RICO.




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          446.    Each of the Youth Marketing Cover-Up Enterprise Defendants knew at the time

   of making these statements that they were untrue and misleading. JUUL is not FDA-approved as

   a cessation product.

          447.    Each of the foregoing statements and transmissions constitutes a predicate act of

   wire fraud. The Youth Marketing Cover-Up Enterprise Defendants made these transmissions and

   statements, knowing they would be transmitted via wire, with the intent to market to youth and to

   deceive the public, the FDA, and Congress as to JLI and its officers and directors’ true intentions

   of hooking underage users.

          448.    As set forth herein, JLI obtained its massive market share over a short time period

   by successfully targeting youth and addicting youth to nicotine. Altria’s investment in and

   provision of “services” to JLI reflect an intention to further the Enterprise’s common purpose of

   fraudulently maintaining and expanding JUUL’s market share, including by maintaining and

   growing JLI’s youth sales. JUUL’s predominantly youth customer base ensures a steady supply

   of nicotine-addicted customers—creating a new generation of customers for Altria’s products.

   The Enterprise has worked to maintain and expand JUUL’s market share—which, based on

   Altria’s own October 25, 2018 letter to the FDA, Altria believes was obtained by employing

   marketing and advertising practices that contributed to youth vaping. The Enterprise’s efforts to

   cover up the role of youth in JUUL’s sales are knowing, intentional, and fraudulent in violation

   of RICO.

          449.    The Youth Marketing Cover-Up Enterprise’s predicate acts of racketeering (18

   U.S.C. § 1961(1)) include, but are not limited to:

          A. Mail Fraud: the Youth Marketing Cover-Up Enterprise violated 18 U.S.C. §
          1341 by sending or receiving, or by causing to be sent and/or received, fraudulent


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          materials via U.S. mail or commercial interstate carriers for the purpose of
          deceiving the public regarding its efforts to market to youth and the true purpose
          and design behind its products; and

          B. Wire Fraud: the Youth Marketing Cover-Up Enterprise violated 18 U.S.C. §
          1343 by transmitting and/or receiving, or by causing to be transmitted and/or
          received, fraudulent materials by wire for the purpose of deceiving the public
          regarding its efforts to market to youth and the true purpose and design behind its
          products.

          450.    The Youth Marketing Cover-Up Enterprise falsely and misleadingly used the mail

   and wires in violation of 18 U.S.C. § 1341 and § 1343. Illustrative and non-exhaustive examples

   include the following:


          1.      “Here at JUUL we are focused on driving innovation to eliminate cigarettes, with
                  the corporate goal of improving the lives of the world’s one billion adult
                  smokers.” (JLI’s Twitter Feed, July 5, 2017).614

          2.      “It’s a really, really important issue. We don’t want kids using our products.”
                  (CNBC Interview of JLI’s Chief Administrative Officer, December 14, 2017).615

          3.      “We market our products responsibly, following strict guidelines to have material
                  directly exclusively toward adult smokers and never to youth audiences.” (JLI
                  Social Media Post, March 14, 2018).616

          4.      “JUUL Labs was founded by former smokers, James and Adam, with the goal of
                  improving the lives of the world’s one billion adult smokers by eliminating
                  cigarettes. We envision a world where fewer adults use cigarettes, and where
                  adults who smoke cigarettes have the tools to reduce or eliminate their
                  consumption entirely, should they so desire.” (JLI Website, April 2018 (or
                  earlier)).617


   614
       Jackler et al., supra note 46 at 25 (This was the first mention of the term “adult” or “adult
     smoker” on JLI’s Twitter Feed).
   615
        Angelica LaVito, Nearly one-quarter of teens are using pot, CNBC (Dec. 14, 2017),
     https://www.cnbc.com/2017/12/13/marijuana-and-nicotine-vaping-popular-among-teens-
     according-to-study.html (Interview with Ashely Gould, JUUL Chief Administrative Officer).
   616
       Jackler et al., supra note 46 at 2 (citing a JUUL social media post from March 14, 2018).
   617
       Our Mission, JUUL Labs, Inc., https://www.juul.com/mission-values (last visited Mar. 28,
     2020) (emphasis added).


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          5.     “Our company’s mission is to eliminate cigarettes and help the more than one
                 billion smokers worldwide switch to a better alternative,” said JUUL Labs Chief
                 Executive Officer Kevin Burns. “We are already seeing success in our efforts to
                 enable adult smokers to transition away from cigarettes and believe our products
                 have the potential over the long-term to contribute meaningfully to public health
                 in the U.S. and around the world. At the same time, we are committed to deterring
                 young people, as well as adults who do not currently smoke, from using our
                 products. We cannot be more emphatic on this point: No young person or non-
                 nicotine user should ever try JUUL.” (JLI Press Release, April 25, 2018).618

          6.     “Our objective is to provide the 38 million American adult smokers with
                 meaningful alternatives to cigarettes while also ensuring that individuals who are
                 not already smokers, particularly young people, are not attracted to nicotine
                 products such as JUUL,” said JUUL Labs Chief Administrative Officer Ashley
                 Gould, who heads the company's regulatory, scientific and youth education and
                 prevention programs. “We want to be a leader in seeking solutions, and are
                 actively engaged with, and listening to, community leaders, educators and
                 lawmakers on how best to effectively keep young people away from JUUL.” (JLI
                 Press Release, April 25, 2018).619

          7.     “JUUL was not designed for youth, nor has any marketing or research effort since
                 the product’s inception been targeted to youth.” (Letter to FDA, June 15, 2018).620

          8.     “With this response, the Company hopes FDA comes to appreciate why the
                 product was developed and how JUUL has been marketed — to provide a viable
                 alternative to cigarettes for adult smokers.” (Letter to FDA, June 15, 2018).621

          9.     “We welcome the opportunity to work with the Massachusetts Attorney General
                 because, we too, are committed to preventing underage use of JUUL. We utilize
                 stringent online tools to block attempts by those under the age of 21 from
                 purchasing our products, including unique ID match and age verification
                 technology. Furthermore, we have never marketed to anyone underage. Like
                 many Silicon Valley technology startups, our growth is not the result of marketing
                 but rather a superior product disrupting an archaic industry. When adult smokers
                 find an effective alternative to cigarettes, they tell other adult smokers. That’s
                 how we’ve gained 70% of the market share. . . Our ecommerce platform utilizes
                 unique ID match and age verification technology to make sure minors are not able



   618
       JUUL Labs Announces Comprehensive Strategy, supra note 401.
   619
       Id.
   620
       Letter from JUUL’s Counsel at Sidley Austin to Matthew Holman, M.D., FDA at 2 (June 15,
     2018).
   621
       Id.


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                 to access and purchase our products online.” (Statement from Matt David, JLI
                 Chief Communications Officer, July 24, 2018).622

          10.    “We adhere to strict guidelines to ensure that our marketing and commercial
                 communications are directed toward existing adult smokers.” (JLI Website, July
                 26, 2018).

          11.    “We did not create JUUL to undermine years of effective tobacco control, and we
                 do not want to see a new generation of smokers.” (JLI’s website as of July 26,
                 2018).623

          12.    “Although we do not believe we have a current issue with youth access to or use
                 of our pod-based products, we do not want to risk contributing to the issue.”
                 (Letter from Altria CEO to FDA Commissioner Gottlieb, October 25, 2018).624

          13.    “We believe e-vapor products present an important opportunity to adult
                 smokers to switch from combustible cigarettes.” (Letter to FDA Commissioner
                 Gottlieb, October 25, 2018).625

          14.    “We don’t want anyone who doesn’t smoke, or already use nicotine, to use JUUL
                 products. We certainly don’t want youth using the product. It is bad for public
                 health, and it is bad for our mission. JUUL Labs and FDA share a common goal –
                 preventing youth from initiating on nicotine.” (JLI Website, November 12,
                 2018).626

          15.    “To paraphrase Commissioner Gottlieb, we want to be the offramp for adult
                 smokers to switch from cigarettes, not an on-ramp for America’s youth to initiate
                 on nicotine.” (JLI Website, November 13, 2018).627

          16.    “We won’t be successful in our mission to serve adult smokers if we don’t narrow
                 the on-ramp. . . . Our intent was never to have youth use JUUL products.” (JLI
                 Website, November 13, 2018).628


   622
       Statement Regarding The Press Conference Held By The Massachusetts Attorney General,
     JUUL Labs, Inc. (July 24, 2018), https://newsroom.juul.com/statement-regarding-the-press-
     conference-held-by-the-massachusetts-attorney-general/.
   623
       Our Responsibility, JUUL Labs, Inc. (July 26, 2018),
     https://web.archive.org/web/20180726021743/https://www.juul.com/our-responsibility (last
     visited Mar. 29, 2020).
   624
       Willard, Letter to Gottlieb, supra note 427 at 2.
   625
       Id. (emphasis added).
   626
       JUUL Labs Action Plan, supra note 442 (statement of Ken Burns, former CEO of JUUL).
   627
       Id.
   628
       Id.


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          17.    “Altria and JUUL are committed to preventing kids from using any tobacco
                 products. As recent studies have made clear, youth vaping is a serious problem,
                 which both Altria and JUUL are committed to solve. As JUUL previously said,
                 ‘Our intent was never to have youth use JUUL products.’” (Altria Earnings Call,
                 December 20, 2018).629

          18.    “Altria’s investment sends a very clear message that JUUL’s technology has
                 given us a truly historic opportunity to improve the lives of the world’s one billion
                 adult cigarette smokers,” said Kevin Burns, Chief Executive Officer of JUUL.
                 “This investment and the service agreements will accelerate our mission to
                 increase the number of adult smokers who switch from combustible cigarettes to
                 JUUL devices.” (Altria News Release, December 20, 2018).630

          19.    “We have long said that providing adult smokers with superior, satisfying
                 products with the potential to reduce harm is the best way to achieve tobacco
                 harm reduction. Through Juul, we are making the biggest investment in our
                 history toward that goal.” (Altria News Release, December 20, 2018).631

          20.    “We are taking significant action to prepare for a future where adult smokers
                 overwhelmingly choose non-combustible products over cigarettes by investing
                 $12.8 billion in JUUL, a world leader in switching adult smokers . . . . We have
                 long said that providing adult smokers with superior, satisfying products with the
                 potential to reduce harm is the best way to achieve tobacco harm reduction.”
                 (Altria News Release, December 20, 2018).632

          21.    “Almost my entire career, we have believed that our business would be better in
                 the long term if we could offer harm reduced products that would represent
                 attractive alternatives to our adult cigarette smokers to switch. And we have
                 invested billions of dollars in it and lots of effort. And ultimately until December
                 this year, we really didn't have the product portfolio to fully achieve our harm
                 reduction aspiration. And the opportunity to invest in JUUL, I think, really makes
                 that harm reduction aspiration a reality.” (Altria Earnings Call, January 31,
                 2019).633

          22.    “Through JUUL, we have found a unique opportunity to not only participate
                 meaningfully in the e-vapor category but to also support and even accelerate




   629
       Altria Minority Investment, supra note 452.
   630
       Id.
   631
       Id. (emphasis added).
   632
       Id. (emphasis added).
   633
       Altria Q4 2018 Earnings Call Transcript, supra note 465.


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                 transition to noncombustible alternative products by adult smokers.” (Altria
                 Earnings Call, January 31, 2019).634

          23.    “We expect the JUUL product features that have driven JUUL's success in
                 switching adult smokers in the U.S. to strongly appeal to international adult
                 cigarette smokers.” (Altria Earnings Call, January 31, 2019).635

          24.    “Throughout our analysis, it became clear that investing with JUUL to accelerate
                 its global growth was more value accretive than investing internally to leap frog
                 its product. We determined that our services and infrastructure could complement
                 JUUL’s terrific product and capabilities, and help advance a compelling long-
                 term commercial and harm-reduction opportunity.” (Remarks by Altria CEO, Feb.
                 20, 2019).636

          25.    “First of all, I’d tell them that I’m sorry that their child’s using the product. It’s
                 not intended for them. I hope there was nothing that we did that made it appealing
                 to them. As a parent of a 16-year-old, I’m sorry for them, and I have empathy for
                 them, in terms of what the challenges they’re going through.” (CNBC Interview
                 of JLI CEO, July 13, 2019).637

          26.    “We never wanted any non-nicotine user, and certainly nobody under the legal
                 age of purchase, to ever use Juul products. . . .That is a serious problem. Our
                 company has no higher priority than combatting underage use.” (Testimony of
                 James Monsees, July 25, 2019).638

          27.    James Monsees, one of the company’s co-founders, said selling JUUL products to
                 youth was “antithetical to the company’s mission.”(James Monsees’ Statement to
                 The New York Times, August 27, 2019).639




   634
       Id. (emphasis added).
   635
       Id. (emphasis added).
   636
       Altria, supra note 437.
   637
       Angelica LaVito, As Juul grapples with teen vaping ‘epidemic,’ CEO tells parent ‘I’m sorry’,
     CNBC (July 13, 2019), https://www.cnbc.com/2019/07/13/as-juul-deals-with-teen-vaping-
     epidemic-ceo-tells-parents-im-sorry.html.
   638
       Examining JUUL’s Role in the Youth Nicotine Epidemic: Part II: Hearing Before the House
     Committee on Oversight and Reform Subcommittee on Economic and Consumer Policy at 1
     (July 25, 2019), https://docs.house.gov/meetings/GO/GO05/20190725/109846/HHRG-116-
     GO05-Wstate-MonseesJ-20190725.pdf (testimony of JUUL Founder James Monsees).
   639
       Richtel & Kaplan, supra note 137.


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          28.    “Our focus is and will remain entirely on helping adult smokers switch away
                 from combustible cigarettes, the leading cause of preventable death in the world.”
                 (Statement by JLI spokesman to The New York Times, August 27, 2019).640

          29.    “We have no higher priority than to prevent youth usage of our products which is
                 why we have taken aggressive, industry leading actions to combat youth usage.”
                 (JLI Website, August 29, 2019).641

          30.    “JUUL Labs, which exists to help adult smokers switch off of combustible
                 cigarettes. . .” (JLI Website, September 19, 2019).642

          31.    “We have never marketed to youth and we never will.”(JLI Statement to Los
                 Angeles Times, September 24, 2019).643

          32.    “In late 2017 and into early 2018, we saw that the previously flat e-vapor category
                 had begun to grow rapidly. JUUL was responsible for much of the category
                 growth and had quickly become a very compelling product among adult
                 vapers. We decided to pursue an economic interest in JUUL, believing that an
                 investment would significantly improve our ability to bring adult smokers a
                 leading portfolio of non-combustible products and strengthen our competitive
                 position with regards to potentially reduced risk products.” (Letter from Altria
                 CEO to Senator Durbin, October 14, 2019).644

          33.    “The growth of the e-vapor category since 2017 illustrates the willingness of adult
                 smokers to try these products, and JUUL in particular has been highly
                 successful at moving adult smokers away from cigarettes.” (Remarks by Altria
                 CEO, Feb. 19, 2020).645



   640
       Sheila Kaplan, Philip Morris and Altria Are in Talks to Merge, N.Y. Times (Aug. 27, 2019),
       https://www.nytimes.com/2019/08/27/health/philip-morris-altria-merger-tobacco.html
       (statement made by Joshua Raffel, JUUL spokesperson).
   641
       Our Actions to Combat Underage Use, JUUL Labs, Inc. (Aug. 29, 2019),
     https://newsroom.juul.com/ouractions-to-combat-underage-use/ (JUUL statement in response
     to lawsuits).
   642
       CONSUMER UPDATE: 9/19, JUUL Labs, Inc (Sept. 19, 2019),
     https://newsroom.juul.com/consumer-update-9-19/ (emphasis added).
   643
       Michael Hiltzik, Column: Studies show how Juul exploited social media to get teens to start
     vaping, L.A. Times (Sept. 24, 2019), https://www.latimes.com/business/story/2019-09-
     24/hiltzik-juul-target-teens (statement made on behalf of JUUL).
   644
       Willard, Letter to Senator Durbin, supra note 23 at 3 (emphasis added).
   645
       Altria Group, Inc., Current Report (Form 8-K), Ex. 99.1 at 5 (Feb. 19, 2020),
     https://www.sec.gov/Archives/edgar/data/764180/000076418020000013/exhibit991-
     2020cagnyre.htm (emphasis added).


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             34.    “JUUL was designed with adult smokers in mind. . . . By accommodating
                    cigarette-like nicotine levels, JUUL provides satisfaction to meet the standards
                    of adult smokers looking to switch from smoking cigarettes.” (JLI Website, last
                    visited March 29, 2020).646

             451.   The mail and wire transmissions described herein were made in furtherance of the

   Youth Marketing Cover-Up Enterprise Defendants’ scheme and common course of conduct

   designed to fraudulently grow the market of nicotine-addicted youth and to cover up JLI and the

   its officers and directors’ marketing to youth, thereby increasing or maintaining JUUL’s market

   share, resulting in corresponding high profits for all Youth Marketing Cover-Up Enterprise

   Defendants.

             452.   Some of the precise dates of the fraudulent uses of the mail and interstate wire

   facilities have been deliberately hidden and cannot be alleged without access to the Youth

   Marketing Cover-Up Enterprise Defendants’ books and records. However, Plaintiff has

   described the types of predicate acts of mail and/or wire fraud, including the specific types of

   fraudulent statements upon which, through the mail and wires, the Youth Marketing Cover-Up

   Enterprise engaged in fraudulent activity in furtherance of its scheme.

             453.   The members of the Enterprise have not undertaken the practices described herein

   in isolation, but as part of a common scheme and conspiracy. In violation of 18 U.S.C. §

   1962(d), the members of the Youth Marketing Cover-Up Enterprise conspired to violate 18

   U.S.C. § 1962(c), as described herein. On information and belief, various other persons, firms,

   and corporations, including third-party entities and individuals not named as Defendants herein,

   have participated as co-conspirators with the Youth Marketing Cover-Up Enterprise Defendants



   646
         JUUL Labs, Inc., https://www.juul.com/ (last visited Mar. 29, 2020) (emphasis added).


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   and the members of the Youth Marketing Cover-Up Enterprise in these offenses and have

   performed acts in furtherance of the conspiracy to increase or maintain revenue, maintain or

   increase market share, and/or minimize losses for the Youth Marketing Cover-Up Enterprise

   Defendants and their named and unnamed co-conspirators throughout the illegal scheme and

   common course of conduct.

          454.    To achieve their common goals, the members of the Enterprise hid from Plaintiff

   and the public: (1) the fraudulent nature of the Youth Marketing Cover-Up Enterprise scheme;

   (2) the fraudulent nature of statements made by the Youth Marketing Cover-Up Enterprise

   Defendants regarding JLI’s efforts to target youth and the nature of JLI’s products; and (3) the

   true nature and objective of the relationship between the members of the Enterprise.

          455.    Each member of the Youth Marketing Cover-Up Enterprise, with knowledge and

   intent, agreed to the overall objectives of the schemes and participated in the common course of

   conduct. Indeed, for the conspiracy to succeed, each of the members of the Youth Marketing

   Cover-Up Enterprise had to agree to conceal their fraudulent scheme.

          456.    The members of the Youth Marketing Cover-Up Enterprise knew, and intended

   that, the public would rely on the material misrepresentations and omissions made by them.

          457.    As described herein, the members of the Youth Marketing Cover-Up Enterprise

   engaged in a pattern of related and continuous predicate acts for years. The predicate acts

   constituted a variety of unlawful activities, each conducted with the common purpose of

   maintaining JUUL’s ill-gotten market share and thereby continuing to receive significant monies

   and revenues from the public, including youth, based on their misconduct.




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          458.    The predicate acts also had the same or similar results, participants, victims, and

   methods of commission.

          459.    The predicate acts were related and not isolated events.

          460.    The public, including youth and parents in Plaintiff’s community, relied on

   Defendants’ fraudulent misrepresentations and omissions, as alleged above.

          461.    The Youth Marketing Cover-Up Enterprise Defendants’ fraudulent concealment

   was material to Plaintiff and the public. The pattern of racketeering activity described above is

   currently ongoing and open-ended, and threatens to continue indefinitely unless this Court

   enjoins the racketeering activity.

   D.     Plaintiff Has Been Damaged by the Youth Marketing Cover-Up Enterprise
          Defendants’ RICO Violations

            462. Plaintiff has been injured by the Youth Marketing Cover-Up Enterprise

     Defendants’ predicate acts. By fraudulently denying JLI’s youth marketing and working to

     preserve and expand the market of underage JUUL customers, the Youth Marketing Cover-Up

     Enterprise caused the expansion of an illicit e-cigarette market for youth in Plaintiff’s

     community and caused a large number of youth in Plaintiff’s community to become addicted to

     nicotine. In addition, the Youth Marketing Cover-Up Enterprise Defendants intentionally

     sought to reach into schools and deceive public health officials in order to continue growing

     JLI’s youth customer base. The repeated fraudulent misstatements by the Youth Marketing

     Cover-Up Enterprise Defendants denying that JLI marketed to youth have served to preserve

     JUUL’s market share—a market share that is based upon children purchasing JLI’s tobacco

     products.




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            463. Plaintiff was a direct victim of Defendants’ misconduct. The Youth Marketing

     Cover-Up Enterprise Defendants displayed a wanton disregard for public health and safety by

     intentionally addicting youth, including youth in Plaintiff’s community, to nicotine and then

     attempted to cover up their scheme in order to maintain and expand JUUL’s market share.

     Defendants actively concealed that they marketed to youth in order to avoid public

     condemnation and keep their products on the market and continue youth sales. This forced

     Plaintiff to shoulder the responsibility for this youth vaping crisis created by Defendants’

     misconduct. The harm created by the illicit youth e-cigarette market created by Defendants

     required Plaintiff to expend its limited financial resources to mitigate the health crisis of youth

     vaping. The expansion of this youth e-cigarette market was the goal of the Youth Marketing

     Cover-Up Enterprise and is critical to its success. Therefore, the harm suffered by Plaintiff

     because it must address and mitigate the youth vaping crisis was directly foreseeable and in

     fact an intentional result of Defendants’ misconduct.

            464. The creation and maintenance of this youth e-cigarette market directly harms

     Plaintiff by imposing costs on its business and property. Plaintiff’s injuries were not solely the

     result of them having to spend money to act governmentally. Instead, as a result of Defendants’

     misconduct, Plaintiffs have been and will be forced to go far beyond what a governmental

     entity might ordinarily be expected to pay to enforce the laws to promote the general welfare in

     order to combat the youth vaping crisis. As a result of the conduct of the Youth Marketing

     Cover-Up Defendants, Plaintiff has incurred and will incur costs that far exceed the norm.

            465. The Youth Marketing Cover-Up Enterprise Defendants’ violations of 18 U.S.C. §

     1962(c) and (d) have directly and proximately caused injuries and damages to Plaintiff, its



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     community, and the public, and Plaintiff is entitled to bring this action for three times its actual

     damages, as well as for injunctive/equitable relief, costs, and reasonable attorneys’ fees and

     costs pursuant to 18 U.S.C. § 1964(c).

                                        PRAYER FOR RELIEF

          WHEREFORE, Plaintiff prays for judgment as follows:

            466. Entering an Order that the conduct alleged herein constitutes a public nuisance

     under Colorado law;

            467. Entering an Order that Defendants are jointly and severally liable;

            468. Entering an Order requiring Defendants to abate the public nuisance described

     herein and to deter and/or prevent the resumption of such nuisance;

            469. Enjoining Defendants from engaging in further actions causing or contributing to

     the public nuisance as described herein;

            470. Awarding equitable relief to fund prevention education and addiction treatment;

            471. Awarding actual and compensatory damages;

            472. Awarding statutory damages in the maximum amount permitted by law;

            473. Awarding reasonable attorneys’ fees and costs of suit;

            474. Awarding pre-judgment and post-judgment interest; and

            475. Such other and further relief as the Court deems just and proper under the

     circumstances.

                                      JURY TRIAL DEMANDED

          Plaintiff hereby demands a trial by jury.




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         RESPECTFULLY SUBMITTED this 2nd day of April, 2020.
                                          KELLER ROHRBACK L.L.P.


                                       By /s/ Dean Kawamoto
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